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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

IN RE:                                               §                 CHAPTER 11
                                                     §
NATIONAL RIFLE ASSOCIATION                           §                 CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                         §
                                                     §
          DEBTORS1                                   §                 Jointly Administered


      GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS, AND
      DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (the “Debtors”) in these chapter 11
cases, with the assistance of their advisors, are filing their respective Schedules of Assets and
Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements” or “SOFAs”, and
together with the Schedules, the “Schedules and Statements”) with the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) pursuant to pursuant to section
521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

       These Global Notes, Methodology, Statement of Limitations, and Disclaimers Regarding the
Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (collectively, the
“Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of, each
Debtor’s Schedules and Statements. The Global Notes should be referred to, considered, and reviewed
in connection with any review of the Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor are
they intended to be fully reconciled with the financial statements of each Debtor (whether publicly
filed or otherwise). Additionally, the Schedules and Statements contain unaudited information that is
subject to further review and potential adjustment, and reflect the Debtors’ reasonable efforts to report
the assets and liabilities of each Debtor on an unconsolidated basis.

        ln preparing the Schedules and Statements, the Debtors relied upon information derived from
their books and records that was available at the time of such preparation. Although the Debtors have
made reasonable efforts to ensure the accuracy and completeness of such financial information,
inadvertent errors or omissions, as well as the discovery of conflicting, revised, or subsequent
information, may cause a material change to the Schedules and Statements.
1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The Debtors’
mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS                       PAGE 1
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        The Debtors and their officers, employees, agents, attorneys, and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules and
Statements and shall not be liable for any loss or injury arising out of or caused in whole or in part by
any act or omission, whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained in the Schedules and Statements.
Except as expressly required by the Bankruptcy Code, the Debtors and their officers, employees,
agents, attorneys, and financial advisors expressly do not undertake any obligation to update, modify,
revise or re-categorize the information provided in the Schedules and Statements or to notify any third
party should the information be updated, modified, revised, or re- categorized.

        David Warren has signed each of the Schedules and Statements. Mr. Warren is an authorized
signatory for the Debtors. In reviewing and signing each of the Schedules and Statements, Mr. Warren
has relied upon the efforts, statements, representations of various personnel employed by the Debtors
and their advisors. Mr. Warren has not (and could not have) personally verified the accuracy of each
such statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses. Neither the Schedules and Statements, nor the Global
Notes, should be relied upon by any persons for information relating to current or future financial
conditions, events, or performance of the Debtors.

                                               Global Notes

1.        Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The Debtors
reserve all rights to amend or supplement the Schedules and Statements from time to time, in all
respects, as may be necessary or appropriate (including, without limitation): (a) the right to amend
the Schedules and Statements with respect to a claim (“Claim”) description, designation, or Debtor
against which the Claim is asserted; (b) dispute or otherwise assert offsets or defenses to any Claim
reflected in the Schedules and Statements as to amount, liability, priority, status, or classification; (c)
subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” and/or (d) object
to the extent, validity, enforceability, priority, or avoidability of any Claim). Any failure to designate
a Claim in the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
constitute an admission by the Debtors that such Claim or amount is not “disputed,” “contingent,” or
“unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtor against
which the Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’ chapter 11
cases, including, without limitation, issues involving Claims, substantive consolidation, defenses,
equitable subordination, recharacterization, and/or causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or
avoid transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph. Notwithstanding the
foregoing, the Debtors shall not be required to update the Schedules and Statements except as may
be required by applicable law.




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THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS           PAGE 2
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2.       Description of Chapter 11 Cases and “As of” Information Date. On January 15, 2021 (the
“Petition Date”), each of the Debtors filed a voluntary petition for relief under chapter 11 of the
Bankruptcy Code. The Debtors continue to operate their business and manage their properties as
debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors’
chapter 11 cases are being jointly administered pursuant to Bankruptcy Rule 1015(b). The Debtors’ assets and
liabilities are reported as of the Petition Date, except as otherwise noted.

3.       Net Book Value of Assets. lt would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate assets for the Debtors to obtain current market valuations for each of their
assets. Accordingly, unless otherwise indicated, the Schedules and Statements reflect the net book
value of the Debtors’ assets as of the Petition Date. Furthermore, as applicable, assets that have fully
depreciated or were expensed for accounting purposes may not be reflected in the Schedules and
Statements as they have no net book value. The Debtors reserve their right to amend or adjust the value
of each asset or liability set forth in the Schedules and Statements.

4.       Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly
characterize, classify, categorize, or designate certain Claims, assets, executory contracts, unexpired
leases, postemployment benefits, and other items reported in the Schedules and Statements, the
Debtors may, nevertheless, have improperly characterized, classified, categorized, designated, or
omitted certain items. Accordingly, the Debtors reserve all of their rights to recharacterize, reclassify,
re-categorize, re-designate, add, or delete items reported in the Schedules and Statements at a later
time as is necessary or appropriate as additional information becomes available, including, without
limitation, whether contracts or leases listed herein were deemed executory or unexpired as of the
Petition Date and remain executory and unexpired post-petition. Disclosure of information in one or
more Schedules, one or more Statement questions, or one or more exhibits or attachments to the
Schedules and Statements, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedules, Statements, exhibits, or attachments.

5.       Liabilities. The Debtors have sought to allocate assets and liabilities between the prepetition
and post-petition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and further
research is conducted, the allocation of liabilities between the prepetition and post-petition periods
may change. Accordingly, each Debtor reserves all rights to amend, supplement, or otherwise modify
its Schedules and Statements as is necessary or appropriate.

       The liabilities listed on the Schedules do not reflect any analysis of Claims under Bankruptcy
Code section 503(b)(9). Accordingly, the Debtors reserve all of their rights to dispute or challenge
the validity of any asserted Claims under Bankruptcy Code section 503(b)(9) or the characterization
of the structure of any such transaction or any document or instrument related to any creditor’s Claim.

6.      Insiders. For the purposes of the Schedules and Statements, the Debtors defined “insider”
pursuant to Bankruptcy Code section 101(31) as: (a) directors; (b) officers; (c) persons in control of
the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in control of the Debtors; and
(e) debtor/non-debtor affiliates of the foregoing. The parties identified as “insiders” have been


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included for informational purposes only and the inclusion of them in the Schedules and Statements
shall not constitute an admission that those persons are insiders for purposes of Bankruptcy Code
section 101(31). The Debtors do not take any position with respect to: (a) such person’s influence
over the control of the Debtors; (b) the management responsibilities or functions of such individual; (c)
the decision-making or corporate authority of such individual; or (d) whether such individual could
successfully argue that he or she is not an “insider” under applicable law, including, without limitation,
the federal securities laws or with respect to any theories of liability or for any other purpose.

7.       Intellectual Property Rights. The exclusion of any intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned, terminated,
assigned, expired by their terms, or otherwise transferred pursuant to a sale, acquisition, or other
transaction. Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all such intellectual property rights.

8.       Executory Contracts and Unexpired Leases. Although the Debtors have made diligent
attempts to identify contracts and unexpired leases within the scope of Bankruptcy Code section 365,
in certain instances, the Debtors may have inadvertently failed to do so. Accordingly, the Debtors
reserve all of their rights with respect to the inclusion or exclusion of executory contracts and
unexpired leases, including the right to amend Schedule G at any time during the pendency of these
chapter 11 cases.

         Listing a contract or agreement on Schedule G does not constitute an admission that such
contract or agreement is an executory contract or unexpired lease. The Debtors reserve all rights to
challenge whether any of the listed contracts, leases, agreements or other documents constitute an
executory contract or unexpired lease, including if any are unexpired non-residential real property
leases. Any and all of the Debtors’ rights, claims, causes of action and defenses with respect to the
contracts and agreements listed on Schedule G are hereby reserved and preserved.

9.      Classification. Listing a Claim, contract or lease on (a) Schedule D as “secured,”
(b) Schedule E/F, Part 1 as “priority unsecured,” (c) Schedule E/F, Part 2 as “Non-priority
unsecured,” or (d) Schedule G as “executory” or “unexpired,” does not constitute an admission by the
Debtors of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
reclassify such Claims or contracts or leases or to setoff against such Claims.

10.       Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
“disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the Schedules and
Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by any
Debtor that such amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim is not
subject to objection. The Debtors reserve all of their rights to dispute, or assert offsets or defenses to,
any Claim reflected on their Schedules and Statements on any grounds, including liability or
classification. Additionally, the Debtors expressly reserve all of their rights to subsequently designate
such Claims as “disputed,” “contingent” or “unliquidated.” Moreover, listing a Claim does not
constitute an admission of liability by the Debtor.




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11.       Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
may not have listed all of their causes of action or potential causes of action against third parties
(collectively, “Causes of Action”) as assets in the Schedules and Statements, including, without
limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any
other relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of
their rights with respect to any: (a) cause of action (including avoidance actions), (b) controversy, (c)
right of setoff, (d) cross-claim, (e) counterclaim, (d) recoupment, and (e) any Claim on contracts or
for breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity, guaranty,
suit, obligation, liability, damage, judgment, account, defense, power, privilege, license, and
franchise of any kind or character whatsoever, known, unknown, fixed or contingent, matured or
unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law, or in equity, or pursuant to any other theory of law they may have, and
neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any Claims
or Causes of Action or in any way prejudice or impair the assertion of such Claims or Causes of Action.

12.      Summary of Significant Reporting Policies. The following is a summary of significant
reporting policies:

          a.     Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
                 “undetermined,” or similar indication is not intended to reflect upon the materiality of
                 such amount.

          b.     Totals. All totals that are included in the Schedules and Statements represent totals of
                 all known amounts. To the extent there are unknown or undetermined amounts, the
                 actual total may be different than the listed total.

          c.     Liens. The value of assets listed in the Schedules and Statements are presented without
                 consideration of any liens that may attach (or have attached) to such property and
                 equipment.

13.        Currency. All amounts are reflected in U.S. dollars unless otherwise indicated.

14.     Global Notes Control. ln the event that the Schedules or Statements differ from any of the
foregoing Global Notes, the Global Notes shall control.

                            Specific Notes for Certain Items on Schedules

1.      Schedule A/B, Part 1. Cash and Cash Equivalents. The Schedules and Statements reflect
both cash assets without donor restrictions, representing resources that are not restricted by donor-
imposed stipulations and are available for support of general operations, and net cash assets with donor
restrictions, representing contributions and other inflows of assets whose use are limited by donor-
imposed stipulations. Of the total cash listed by the Debtors, $26,729,029.87 are restricted.




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2.        Schedule A/B, Part 3. Accounts Receivable. Scheduled accounts receivable includes
membership dues payable over time, donor pledges and other receivables. Therefore, the amount of
collectible receivables could be lower than projected depending upon the circumstances.

3.        Schedule A/B Part 4. Of the total investments, $13,116,480.67 are restricted.

4.     Schedule A/B Part 5. The inventory has not been appraised. It is listed at book value. The actual
value may be different.

5.      Schedule A/B Part 9. The current value of the headquarters is based upon a January 2019 appraisal,
so the current value could be different.

Dated: March 4, 2021.

                                                  Respectfully submitted,

                                                  /s/ Patrick J. Neligan, Jr.
                                                  Patrick J. Neligan, Jr.
                                                  State Bar. No. 14866000
                                                  Douglas J. Buncher
                                                  State Bar No. 03342700
                                                  John D. Gaither
                                                  State Bar No. 24055516
                                                  NELIGAN, LLP
                                                  325 North St. Paul, Suite 3600
                                                  Dallas, Texas 75201
                                                  Telephone: 214-840-5333
                                                  Facsimile: 214-840-5301
                                                  pneligan@neliganlaw.com
                                                  dbuncher@neliganlaw.com
                                                  jgaither@neliganlaw.com

                                                  PROPOSED COUNSEL FOR DEBTORS




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 Fill in this information to identify the case:

 Debtor name            National Rifle Association of America

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               21-30085
                                                                                                                                                                                   x Check if this is an
                                                                                                                                                                                   
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $      63,825,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $     185,554,985.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $     249,379,985.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      45,332,550.51


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $        3,415,465.22

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      62,406,768.52


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        111,154,784.25




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30085
                                                                                                                             
                                                                                                                             X Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                             $936.95



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number
                                                                            Sub Demand Deposit
            3.1.   Atlantic Union Bank                                      Account                      4944                                           $0.00



                                                                            Sub Demand Deposit
            3.2.   Atlantic Union Bank                                      Account                      5347                                           $0.00



                                                                            Sub Demand Deposit
            3.3.   Atlantic Union Bank                                      Account                      4340                                           $0.00



                                                                            Sub Demand Deposit
            3.4.   Atlantic Union Bank                                      Account                      7142                                 $156,281.60




            3.5.   Atlantic Union Bank                                      Deposit Account              9940                                           $0.00



                                                                            Demand Deposit
            3.6.   Wells Fargo Bank                                         Account                      0899                               $1,058,539.17



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor           National Rifle Association of America                                      Case number (If known) 21-30085
                  Name




           3.7.     Commerce Bank                                           Checking Account             8907                       $15,579.52




           3.8.     Huntingon National Bank                                 Checking Account             973                                $4.25




           3.9.     InBank                                                  Checking Account             4297                       $10,197.73



           3.10
           .    PNC Bank                                                    Checking Account             9511                       $17,906.26



           3.11
           .    Chain Bridge Bank N.A.                                      Checking Account             5001                  $10,000,882.23



           3.12
           .    Wells Fargo Bank                                            Checking Account             0666                  $11,081,168.69



           3.13
           .    Atlantic Union Bank                                         Checking Account             5244                         $6,781.39



           3.14
           .    Access National                                             Checking Account             6406                  $10,262,379.86



           3.15
           .    Wells Fargo Bank                                            Checking Account             0267                         $7,755.03



           3.16
           .    Atlantic Union Bank                                         Lockbox Account              5643                           $100.00



           3.17
           .    Atlantic Union Bank                                         Checking Account             5740                         $4,417.42



           3.18
           .    Atlantic Union Bank                                         Checking Account             6046                       $56,446.13



           3.19
           .    Atlantic Union Bank                                         Checking Account             6143                       $14,044.34



           3.20                                                             Demand Deposit
           .    Atlantic Union Bank                                         Account                      6398                       $22,036.71


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 2
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 Debtor            National Rifle Association of America                                     Case number (If known) 21-30085
                   Name


            3.21
            .    Wells Fargo Bank                                           Checking Account                 0695                  $3,854,907.78



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                   $36,570,365.06
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Deposit - Brewer Trust Deposit                                                                                $2,551,009.57




            7.2.     Deposit - Postage                                                                                              $204,000.00




            7.3.     Deposit - CRA International (Legal)                                                                            $100,000.00




            7.4.     Deposit - CIGNA                                                                                                  $70,000.00




            7.5.     Booth Deposit - National Shooting Sports                                                                         $36,337.50




            7.6.     Shot Show Deposit - Resturant Row Corner LLC                                                                     $18,268.05




            7.7.     Rent Deposit - NADA Services Corp.                                                                               $10,412.00




            7.8.     Deposit - Clark Distribution Systems, Inc.                                                                       $10,000.00




            7.9.     Deposit - United Parcel                                                                                            $6,100.00



            7.10
            .    2024 Annual Meeting Deposit - City of Dallas                                                                           $5,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 3
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 Debtor           National Rifle Association of America                                      Case number (If known) 21-30085
                  Name




           7.11
           .    Rent Deposit - Downtown Plaza Towers                                                                                 $1,331.40



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid - Insurance - Lockton                                                                               $1,050,348.63




           8.2.     Prepaid - G&E Real Estate (Newmark Knight Frank)                                                             $198,670.11




           8.3.     Prepaid - Connecticut Shotgun MFG.                                                                             $96,000.00




           8.4.     Prepaid - Rcls Flights - Credit at Direct Travel                                                               $67,755.22




           8.5.     Prepaid - Boss Outdoor Productions                                                                             $42,500.00




           8.6.     Prepaid- Corporate America Aviation                                                                            $20,155.00




           8.7.     Prepaid - Safari Club International                                                                            $12,500.00




           8.8.     Prepaid - SK Global Software                                                                                       $714.00




           8.9.     Prepaid - PAC F/R Postage #96597 - Merkle                                                                      $21,611.38



           8.10
           .    Prepaid - ILA WV PO Box #5200 - Merkle                                                                             $65,970.63



           8.11
           .    Prepaid - Postage Escrow - Prolist                                                                               $185,466.73



           8.12
           .    Prepaid - Free Beacon, LLC - On-line Advertising Agreement 6/1/2016 to 6/1/2026.                                 $805,500.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor         National Rifle Association of America                                          Case number (If known) 21-30085
                Name


 9.         Total of Part 2.                                                                                                         $5,579,650.22
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                       64,072,298.70    -                      8,645,674.18 = ....                $55,426,624.52
                                              face amount                        doubtful or uncollectible accounts



            11a. 90 days old or less:                        1,207,637.91    -                        573,458.34 = ....                    $634,179.57
                                              face amount                        doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                        $56,060,804.09
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                        Valuation method used     Current value of
                                                                                                        for current value         debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:


            14.1.    Morgan Stanley Portfolio                                                           Market                         $48,141,826.66




            14.2.    Endowment (Morgan Stanley)                                                         Market                           $4,553,432.87




            14.3.    SERP                                                                               Market                           $2,930,784.94




            14.4.    Morgan Stanley Portfolio                                                           Market                           $8,369,093.00



 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    NRA Holdings, Inc.                                             100         %       Book                                        $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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 Debtor         National Rifle Association of America                                             Case number (If known) 21-30085
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           15.2.     Wingate Church Insurance Services, Inc.                             100         %   Book                                         $0.00




           15.3.     Lexington & Concord Holdings, LLC                                   100         %   Book                                         $0.00




           15.4.     Sea Girt LLC                                                        100         %   Bank                                 $50,000.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                           $64,045,137.47
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of       Valuation method used      Current value of
                                                      physical inventory         debtor's interest       for current value          debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Paper Inventory                            Monthly/Quarterly                  $1,433,889.67   Acquired Value                    $1,433,889.67



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory - Valtim,
           Fraternal Sales Items,
           Program Sales Materials                    Monthly/Quarterly                 $10,204,312.10   Acquired Value                  $10,204,312.10



 22.       Other inventory or supplies
           Museum Store,
           Headquarters Supplies,
           Other                                      Monthly/Quarterly                   $976,164.29    Acquired Value                      $976,164.29




 23.       Total of Part 5.                                                                                                           $12,614,366.06
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 6
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 Debtor         National Rifle Association of America                                         Case number (If known) 21-30085
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            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           SEE ATTACHED - (1) Summary Schedule of
           Fixed Assets, (2) Depreciation Expense
           Report, (3) Fixed Asset Summary Report                                    $284,541.00     Book Value                          $284,541.00



 40.       Office fixtures
           N/A                                                                              $0.00                                                 $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           SEE ATTACHED - (1) Summary Schedule of
           Fixed Assets, (2) Depreciation Expense
           Report, (3) Fixed Asset Summary Report                                    $671,140.00     Book Value                          $671,140.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. SEE ATTACHED - (4) Collectibles
                     Schedule                                                        $162,000.00     Book Value                          $162,000.00




 43.       Total of Part 7.                                                                                                           $1,117,681.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 Debtor         National Rifle Association of America                                         Case number (If known) 21-30085
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     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     SEE ATTACHED - (1) Summary
                     Schedule of Fixed Assets, (2) Fixed
                     Asset Summary Report, (5) Vehicle List
                     with Make -Model-VIN Details                                    $499,690.00     Book Value                           $499,690.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                           $499,690.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 11250 Waples Mill                        Headquarter
                     Road, Fairfax, VA                    Building and
                     22030                                Property                $25,055,054.00     Market Value                     $61,300,000.00


           55.2.                                          Adjacent
                     11244 Waples Mill                    Building &
                     Road, Fairfax, VA                    Property to
                     22030                                Headquarters               $502,754.00     Market Value                       $2,525,000.00




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 Debtor         National Rifle Association of America                                         Case number (If known) 21-30085
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            55.3.    412 First Street, S.E.
                     Washington, DC
                     20003                                Lease                        Unknown                                                     $0.00




 56.        Total of Part 9.                                                                                                        $63,825,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used     Current value of
                                                                              debtor's interest        for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Copyrights - NRA creates and/or publishes
            content on a daily basis, and has been doing
            so for many years. The content takes a variety
            of forms including audio, video, and written
            text, both online and through hard copies.
            This conent is disseminated through multiple
            channels including print publications, digital
            publications, television show, websites, phone
            applications, social media accounts and other
            channels. The amount of content NRA has
            published through various forms of media
            continues to grow on a daily basis.                                         $4,365.00      Book                                  $4,365.00


            Trademarks - The NRA has approximately 94
            trademarks registered with the United States
            Patent and Trademark Office. There may be
            other trademarks used by NRA personnel to
            identify NRA goods or services that have not
            arisen to the point of being registered but are
            protected under common law trademark
            jurisprudence.                                                                  $0.00      Book                                        $0.00



 61.        Internet domain names and websites
            Internet Domains/Websites - The NRA has
            approximately 52 internet domain names that
            are used to publish its content or redirect
            users to its active websites, and for other
            activities.                                                                     $0.00      Book                                        $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 9
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 Debtor         National Rifle Association of America                                           Case number (If known) 21-30085
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 62.        Licenses, franchises, and royalties
            Royalties/Licenses - The NRA has many
            license agreements with third party companies
            to brand merchanise in an affinity operation.                                     $0.00      Book                                           $0.00



 63.        Customer lists, mailing lists, or other compilations
            Trade Secrets/Customer Lists/Mailing Lists -
            NRA maintains list of members, donors,
            customers, prospects, trainers, competitors,
            volunteers, recruiters and others. THere are
            millions of names on these lists. NRA also
            has procedures and practices for processing
            this and other data in a productive manner.                                       $0.00      Book                                           $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $4,365.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Note Receivable from the Special                              5,043,931.24 -                                     0.00 =
            Contribution Fund - $5,043,931.24                         Total face amount       doubtful or uncollectible amount               $5,043,931.24



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

            SEE ATTACHED                                                                                                                                $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 10
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 Debtor         National Rifle Association of America                                        Case number (If known) 21-30085
                Name

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           SEE ATTACHED                                                                                                               Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           SEE ATTACHED                                                                                                               Unknown
           Nature of claim
           Amount requested                                              $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Metal Dies (used to produce NRA seals) - $11,955.34                                                                      $11,955.34



           457 Deferred Compensation Plan - $3,845,040.32                                                                       $3,845,040.32



           Heston Oil Painting - $15,000.00                                                                                         $15,000.00



           Mid-Range Deluxe Rifle - $22,000.00                                                                                      $22,000.00


           Winchester Model 1866 Engraved Rifle - Louis D.
           Nimschke - $45,000.00                                                                                                    $45,000.00



           Charlton Heston/Will Penny Monument - $80,000.00                                                                         $80,000.00




 78.       Total of Part 11.                                                                                                   $9,062,926.90
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 11
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 Debtor          National Rifle Association of America                                                               Case number (If known) 21-30085
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $36,570,365.06

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $5,579,650.22

 82. Accounts receivable. Copy line 12, Part 3.                                                               $56,060,804.09

 83. Investments. Copy line 17, Part 4.                                                                       $64,045,137.47

 84. Inventory. Copy line 23, Part 5.                                                                         $12,614,366.06

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $1,117,681.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $499,690.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $63,825,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $4,365.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $9,062,926.90

 91. Total. Add lines 80 through 90 for each column                                                     $185,554,985.80              + 91b.           $63,825,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $249,379,985.80




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    National Rifle Association ofAmerica
    Historical Documents & Original Art
    Account# 1920
    December 31, 2020


       Added as                                                                                      Asset Location and
        Asset                       Description                                                 NRA Payment Source Documents                   Total          Total


    Pd 12, 1997      Heston oil painting by Michael J. Deas                          NRA Check 62231 issued I 0/9/97 to Mercury Group
                                                                                     for $55,000 ($ I 5K for oil painting at left; $ IOK
                                                                                     expensed for Heston Poster for Fall 1997 solicitation;
                                                                                     $ IOK expense for outside illustrator charge; $20K
                                                                                     expensed for copyright on oil painting).

                                                                                                                                              15,000.00      15,000.00
                     Sharps Model 1874 #1 Mid-Range Deluxe Rifle .44-77              Location: NRA Museum per Phil Schreier and Doug
    Pd 9, 2002      caliber, #156023, 28" part octagon barrel, casehardened          Wicklund on 2/10/04.
                    action, and checkered deluxe wood.                               American Express payment, per the March 22, 2002
                                                                                     Amex bill, paid to Monty Whitley, Inc. for $22,000.
                                                                                                                                              22,000.00      22,000.00
                     Winchester Model 1866 Engraved Rifle; Serial Number             Location: NRA Museum per Phil Schreier and Doug
     Pd 5, 2003      36352, manufactured in 1870. Engraved and signed by             Wicklund on 2/10/04.
                     Louis D. Nimschke on the lowertang behind the trigger.          NRA Check 210707 issued 4/18/03 to Monty Whitley,
                                                                                     Inc. for $45,000
                                                                                                                                              45,000.00      45,000.00
                    Heston Statlle
                    Larger than life Monument ofCharlton Heston/Will Penny           Location: NRA Museum lobby
     Pd 5, 2003     the Drifter                                                      NRA Check 208983 issued 3/27/03 to Blair Buswell
                                                                                     Studios for $40,000
                                                                                     Location: NRA Museum lobby                               40,000.00
     Pd 6, 2003      Monument of Charlton Heston/Will Penny the Drifter              NRA Check 216230 issued 7/31/03 to Blair Buswell
                                                                                     Studios for $41,950.70; $40K for statue and $1,950.70
                                                                                     expensed to shipping in CC72300
                                                                                                                                              40,000.00      80,000.00


    Balance Per General Ledger at 12/31/20                                                                                                                 $ I 62,000.00



    This account balance represents the costs for historical items placed at 11250 Waples Mill Road building.




J:\SPECPROJ\Legal Queries\Bankruptcy\Capital Assets\Collectibles - Account 1920; Tab:List                                                                                  1/28/2021
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              In re National Rifle Association of America
                      Case No. 21-30085-hgh-11




                   SCHEDULE A/B

                QUESTION NO. 73
             INTERESTS IN INSURANCE
              POLICIES OR ANNUITIES
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National Rifle Association - insurance policies (2020 - 2021)
#         Coverage type                                         Carrier                                                             Policy period

1)        Property                                              North River Insurance Co (Crum & Forster)                           4/1/2020 - 4/1/2021

2)        Inland Marine (Cargo)                                 North River Insurance Co (Crum & Forster)                           4/1/2020 - 4/1/2021

3)        Work Comp                                             biBerk                                                              4/1/2020 - 4/1/2021

4)        Business Auto                                         United States Fire Insurance Co (Crum & Forster)                    4/1/2020 - 4/1/2021

5)        General Liability                                     United States Fire Insurance Co (Crum & Forster)                    4/1/2020 - 4/1/2021

6)        Umbrella                                              James River Insurance Co                                            4/1/2020 - 4/1/2021

7)        Cyber Liability                                       Endurance American Specialty Ins                                    4/1/2020 - 4/1/2021

8)        Cyber Liability Excess                                Landmark American Insurance                                         4/1/2020 - 4/1/2021

9)        Fiduciary Liability                                   Old Republic Professional Liability                                 4/1/2020 - 4/1/2021

10)       Crime                                                 Berkley Insurance                                                   4/1/2020 - 4/1/2021

11)       Professional Liability                                North River Insurance Co (Crum & Forster)                           4/1/2020 - 4/1/2021

12)       Special Crime (K&R)                                   U.S. Specialty Insurance Co.                                        4/1/2019 - 4/1/2022

13)       Directors & Officers - Package                        Lloyd's Syndicate 2623 Beazley Furlonge Limited                     8/9/2020 - 8/9/2021

14)       Excess Directors & Officers                           Partner Re Ireland/Forge Underwriting                               8/9/2020 - 8/9/2021

15)       Excess Directors & Officers                           Evanston Insurance Company                                          8/9/2020 - 8/9/2021

16)       Excess Directors & Officers                           Endurance (Sompo)                                                   8/9/2020 - 8/9/2021
                                                                                                                                    10/1/2020 -
17)       Employment Practices Liability                        Endurance (Sompo)                                                   10/2/2021
                                                                                                                                    10/8/2020 -
18)       Key Person Acc                                        Underwriters at Lloyd's, London                                     10/8/2021
                                                                                                                                    11/1/2019 -
19)       Travel Accident                                       Federal Insurance Company                                           11/1/2022
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                                             Part 11, Question 74: Causes of action against third parties (whether or not a lawsuit has been filed)
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                                             Causes of action against third parties (whether or not a lawsuit has been filed)            Nature of claim(s)                        Amount requested                                                 Current value of
                                                                                                                                                                                                                                                    debtor's interest
                                             Christopher W. Cox v. National Rifle Association of America , Arbitration before the        Counterclaims against Mr. Cox for      At least $6.7 million                                               Unknown
                                             International Institute for Conflict Prevention & Resolution, Case No. 1G-21-05-S           breaches of fiduciary, contractual,
                                             (2019)                                                                                      and statutory duties;
                                                                                                                                         conversion of NRA’s property;
                                                                                                                                         fraudulent inducement; and
                                                                                                                                         conspiracy to breach fiduciary duties.
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                                             In re Lithium Ion Batteries Antitrust Litigation , MDL No. 2420 (N.D. Cal.)                 Class action antitrust claim.             Undetermined                                                     Unknown
                                             In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation , MDL No. 1720Class action antitrust claim.             Undetermined                                                     Unknown
                                             The National Rifle Association of America. v. Mark R. Dycio and Law Offices of Mark Breach of contract, breach of                     To be determined.                                                Unknown
                                             R. Dycio, P.C. (d/b/a Dycio & Biggs), Case No. 2019- 17571 (Va. Cir. Ct. 2019)              fiduciary duty, conversion, and fraud;
                                                                                                                                         seeks the return of fees
                                             National Rifle Association v. Ackerman McQueen, Inc., and Mercury Group, Inc., Case Various claims, including for                     $40 million                                                      Unknown
                                             Nos. CL19001757, CL19002067, 19002886 (Va. Cir. Ct. 2019)                                   breaches of fiduciary and contractual
                                                                                                                                         duties.
                                             National Rifle Association v. Ackerman McQueen, Inc., Mercury Group, Inc., Henry      Various claims, including for                   $100 million                                                     Unknown
                                             Martin, William Winkler, Melanie Montgomery and Jesse Greenberg, Case. No. 3:19-cv-breaches of fiduciary and contractual
                                             2074 (N.D. Tex. 2019)                                                                 duties.
                                             National Rifle Association v. Andrew Cuomo, both individually and in his official     Violations of the NRA's rights under            To be determined.                                                Unknown
                                             capacity; Maria T. Vullo, both individually and in her official capacity; and The New the Constitutions of the United States
                                             York State Department of Financial Services, Case No. 1:18-cv-566 (N.D.N.Y. 2018)     and New York.
                                             National Rifle Association v. Andrew Cuomo, both individually and in his official     Violations of the NRA's rights under            To be determined.                                                Unknown
                                             capacity; New York State Department of Economic Development d/b/a Empire State        the Constitutions of the United States
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                                             Development; Eric Gertler, both individually and in his official capacity; New York   and New York.
                                             State Department of Labor; and Roberta Reardon, both individually and in her official
                                             capacity, Case No. 1:20-cv-385 (N.D.N.Y. 2020)
                                             National Rifle Association v. JAMS, Inc. and Winston & Strawn LLP, Case No. 2020 CA The NRA's claims against JAMS are                 To be determined.                                                Unknown
                                             003346 B (D.C. Sup. Ct. 2020)                                                         breach of contract and
                                                                                                                                   for declaratory relief.
                                                                                                                                        The NRA's claims against Winston &
                                                                                                                                        Strawn are for unjust enrichment,
                                                                                                                                        negligent misrepresentation, and
                                                                                                                                        declaratory relief.
                                             National Rifle Association v. Letitia James, in her individual and official capacity, Case Violations of the NRA's rights under       To be determined.                                                Unknown
                                             No. 1:20-cv-889 (N.D.N.Y. 2020)                                                            the Constitutions of the United States
                                                                                                                                        and New York.
                                             National Rifle Association v. Oliver North , Case No. 903843‐20 (N.Y. Sup. Ct. 2019)       Claims for breaches of fiduciary and       To be determined.                                                Unknown
                                                                                                                                        statutory duties, conspiracy to violate
                                                                                                                                        fiduciary duties, and declaratory
                                                                                                                                        relief.
                                             TLR Systems                                                                                Contractual claims from inadequate         Undetermined                                                     Unknown
                                                                                                                                        performance of roof repair contract in
                                                                                                                                        2015.
                                             Under Wild Skies, Inc. v. National Rifle Association of America , Case No. 19-12530        Counterclaims for breaches of              Breach of advertising agreement ($11,225,000); breach of         Unknown
                                             (Va. Cir. Ct. 2019)                                                                        advertising and sponsorship                sponsorship agreement ($9,600,000); affirmative defense of
                                                                                                                                        agreements; affirmative defense of         fraudulent invoicing (at least $1,365,000)
                                                                                                                                        fraudulent invoicing
                                             Various Second Amendment and firearms litigation                                           Civil rights litigation on behalf of the   Undetermined (nominal damages and recovery of attorneys' fees)   Unknown
                                                                                                                                        NRA, or funded by the NRA on
                                                                                                                                        behalf of other plaintiffs.
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                                                Part 11, Question 75: Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the
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                                             Other contingent and unliquidated claims or causes of action of every nature,   Nature of claim                         Amount requested    Current value of
                                             including counterclaims of the debtor and rights to set off claims                                                                          debtor's interest
                                             Ackerman McQueen                                                                UPMG and TuneSat /First Com allege Undetermined             Unknown
                                                                                                                             unauthorized uses of music in NRA
                                                                                                                             videos. It is possible that some of
                                                                                                                             these videos were produced by
                                                                                                                             Ackerman & McQueen. If so, an
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                                                                                                                             indemnification claim could exist on
                                                                                                                             behalf of NRA.
                                             David Lehman                                                                    Various claims, including breaches Undetermined             Unknown
                                                                                                                             of fiduciary, contractual, and
                                                                                                                             statutory duties; conversion of
                                                                                                                             NRA’s property; and conspiracy to
                                                                                                                             breach fiduciary duties.
                                             Jack Steven Hart                                                                Allegations similar to certain of the   Undetermined        Unknown
                                                                                                                             allegations asserted in the NRA’s
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                                                                                                                             claims and counterclaims listed in
                                                                                                                             response to question 74.
                                             Kemble Trust (Texas)                                                            Estate dispute.                         $100,000            Unknown
                                             Anthony Makris                                                                  Allegations similar to certain of the At least $5,250,000   Unknown
                                                                                                                             allegations asserted in the NRA’s
                                                                                                                             claims and counterclaims listed in
                                                                                                                             response to question 74.
                                             Michel and Associates                                                           Attorney fee dispute - potential      Undetermined          Unknown
                                                                                                                             counterclaims or offsets.
                                             On Message, Inc.                                                                UPMG and TuneSat /First Com allege Undetermined             Unknown
                                                                                                                             unauthorized uses of music in NRA
                                                                                                                             videos. It is possible that some of
                                                                                                                             these videos were produced by On
                                                                                                                             Message, Inc. If so, an
                                                                                                                             indemnification claim could exist on
                                                                                                                             behalf of NRA.
                                             Co-defendants, litigation adversaries, and third parties in proceedings listed in                                             Undetermined   Unknown
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                                             response to Question 74                                                             Additional claims and counterclaims
                                                                                                                                 arising out of or relating to the facts
                                                                                                                                 underlying or related to certain of the
                                                                                                                                 NRA's claims and counterclaims
                                                                                                                                 listed in response to Question 74
                                                                                                                                 and/or allegations similar to such
                                                                                                                                 claims/counterclaims.
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 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          21-30085
                                                                                                                                                         x Check if this is an
                                                                                                                                                         
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1                                                                                                                                                                   $3,415,465.
           Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $3,415,465.22          22
           INTERNAL REVENUE SERVICE                                  Check all that apply.
           P.O. BOX 7346                                              Contingent
           PHILADELPHIA, PA 19101-7346                                Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number 5108                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (9)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $141.00
           10-8 FIREARMS INSTRUCTION                                                Contingent
           504 TAFT ST S                                                            Unliquidated
           HUMBOLDT, IA 50548-2253                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      0295
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $3,297.60
           2 MONKEY TRADING LLC                                                     Contingent
           3601 VINELAND RD                                                         Unliquidated
           STE 14                                                                   Disputed
           ORLANDO, FL 32811
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      0685                               Is the claim subject to offset?      No  Yes



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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $288.00
          67 GUN CLUB INC                                                     Contingent
          PO BOX 255                                                          Unliquidated
          FARMINGTON, MO 63640-0255                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0147
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          A & N SPORTS INC                                                    Contingent
          501 S FRENCH AVE                                                    Unliquidated
          SANFORD, FL 32771                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2384
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $30.00
          A GIRL AND A GUN WOMEN'S SHOOT                                      Contingent
          6601 PERALTO COVE                                                   Unliquidated
          AUSTIN, TX 78730-2849                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9503
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          ACKERMAN MCQUEEN INC                                                Contingent
          1601 NORTHWEST EXPRESSWAY
          OKLAHOMA CITY, OK 73118-1438
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number       5475                         Basis for the claim:

                                                                             Is the claim subject to offset?    No     Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15.00
          ACROBAT TACTICAL                                                    Contingent
          6600 WOODCREST AVE                                                  Unliquidated
          PHILADELPHIA, PA 19151-2301                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5881
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,065.50
          AFILIAS LIMITED                                                     Contingent
          2 LA TOUCHE HOUSE                                                   Unliquidated
          IFSC                                                                Disputed
          DUBLIN 1 IRELAND
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8159                         Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,284.80
          AG ALMANAC LLC                                                      Contingent
          2735 HARTLAND ROAD #101                                             Unliquidated
          FALLS CHURCH, VA 22043                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7292
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          AIMS TRAINING AND CONSULTING L                                      Contingent
          PO BOX 71                                                           Unliquidated
          GLADE HILL, VA 24092-0071                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4600
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,925.00
          AIRWAYS FREIGHT CORP                                                Contingent
          P O BOX 1888                                                        Unliquidated
          FAYETTEVILLE, AR 72702                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       32
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,510.00
          AKER INTERNATIONAL INC                                              Contingent
          2248 MAIN ST. #4                                                    Unliquidated
          CHULA VISTA, CA 91911                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9085
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $200.00
          ALAN W. HOMIAK                                                      Contingent
          154 TRUDYS VIEW DRIVE                                               Unliquidated
          CADIZ, KY 42211                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1356
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $8.43
          ALBERT TOMOVCSIK                                                    Contingent
          1823 HOMESTEAD DUQUESNE RD.                                         Unliquidated
          WEST MIFFLIN, PA 15122                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1213
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          ALEX TACTICAL                                                       Contingent
          3936 S. SEMORAN BLVD., #343                                         Unliquidated
          ORLANDO, FL 32822-4015                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5980
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $310.29
          ALLBAUGH, JOE M                                                     Contingent
          101 CONSTITUTION AVE., SUITE 525                                    Unliquidated
          WASHINGTON, DC 20001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7211
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $36.00
          ALLEGHENY COUNTRY RIFLE CLUB                                        Contingent
          419 LOUANN ST                                                       Unliquidated
          PITTSBURGH, PA 15223-1213                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7655
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $14,095.00
          ALLEN COMMUNICATION LEARNING                                        Contingent
          SERVICES IN                                                         Unliquidated
          55 WEST 900 SOUTH                                                   Disputed
          SALT LAKE CITY, UT 84101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6468                         Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $10,675.00
          ALLIANCE FOR AUDITED MEDIA                                          Contingent
          PO BOX 5998                                                         Unliquidated
          CAROL STREAM, IL 60197-5998                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9437
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $18.00
          ALLIED SPORTMEN OF WNY INC                                          Contingent
          4055 DAVID RD                                                       Unliquidated
          BUFFALO, NY 14221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9152
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,000.00
          AMATEUR TRAPSHOOTING ASSN                                           Contingent
          PO BOX 519                                                          Unliquidated
          SPARTA, IL 62286                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2968
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $50,000.00
          AMBER NIBLOCK                                                       Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          AMERICA'S GUN STORE LLC                                             Contingent
          402 N LINCOLN AVE                                                   Unliquidated
          BARNESVILLE, OH 43713-1228                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8962
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $135,258.52
          AMERICAN EXPRESS                                                    Contingent
          PO BOX 1270                                                         Unliquidated
          NEWARK, NJ 07101-1270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0413
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $62.00
          AMMOLAND INC                                                        Contingent
          1290 MAIN ST UNIT 781038                                            Unliquidated
          SEBASTIAN, FL 32958                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1461
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          AMMONOOSUC VALLEY FISH & GAME                                       Contingent
          PO BOX 60                                                           Unliquidated
          WOODSVILLE, NH 03785-0060                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0303
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $326.00
          ANDERSON CO. SPORTSMEN'S CLUB                                       Contingent
          103 HORN DRIVE                                                      Unliquidated
          LAWRENCEBURG, KY 40342-1346                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1604
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          ANDRE MACON                                                         Contingent
          9575 GRANDVILLE AVENUE                                              Unliquidated
          DETROIT, MI 48228-1314                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6257
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $198.00
          ANDREW MADURA                                                       Contingent
          2130 GORDON ST. NW                                                  Unliquidated
          GRAND RAPIDS, MI 49504-3823                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3038
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          ANGEL L MUNOZ GOMEZ                                                 Contingent
          P.O. BOX 366347                                                     Unliquidated
          SAN JUAN, PR 00936-6347                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5382
                                                                             Is the claim subject to offset?    No  Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $18.00
          ANGELINA RIFLE & PISTOL CLUB I                                      Contingent
          2133 FM 324                                                         Unliquidated
          LUFKIN, TX 75904-0836                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0904
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $42.00
          ANNABELLE HAMACHEK                                                  Contingent
          46 COLLEGE DR                                                       Unliquidated
          ORANGE PARK, FL 32065-6311                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8525
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          ANTHONY K FORTE                                                     Contingent
          2871 COMPASS CT APT 106                                             Unliquidated
          FORT BRAGG, NC 28307-2253                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0398
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $8.00
          APPLE VALLEY GUN CLUB                                               Contingent
          PO BOX 786                                                          Unliquidated
          VICTORVILLE, CA 92393-0786                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1648
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $251.00
          APPS 47 INC                                                         Contingent
          1118 CATHERINE ST                                                   Unliquidated
          KEY WEST, FL 33040                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1239
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          AR15.COM                                                            Contingent
          171 WILLOW POND WAY                                                 Unliquidated
          PENFIELD, NY 14526-2651                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3339
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,499.42
          ARAG INSURANCE                                                      Contingent
          400 LOCUST ST                                                       Unliquidated
          STE 480                                                             Disputed
          DES MOINES, IA 50309
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7751                         Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $500.00
          ARCHIVAL RESEARCH GROUP LLC                                         Contingent
          6933 FOX CHASE RD                                                   Unliquidated
          NEW MARKET, MD 21774                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9111
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $123.75
          ARENAS FILOMENO                                                     Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4122
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $25.00
          ARLENE'S SPORTING GOODS                                             Contingent
          5470 MIDDLE CHANNEL DR                                              Unliquidated
          HARSENS ISLAND, MI                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2198
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $8.00
          ARMANDO D LIBAN                                                     Contingent
          9710 TRAVILLE GATEWAY DR #297                                       Unliquidated
          ROCKVILLE, MD 20850-7408                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2887
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          ARMED CITIZEN TRAINING, LLC                                         Contingent
          105 WALLINGSFORD CIR                                                Unliquidated
          YOUNGSVILLE, LA 70592-5421                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8155
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $237.00
          ARMED2DEFEND, LLC                                                   Contingent
          7457 WILLIAMSON LN                                                  Unliquidated
          CANAL WINCHESTE, OH 43110-8484                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7043
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,612.90
          ARMITAGE DECHENE & ASSOCIATES                                       Contingent
          228 CHELTENHAM ROAD                                                 Unliquidated
          NEWARK, DE 19711                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0166
                                                                             Is the claim subject to offset?    No  Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,709.75
          ARMOR DEFENSE INC                                                   Contingent
          2360 CAMPBELL CREEK BLVD                                            Unliquidated
          STE 525                                                             Disputed
          RICHARDSON, TX 75082
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9232                         Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          ARMY NAVY TACTICAL LLC                                              Contingent
          9335 ELIZABETH LN                                                   Unliquidated
          MASON, OH 45040-7380                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4823
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $25.00
          ARNOLD BERMAN                                                       Contingent
          92 HIGH STREET                                                      Unliquidated
          WINDSOR, CT 06095                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1229
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,231.50
          ARONSON & COMPANY                                                   Contingent
          111 ROCKVILLE PIKE, SUITE 600                                       Unliquidated
          ROCKVILLE, MD 20850                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0168
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $54,825.00
          ARONSON LLC                                                         Contingent
          111 ROCKVILLE PIKE                                                  Unliquidated
          SUITE 600                                                           Disputed
          ROCKVILLE, MD 20850
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0305                         Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $8.00
          ASHEVILLE RIFLE & PISTOL CLUB                                       Contingent
          PO BOX 477                                                          Unliquidated
          NAPLES, NC 28760-0477                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5935
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          ASHLEIGH MEREDITH WATSON                                            Contingent
          4360 ALDERNY PLACE                                                  Unliquidated
          HIGH POINT, NC 27265                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3114
                                                                             Is the claim subject to offset?    No  Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          ASK DEFENSIVE TRAINING CORP                                         Contingent
          1399 W COLTON AVE STE 6                                             Unliquidated
          REDLANDS, CA 92374                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1280
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          ASSOC OF FISH & WILDLIFE AGENCI                                     Contingent
          444 N. CAPITOL ST                                                   Unliquidated
          SUITE 725                                                           Disputed
          WASHINGTON, DC 20001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2996                         Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $79.00
          ASSOC. OF NJ RIFLE&PISTOLCLUBS                                      Contingent
          PO BOX 353                                                          Unliquidated
          POMPTON PLAINS, NJ 07444-0353                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5297
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $542.17
          AT&T MOBILITY                                                       Contingent
          P.O. BOX 6463                                                       Unliquidated
          CAROL STREAM, IL 60197-6463                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8334
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $722.81
          AT&T MOBILITY #287238182599                                         Contingent
          PO BOX 6463                                                         Unliquidated
          CAROL STREAM, IL 60197-6463                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9967
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $251.00
          ATHENS RIFLE CLUB                                                   Contingent
          PO BOX 5542                                                         Unliquidated
          ATHENS, GA 30604-5542                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1272
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $30,345.40
          ATLANCO LLC                                                         Contingent
          1125 HAYES INDUSTRIAL DR                                            Unliquidated
          MARIETTA, GA 30062-2448                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4186
                                                                             Is the claim subject to offset?    No  Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $198.75
          ATT TELECONFERENCE SERVICES                                         Contingent
          P.O. BOX 5002                                                       Unliquidated
          CAROL STREAM, IL 48084                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0109
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $39,084.00
          AUREA SOFTWARE INC                                                  Contingent
          401 CONGRESS AVE                                                    Unliquidated
          SUITE 2650                                                          Disputed
          AUSTIN, TX 78701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1193                         Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          AUSTIN COMMUNITY COLLEGE DISTRICT                                   Contingent
          5930 MIDDLE FISKVILLE ROAD                                          Unliquidated
          AUSTIN, TX 78752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0816
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $25.00
          AUSTYN JADE STEVENS                                                 Contingent
          111 BELLE TERRE BLVD                                                Unliquidated
          COVINGTON, LA 70433                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1364
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,108.16
          AWARD CRAFTERS INC                                                  Contingent
          8854 RIXLEW LANE                                                    Unliquidated
          MANASSAS, VA 20109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1247
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,180.09
          B&H FOTO & ELECTRONICS CORP                                         Contingent
          420 NINTH AVE.                                                      Unliquidated
          NEW YORK, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0498
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,530.00
          BAKER & HOSTETLER LLP                                               Contingent
          P.O. BOX 70189                                                      Unliquidated
          CLEVELAND, OH 44190-0189                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          BAKER INSURANCE GROUP LLC                                           Contingent
          1601 E LAMAR BLVD                                                   Unliquidated
          ARLINGTON, TX 76011                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2702
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          BALTIMORE CO. GAME&FISH PROT.                                       Contingent
          3400 NORTHWIND RD                                                   Unliquidated
          BALTIMORE, MD 21234-1220                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2981
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $557.50
          BARBARA BOWERS                                                      Contingent
          922 MEADOWWOOD LANE                                                 Unliquidated
          BOWLING GREEN, KY 42104                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1261
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15.00
          BARRY ALLEN                                                         Contingent
          2505 EDGEMONT RD                                                    Unliquidated
          WENDELL, NC 27591-8280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4377
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $39.00
          BARRY LOONEY                                                        Contingent
          PO BOX 641672                                                       Unliquidated
          OMAHA, NE 68164-7672                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5860
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $126.00
          BEAVER VALLEY RIFLE AND PISTOL                                      Contingent
          505 CONSTITUTION BLVD                                               Unliquidated
          BEAVER FALLS, PA 15010-5602                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8089
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $51.00
          BELL CITY RIFLE CLUB                                                Contingent
          273 SMITH RD                                                        Unliquidated
          THOMASTON, CT 06787-1234                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0145
                                                                             Is the claim subject to offset?    No  Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $62.00
          BELTON GUN CLUB                                                     Contingent
          PO BOX 126                                                          Unliquidated
          BELTON, SC 29627-0126                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8792
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          BENEDIKT, ARAM BARSCH VON                                           Contingent
          PO BOX 1376                                                         Unliquidated
          BOULDER, UT 84716                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7696
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $12,500.00
          BENEFIT RESOURCES INC                                               Contingent
          P O BOX 14124                                                       Unliquidated
          ATLANTA, GA 30324                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1116
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $30.00
          BENITA ALTIER                                                       Contingent
          P.O. BOX 778                                                        Unliquidated
          EASTON, WA 98925                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1222
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          BENNIE D'AGOSTINO                                                   Contingent
          3304 ACUMINATA DR                                                   Unliquidated
          WEST SALEM, OH 44287-9105                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0892
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,050.00
          BERRY, MATTHEW LEVASSEUR                                            Contingent
          45779 MOUNTAIN PINE SQ                                              Unliquidated
          STERLING, VA 20166                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0892
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $69.95
          BESS GILETTE                                                        Contingent
          913 FREDONIA ROAD                                                   Unliquidated
          STONEBORO, PA 16153                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1305
                                                                             Is the claim subject to offset?    No  Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $27.00
          BEST HANDGUN TRAINING, INC                                          Contingent
          2255 CELTIC DR                                                      Unliquidated
          LINCOLN, CA 95648-2900                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5921
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,339.00
          BEYOND INFINITY CORPORATION                                         Contingent
          4279 E SUNRISE DR #402                                              Unliquidated
          TUCSON, AZ 85718                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1091
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $60.00
          BIG TIMBER RIFLE & PISTOL CLUB                                      Contingent
          PO BOX 669                                                          Unliquidated
          TOLEDO, OR 97391-0669                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1766
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $27.00
          BINGHAMTON RIFLE CLUB INC                                           Contingent
          P.O. BOX 823                                                        Unliquidated
          BINGHAMTON, NY 13902                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9379
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,325.00
          BKR INVETMENTS LLC                                                  Contingent
          1610 W SUPERIOR ST                                                  Unliquidated
          DULUTH, MN 55806                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1127
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15.00
          BLACK BEAR TACTICAL DEFENSE, L                                      Contingent
          112 TOWER RIDGE LN                                                  Unliquidated
          SANFORD, NC 27330                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1020
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $115.00
          BLACK DIAMOND GUN CLUB                                              Contingent
          PO BOX 217                                                          Unliquidated
          BLACK DIAMOND, WA 98010-0217                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5767
                                                                             Is the claim subject to offset?    No  Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $56.25
          BLACKBAUD INC                                                       Contingent
          P O BOX 930256                                                      Unliquidated
          ATLANTA, GA 31193-0256                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5743
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          BLUE RIDGE CHERRY VALLEY ROD &                                      Contingent
          PO BOX 222                                                          Unliquidated
          SCIOTA, PA 18354-0222                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5659
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $48.00
          BLUE RIDGE SHOOTERS CLUB INC                                        Contingent
          PO BOX 946                                                          Unliquidated
          BUENA VISTA, VA 24416-0946                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1646
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          BLUE TRAIL RANGE & GUN STORE                                        Contingent
          316 N BRANFORD RD                                                   Unliquidated
          WALLINGFORD, CT 06492-2798                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6476
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $416.77
          BLUNT, MATT                                                         Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       5779                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $90.00
          BONE CREEK SPORT & GUN CLUB                                         Contingent
          P.O. BOX 512                                                        Unliquidated
          PTIISBURG, KS 66762                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9466
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15.00
          BOSTON FIGHT CENTER LLC                                             Contingent
          151 BOW ST UNIT 2                                                   Unliquidated
          EVERETT, MA 02149                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1113
                                                                             Is the claim subject to offset?    No  Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $75.00
          BRAD CHESSON                                                        Contingent
          3432 52ND PLACE NE                                                  Unliquidated
          TACOMA, WA 98422                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1230
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $593,090.36
          BRADLEY ARANT BOULT CUMMINGS, LLP                                   Contingent
          PO BOX 830709                                                       Unliquidated
          BIRMINGHAM, AL 35283                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4572
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          BRANCH VALLEY FISH GAME AND FO                                      Contingent
          PO BOX 182                                                          Unliquidated
          PERKASIE, PA 18944-0182                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9312
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $600.00
          BRATCHER, STANLEY W                                                 Contingent
          4767 E HEAVENLY PLACE                                               Unliquidated
          YUMA, AZ 85365                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1278
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $48.00
          BRIAN ANTHONY CRAIG                                                 Contingent
          1020 BICENTENNIAL PKWY                                              Unliquidated
          ANN ARBOR, MI 48108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1023
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $22.00
          BRIAN BAKER                                                         Contingent
          50 SE STOTSBERY ROAD                                                Unliquidated
          SHELTON, WA 98584                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1231
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $262,134.59
          BRIGLIAHUNDLEY PC                                                   Contingent
          1921 GALLOWS ROAD                                                   Unliquidated
          SUITE 750                                                           Disputed
          VIENNA, VA 22182
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9668                         Is the claim subject to offset?    No  Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $25.00
          BRINKMAN ENTERPRISES, INC                                           Contingent
          2118 PAULSON RD                                                     Unliquidated
          HARVARD, IL 60033-9547                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9135
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $316.82
          BRINKS INCORPORATED                                                 Contingent
          7373 SOLUTIONS CENTER                                               Unliquidated
          CHICAGO, IL 60677-7003                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9748
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $40.00
          BROOKLYN SPORTSMANS CLUB                                            Contingent
          204 NOTTINGHAM DRIVE                                                Unliquidated
          BROOKLYN, MI 49230-8919                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9249
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          BRUCE APGAR                                                         Contingent
          321 WILLOW GROVE ROAD                                               Unliquidated
          CARLISLE, PA 17013-8316                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8038
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          BRUCE D ILLUM                                                       Contingent
          3904 W 6000 S                                                       Unliquidated
          ROY, UT 84067-9151                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7559
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          BRUNSWICK COUNTY LAW ENFORCEME                                      Contingent
          PO BOX 35                                                           Unliquidated
          BOLIVIA, NC 28422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0280
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $30.00
          BRYAN LEONARD                                                       Contingent
          1123 TAYLOR RD                                                      Unliquidated
          KIRKVILLE, NY 13082                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9212
                                                                             Is the claim subject to offset?    No  Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,561.60
          BUCK WEAR INC                                                       Contingent
          2900 COWAN AVENUE                                                   Unliquidated
          BALTIMORE, MD 21223                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7864
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $113.00
          BUCKEYE FIREARMS ASSOCIATION                                        Contingent
          495 E MOUND ST STE 200                                              Unliquidated
          COLUMBUS, OH 43215-5596                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8964
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $237.00
          BUDSGUNSHOP.COM LLC                                                 Contingent
          1105 INDUSTRY RD                                                    Unliquidated
          LEXINGTON, KY 40505                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1215
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $20.00
          BUFFALO CREEK GUN CLUB                                              Contingent
          PO BOX 867                                                          Unliquidated
          KITTREDGE, CO 80457-0867                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7744
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $500.00
          BURGREEN, CARL TODD                                                 Contingent
          100 WALLS CIRCLE                                                    Unliquidated
          WINCHESTER, VA 22602                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7307
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,800.00
          BURNETT, DAVID                                                      Contingent
          28622 MILTON AVE                                                    Unliquidated
          WARREN, MI 48092                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0845
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $8.00
          BUTLER COUNTY SPORTSMEN RIFLE                                       Contingent
          8871 TIMBERCHASE CT                                                 Unliquidated
          WEST CHESTER, OH 45069-6487                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7297
                                                                             Is the claim subject to offset?    No  Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $400.00
          BYERS, JOSEPH W                                                     Contingent
          20202 MAHOGANY CIRCLE                                               Unliquidated
          HAGERSTOWN, MD 21742                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0109
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $72.00
          CALIB LARUE                                                         Contingent
          2697 CRANBERRY HWY APT 31                                           Unliquidated
          WAREHAM, MA 02571-5016                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9920
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,290.60
          CAMP DAVID INC                                                      Contingent
          7920 FOSTER ST                                                      Unliquidated
          OVERLAND PARK, KS 66204                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0163
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $500.00
          CAMPBELL, DAVID                                                     Contingent
          1313 LANE 13                                                        Unliquidated
          POWELL, WY 82435                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1856
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $78.00
          CANADIAN RIVER ARCHERY AND GUN                                      Contingent
          10001 S STINNETT HWY                                                Unliquidated
          BORGER, TX 79007-7573                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7592
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CANBY SPORTSMANS CLUB INC                                           Contingent
          1267 205TH AVE N                                                    Unliquidated
          CANBY, MN 56220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0109
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $250.00
          CANFIELD AND ASSOCIATES LLC                                         Contingent
          2910 CHARDONNAY CIRCLE                                              Unliquidated
          SHREVEPORT, LA 71106                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2855
                                                                             Is the claim subject to offset?    No  Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $109.06
          CANTWELL-CLEARY                                                     Contingent
          7575 WASHINGTON BLVD                                                Unliquidated
          ELKRIDGE, MD 21075                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0045
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          CARL HOTTEL                                                         Contingent
          875 WILL HOLT RD                                                    Unliquidated
          HAZEL GREEN, AL 35750-7875                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4634
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          CARNEGIE MELLON UNIVERSITY                                          Contingent
          5000 FORBES AVENUE                                                  Unliquidated
          PITTSBURGH, PA 15213                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1302
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $81.00
          CAROL SHAFFER                                                       Contingent
          5498 VALDOSTA HWY                                                   Unliquidated
          BARNEY, GA 31625-4808                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2045
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CAROLINA GUN CLUB                                                   Contingent
          108 DOVETAIL DR                                                     Unliquidated
          MOORESVILLE, NC 28115-5793                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0522
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          CAROLINA SELF PROTECTION                                            Contingent
          126 RYAN LN                                                         Unliquidated
          MOORESVILLE, NC 28115-8586                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7577
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $60.10
          CARRICK, MICHAEL F                                                  Contingent
          8226 ENCHANTED RIDGE CT SE                                          Unliquidated
          TURNER, OR 97392                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3473
                                                                             Is the claim subject to offset?    No  Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $669.91
          CARTER, J WILLIAM                                                   Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       0343                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,003.87
          CARTER, TED W                                                       Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       2140                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15.00
          CASCADE FIELD AND STREAM                                            Contingent
          501 GRANT AVE                                                       Unliquidated
          SO. CLEELUM, WA 98943                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9617
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $18.00
          CASCADE SHOOTING FACILITIES                                         Contingent
          PO BOX 310                                                          Unliquidated
          RAVENSDALE, WA 98051-0310                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5269
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,772.40
          CASH MANUFACTURING CO INC                                           Contingent
          201 S. KLEIN DR                                                     Unliquidated
          PO BOX 130                                                          Disputed
          WAUNAKEE, WI 52597-0130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4899                         Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $59,541.05
          CDW COMPUTER CENTERS INC                                            Contingent
          P O BOX 75723                                                       Unliquidated
          CHICAGO, IL 60675-5723                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3769
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,075.00
          CENTENNIAL PROTECTION GROUP LLC                                     Contingent
          2300 YORK ROAD                                                      Unliquidated
          SUITE 206                                                           Disputed
          TIMONIUM, MD 21093
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8427                         Is the claim subject to offset?    No  Yes




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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $105.00
          CENTRAL FLORIDA RIFLE & PISTOL                                      Contingent
          PO BOX 621985                                                       Unliquidated
          ORLANDO, FL 32862                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5171
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $13,882.33
          CENTRAL NATIONAL GOTTESMAN                                          Contingent
          7230 PRESTON GATEWAY DRIVE                                          Unliquidated
          HANOVER, MD 21076                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9684
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $42.00
          CENTRAL WHIDBEY SPORTSMEN'S AS                                      Contingent
          PO BOX 711                                                          Unliquidated
          COUPEVILLE, WA 98239-0711                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1037
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $11,338.72
          CENTURY LINK #68449622                                              Contingent
          COMMERCIAL SERVICES                                                 Unliquidated
          P O BOX 856023                                                      Disputed
          LOUISVILLE, KY 40285-6023
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2350                         Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CERTIFIED FIREARMS TRAINING LL                                      Contingent
          29303 N 148TH ST                                                    Unliquidated
          SCOTTSDALE, AZ 85262-7801                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0130
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $60.00
          CHAD GOEDEN                                                         Contingent
          2012 CASCADE CREEK RD                                               Unliquidated
          SITKA, AK 99835-9669                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9522
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $425.00
          CHAFFIN,CHRISTIAN DEE                                               Contingent
          PO BOX 511118                                                       Unliquidated
          MELBOURNE BEACH, FL 32951                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5081
                                                                             Is the claim subject to offset?    No  Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $75.00
          CHAMBERSBURG P & R CLUB                                             Contingent
          PO BOX 641                                                          Unliquidated
          CHAMBERSBURG, PA 17201-0641                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0738
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $276.00
          CHARLES BELT                                                        Contingent
          2570 COUNTY ROAD 2050                                               Unliquidated
          HULL, TX 77564-8880                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9126
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15.00
          CHARLES DANE HUGHES                                                 Contingent
          1925 THOMPSON DR                                                    Unliquidated
          CONCORD, NC 28025-8782                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9790
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CHARLES ELROD                                                       Contingent
          65 TURTLE CT                                                        Unliquidated
          YOUNGSVILLE, NC 27596-7192                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4550
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $16.00
          CHARLES NEWBY                                                       Contingent
          2030 CHATHAM RD                                                     Unliquidated
          HALIFAX, VA 24558-2292                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4593
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $152.97
          CHARLES PATTERSON                                                   Contingent
          120 S. STONERIDGE DRIVE                                             Unliquidated
          SYRACUSE, NY 13214                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1287
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $100.00
          CHARLES R. STEWARD                                                  Contingent
          P.O. BOX 301                                                        Unliquidated
          REPUBLIC, WA 99166                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1233
                                                                             Is the claim subject to offset?    No  Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $33.00
          CHARLOTTE RIFLE & PISTOL CLUB                                       Contingent
          12833 E INDEPENDENCE BLVD                                           Unliquidated
          MATTHEWS, NC 28105-4968                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3474
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $149.00
          CHEROKEE GUN CLUB                                                   Contingent
          7335 SAWGRASS DR                                                    Unliquidated
          DAWSONVILLE, GA 30534-4732                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0602
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $49.00
          CHERRY CREEK GUN CLUB                                               Contingent
          1155 S HAVANA ST UNIT 11                                            Unliquidated
          AURORA, CO 80012-4017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2756
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $33.00
          CHIEF OKEMOS SPORTSMANS CLUB I                                      Contingent
          9217 BRIDGE HWY                                                     Unliquidated
          DIMONDALE, MI 48821-9605                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3041
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $8.00
          CHILLICOTHE SPORTSMANS CLUB                                         Contingent
          PO BOX 13                                                           Unliquidated
          CHILLICOTHE, IL 61523-0013                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5991
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          CHINESE-AMERICAN NETWORK OF FI                                      Contingent
          19 SALEM LN                                                         Unliquidated
          EVANSTON, IL 60203-1217                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0883
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          CHOLLA GUN CLUB                                                     Contingent
          PO BOX 312                                                          Unliquidated
          YUMA, AZ 85366-0312                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2625
                                                                             Is the claim subject to offset?    No  Yes




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 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $34.00
          CHRIS LEAVITT                                                       Contingent
          1620 S. 312TH STREET, SUITE B                                       Unliquidated
          FEDERAL WAY, WA 98003                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1234
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15.00
          CHRISTINE TRIVETTE                                                  Contingent
          2804 COUGAR HILL CT                                                 Unliquidated
          CHARLOTTE, NC 28216-5799                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4402
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $2.00
          CHRISTOPHER CHAN                                                    Contingent
          47527 PEMBROKE DRIVE                                                Unliquidated
          CANTON, MI 48188-7234                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9621
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CHRISTOPHER LAKEY                                                   Contingent
          PO BOX 420742                                                       Unliquidated
          KISSIMMEE, FL 34742-0742                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8322
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          CHRISTOPHER S HASTINGS                                              Contingent
          3021 EARLE DR                                                       Unliquidated
          BENTON, AR 72019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4816
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $282.00
          CHULUOTA SPORTSMEN'S CLUB                                           Contingent
          PO BOX 620490                                                       Unliquidated
          OVIEDO, FL 32762-0490                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0932
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $98,619.28
          CIGNA                                                               Contingent
          6701 DEMOCRACY BLVD                                                 Unliquidated
          SUITE 401                                                           Disputed
          BETHESDA, MD 20817
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2231                         Is the claim subject to offset?    No  Yes




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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $547.69
          CINTAS CORPORATION                                                  Contingent
          9022 EUCLID AVE                                                     Unliquidated
          MANASSAS, VA 20110                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4270
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $78.00
          CITIZENS RANGE & RECREATION CL                                      Contingent
          PO BOX 659                                                          Unliquidated
          PRINCETON JUNCT, NJ 08550-0659                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8984
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $917.34
          CITY OF THORNTON                                                    Contingent
          9500 CIVIC CENTER DR                                                Unliquidated
          THORNTON, CO 80229                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5274
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,427.00
          CITY SECURITY CONSULTANTS INC                                       Contingent
          2010 KENDALL ST NE                                                  Unliquidated
          WASHINGTON, DC 20002                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9039
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          CLAPP, WILEY                                                        Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       6026                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $66.00
          CLARENCE JORIF SR                                                   Contingent
          609 S GOLIAD ST UNIT 1502                                           Unliquidated
          ROCKWALL, TX 75087-4051                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0152
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $122.96
          CLARK, RANDALL                                                      Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       3567                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $21.00
          CLIFFORD M WONG                                                     Contingent
          6029 N MITRE AVE                                                    Unliquidated
          FRESNO, CA 93722                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1097
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CLINT HILBERT                                                       Contingent
          431 NEW CASTLE FARM RD                                              Unliquidated
          MEBANE, NC 27302-6340                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0858
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,378.68
          CNC GROUP LLC                                                       Contingent
          2300 NEW YORK ROAD                                                  Unliquidated
          SUITE 206                                                           Disputed
          TIMONIUM, MD 21093
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1273                         Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          COASTAL CAROLINA RIFLE CLUB                                         Contingent
          4080 4TH STREET                                                     Unliquidated
          SURF CITY, NC 28445-8633                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9504
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          COASTAL GEORGIA GUN CLUB                                            Contingent
          PO BOX 365                                                          Unliquidated
          BRUNSWICK, GA 31521-0365                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0931
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $318.00
          COASTLINE LTD                                                       Contingent
          P O BOX 1247                                                        Unliquidated
          ALEXANDRIA, VA 22313                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4142
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $296.25
          COATES LAW FIRM PL                                                  Contingent
          115 EAST PARK AVE                                                   Unliquidated
          UNIT 1                                                              Disputed
          TALLAHASSEE, FL 32301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9918                         Is the claim subject to offset?    No  Yes




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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          COLLEGE OF CHARLESTON                                               Contingent
          66 GEORGE ST                                                        Unliquidated
          CHARLESTON, SC 29424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0844
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $58.00
          COLONIAL RIFLE AND PISTOL CLUB                                      Contingent
          PO BOX 120128                                                       Unliquidated
          STATEN ISLAND, NY 10312-0128                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2668
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $511.00
          COLORADO HANDGUN SAFETY, LLC                                        Contingent
          6115 VADLE LN                                                       Unliquidated
          COLORADO SPRING, CO 80918-1534                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4810
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          COLUMBIA FISH AND GAME ASSOCIA                                      Contingent
          1655 SILVER SPRING RD                                               Unliquidated
          LANDISVILLE, PA 17538-1050                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2996
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          COLUMBUS HILLCREST CORPORATION                                      Contingent
          1356 MINOS MEARES RD                                                Unliquidated
          TABOR CITY, NC 28463                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3322
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $317.30
          COMCAST BUSINESS #8299700070764558                                  Contingent
          PO BOX 70219                                                        Unliquidated
          PHILADELPHIA, PA 19176-0219                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9920
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,012.10
          COMCAST BUSINESS #933669439                                         Contingent
          PO BOX 37601                                                        Unliquidated
          PHILADELPHIA, PA 19101-0601                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2627
                                                                             Is the claim subject to offset?    No  Yes




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 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          COMMONWEALTH FIREARMS AND TRAI                                      Contingent
          311 BUSHEE RD                                                       Unliquidated
          SWANSEA, MA 02777-4205                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9054
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $250.00
          COMMONWEALTH OF PENNSYLVANIA                                        Contingent
          BUREAU OF CHARITABLE ORGANIZTN                                      Unliquidated
          207 NORTH OFFICE BUILDING                                           Disputed
          HARRISBURG, PA 17120
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0107                         Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,375.00
          COMMUNICATION GRAPHICS INC                                          Contingent
          1765 NORTH JUNIPER                                                  Unliquidated
          BROKEN ARROW, OK 74012                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1251
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $509,746.09
          COMMUNICATIONS CORP OF AMERICA                                      Contingent
          13129 AIRPARK DRIVE, SUITE 120                                      Unliquidated
          ELKWOOD, VA 22718                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4805
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          COMPTON COMBAT ARMS LLC                                             Contingent
          926 GIRARD DR                                                       Unliquidated
          ORLANDO, FL 32824                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0606
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CONDITION YELLOW ACADEMY INC                                        Contingent
          601 W CAMPUS DR STE C1                                              Unliquidated
          ARLINGTON HEIGHTS, IL 60004-7802                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0545
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $391.00
          CONTEMPORARY SERVICES CORP                                          Contingent
          1501 REEDSDALE ST., STE 200                                         Unliquidated
          PITTSBURGH, PA 15233                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6184
                                                                             Is the claim subject to offset?    No  Yes




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 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          COOK BOTTOM HUNTING CLUB                                            Contingent
          107 JONES CUTOFF                                                    Unliquidated
          ROBELINE, LA 71469                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9375
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $60.00
          COOPERS HILL SHOOTING CLUB                                          Contingent
          1542 E NEWPORT RD                                                   Unliquidated
          LITITZ, PA 17543-9195                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5308
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $526.50
          COPILEVITZ, LAM & RANEY                                             Contingent
          310 W 20TH ST                                                       Unliquidated
          SUITE 300                                                           Disputed
          KANSAS CITY, MO 64108
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9330                         Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $30.00
          COPLELAND BELMONT                                                   Contingent
          205 SWIFT BLVD.                                                     Unliquidated
          RICHLAND, WA 99352                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1223
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,136.50
          CORONADO LEATHER CO., INC.                                          Contingent
          1961 MAIN ST.                                                       Unliquidated
          SAN DIEGO, CA 92113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2358
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,306.08
          CORR CRONIN MICHELSON
          BAUMGARDNER &                                                       Contingent
          10001 FOURTH AVENUE                                                 Unliquidated
          SUITE 3900                                                          Disputed
          SEATTLE, WA 98154
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0270                         Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $42.00
          CORY A SMITH                                                        Contingent
          215 5TH ST                                                          Unliquidated
          CHENEY, WA 99004-1523                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9805
                                                                             Is the claim subject to offset?    No  Yes




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 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $11,186.48
          COSTELLO, VALENTINE, GENTRY                                         Contingent
          51 PUTNEY ROAD                                                      Unliquidated
          BATTLEBORO, VT 05301                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0273
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          COUNCIL BLUFFS RIFLE & PISTOL                                       Contingent
          260 ZENITH DR                                                       Unliquidated
          COUNCIL BLUFFS, IA 51503-0284                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6989
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          COWBOY FAST DRAW ASSOCIATION                                        Contingent
          PO BOX 21                                                           Unliquidated
          IDAHO CITY, ID 83631-0021                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3081
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $400.00
          COZORT, JIM                                                         Contingent
          PO BOX 344                                                          Unliquidated
          OCEANA, WV 24870                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0377
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $30.00
          CRAIG INGRAHAM                                                      Contingent
          1207 ASOTIN CREEK ROAD                                              Unliquidated
          ASOTIN, WA 99402                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1236
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,055.00
          CRAIG, KEVIN L                                                      Contingent
          9520 S 175TH CIR                                                    Unliquidated
          OMAHA, NE 68136                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1282
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          CREIGHTON, KEVIN JOHN                                               Contingent
          1312 E CASSIA LANE                                                  Unliquidated
          GILBERT, AZ 85298                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9783
                                                                             Is the claim subject to offset?    No  Yes




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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $7.95
          CRYSTELLE CROCKER                                                   Contingent
          1N 111 MISSION COURT                                                Unliquidated
          WINFIELD, IL 60190                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1286
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $166.00
          CUMBERLAND BEAGLE CLUB                                              Contingent
          16 SUN VALLEY DR                                                    Unliquidated
          CUMBERLAND, RI 02864                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9184
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $24.00
          CUMBERLAND RIFLEMEN                                                 Contingent
          4030 E MAIN ST                                                      Unliquidated
          MILLVILLE, NJ 08332                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3293
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $151.15
          CURRENT, GARY                                                       Contingent
          14402 CARTELA DR                                                    Unliquidated
          LA MIRADA, CA 90638-4151                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9138
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $12.00
          CURTIS N CROFT                                                      Contingent
          14680 US HIGHWAY 129                                                Unliquidated
          LIVE OAK, FL 32060-6757                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4581
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $33,201.68
          CYBERSOURCE CORPORATION                                             Contingent
          FILE 74009                                                          Unliquidated
          P O BOX 60000                                                       Disputed
          SAN FRANCISCO, CA 94160
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2915                         Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $6.00
          CYNTHIA FINCH                                                       Contingent
          PO BOX 51047                                                        Unliquidated
          BILLINGS, MT 59105-1047                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5473
                                                                             Is the claim subject to offset?    No  Yes




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 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $249.00
          D & L SHOOTING SUPPLIES INC.                                        Contingent
          3314 W SHORE RD                                                     Unliquidated
          WARWICK, RI 02886-7560                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0682
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,892.00
          D J NIERNAN INC                                                     Contingent
          12908 CHESWOOD LN.                                                  Unliquidated
          BOWIE, MD 20715                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0705
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $240.00
          DALE RZUCIDIO                                                       Contingent
          5301 HAUSERMAN ROAD                                                 Unliquidated
          PARMA, OH 44130                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0948
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          DAMASO TORRES                                                       Contingent
          9624 BRAUN RUN                                                      Unliquidated
          SAN ANTONIO, TX 78254-7475                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2637
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          DANIEL BOONE CONSERVATION LGE.                                      Contingent
          4694 STATE ROAD 167                                                 Unliquidated
          HUBERTUS, WI 53033-9782                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1265
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          DANIEL CRAIG LANOTTE                                                Contingent
          7880 CURTIS ROAD                                                    Unliquidated
          FALCON, CO 80831-7921                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9715
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          DANIEL DRYE                                                         Contingent
          1425 BAHAMA RD                                                      Unliquidated
          BAHAMA, NC 27503-9021                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4199
                                                                             Is the claim subject to offset?    No  Yes




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 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $200.00
          DANIEL S. WARD                                                      Contingent
          715 BALING WIRE WAY                                                 Unliquidated
          FOUNTAIN, CO 80817                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1357
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DARRIN VERHOFF                                                      Contingent
          13101 STATE ROUTE 15                                                Unliquidated
          OTTAWA, OH 45875-9687                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6087
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $125.00
          DARYL WOODS                                                         Contingent
          1113 N. DAVID ROAD                                                  Unliquidated
          INDEPENDENCE, MO 64056                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0915
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DASHIKA HILL                                                        Contingent
          19393 MARX ST                                                       Unliquidated
          DETROIT, MI 48203-1337                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9575
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $174.53
          DAVID A. HALBROOK                                                   Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5006
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          DAVID BENNETT                                                       Contingent
          11745 SHANNON DR                                                    Unliquidated
          MARILLA, NY 14102-9722                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8235
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $22.00
          DAVID CASTLE                                                        Contingent
          145 POST OAK LN                                                     Unliquidated
          SANFORD, NC 27330-9600                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9001
                                                                             Is the claim subject to offset?    No  Yes




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 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          DAVID GALLETTI                                                      Contingent
          117 HAINES MILL RD                                                  Unliquidated
          DELRAN, NJ 08075                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1119
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $29.00
          DAVID M GROCE JR                                                    Contingent
          32290 SASSER LN                                                     Unliquidated
          WALKER, LA 70785-4530                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7259
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          DAVID MADDOX                                                        Contingent
          9270 N MCKINLEY RD                                                  Unliquidated
          MONTROSE, MI 48457-9185                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9441
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,390.00
          DAVIDSON'S INC.                                                     Contingent
          7609 BUSINESS PARK DRIVE                                            Unliquidated
          GREENSBORO, NC 27409                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1706
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,564.02
          DAVIS, WILLIAM W                                                    Contingent
          5311 HERON TRAIL                                                    Unliquidated
          MIDDLETON, WI 53562                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9618
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          DEADEYE DAMES                                                       Contingent
          12801 FAIR OAKS BLVD #133                                           Unliquidated
          CITRUS HEIGHTS, CA 95610-5136                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8770
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          DEADLY PASSION PRODUCTIONS                                          Contingent
          957 W 11TH ST                                                       Unliquidated
          GREGORY, SD 57533                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0597
                                                                             Is the claim subject to offset?    No  Yes




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 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          DECATUR GUN CLUB INC.                                               Contingent
          PO BOX 3062                                                         Unliquidated
          DECATUR, IL 62524-3062                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4953
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $39.00
          DEFENSE TRAINING SOLUTIONS, LL                                      Contingent
          PO BOX 21415                                                        Unliquidated
          LEHIGH VALLEY, PA 18002-1415                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7561
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $106.00
          DELAWARE RIFLE & PISTOL CLUB,                                       Contingent
          PO BOX 6107                                                         Unliquidated
          WILMINGTON, DE 19804-0707                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5125
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          DELAWARE STATE SPORTMENS ASSOC                                      Contingent
          1205 KING ST                                                        Unliquidated
          WILMINGTON, DE 19801-3217                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2979
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DELIVERANCE DEFENSE LLC                                             Contingent
          542 MAIN ST STE 101                                                 Unliquidated
          NEW ROCHELLE, NY 10801                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1602
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          DELLA MEDIA LTD                                                     Contingent
          15562 NORTH ROYAL DOULTON                                           Unliquidated
          CLINTON TOWNSHIP, MI 48038                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0901
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          DELOITTE & TOUCHE LLP                                               Contingent
          1750 TYSONS BLVD. #800                                              Unliquidated
          MCLEAN, VA 22102-4219                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6334
                                                                             Is the claim subject to offset?    No  Yes




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 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $497.00
          DEM360 LLC                                                          Contingent
          22 N MULBERRY ST                                                    Unliquidated
          STE 102                                                             Disputed
          HAGERSTOWN, MD 21740
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8829                         Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DENIS KATELL                                                        Contingent
          403 HICKORY LN                                                      Unliquidated
          WATERVILLE, OH 43566-1116                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0256
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DENISE ARCIERI                                                      Contingent
          26 LONSDALE ST                                                      Unliquidated
          SOMERSET, MA 02726-2428                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0142
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          DENNIS M. ROBARE                                                    Contingent
          62 SEARLE RD                                                        Unliquidated
          HUNTINGTON, MA 01050-9768                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8211
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $20.00
          DESERT MARKSMEN                                                     Contingent
          PO BOX 1124                                                         Unliquidated
          LANCASTER, CA 93584-1124                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9781
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $142.00
          DESERT SPORTSMANS RIFLE AND PI                                      Contingent
          11700 W CHARLESTON BLVD                                             Unliquidated
          170-223                                                             Disputed
          LAS VEGAS, NV 89135-1573
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9250                         Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          DESERTFALLOUT FIREARMS LLC                                          Contingent
          6331 PINION JAY ST                                                  Unliquidated
          LAS VEGAS, NV 89148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1093
                                                                             Is the claim subject to offset?    No  Yes




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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,350.00
          DETTY, MICHAEL K                                                    Contingent
          11660 E PLACITA DEL RINCON                                          Unliquidated
          TUCSON, AZ 85749                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1822
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          DGW HOLDINGS LLC                                                    Contingent
          2665 EVALON ST                                                      Unliquidated
          BEAUMONT, TX 77702                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1020
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          DICKENSON WRIGHT PLC                                                Contingent
          2600 W. BIG BEAVER                                                  Unliquidated
          Suite 300                                                           Disputed
          TROY, MI 33609
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0175                         Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          DILLY, DREW                                                         Contingent
          2672 CHEVY RD                                                       Unliquidated
          CHEYENNE, WY 82009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1279
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $69,529.05
          DIRECT MAIL SOLUTIONS                                               Contingent
          4500 SARELLEN ROAD                                                  Unliquidated
          RICHMOND, VA 23231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0105
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $33.00
          DISCOUNT ENTERPRISES, LLC                                           Contingent
          4520 W HUNTINGTON AVE                                               Unliquidated
          LINCOLN, NE 68524-6007                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5944
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DN DISTRIBUTION LLC                                                 Contingent
          4855 CATALINA DR                                                    Unliquidated
          NAPLES, FL 34112-6932                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4242
                                                                             Is the claim subject to offset?    No  Yes




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 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          DONALD E PORTER JR.                                                 Contingent
          235 TROTTER DR                                                      Unliquidated
          PIEDMONT, SC 29673-7754                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2867
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $108.00
          DONALD L BOWMAN                                                     Contingent
          627 OLD MOUNT GRETNA RD                                             Unliquidated
          LEBANON, PA 17042-4856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0828
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DONALD PERRY                                                        Contingent
          192 WELLINGTON RD                                                   Unliquidated
          BUFFALO, NY 14216-2418                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5002
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $40.00
          DONALD R. PERSSON                                                   Contingent
          65 CRESTFIELD CRES.                                                 Unliquidated
          BROCKTON, MA 02302-3442                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1130
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.69
          DONALD SNYDER                                                       Contingent
          526 6TH STREET                                                      Unliquidated
          WEATHERLY, PA 18255-1518                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1270
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          DONALD WALKER                                                       Contingent
          13303 ASHLAWN DR                                                    Unliquidated
          LOUISVILLE, KY 40272-1709                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8585
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          DOUGLAS A DAVIS                                                     Contingent
          1600 S CORONA AVE                                                   Unliquidated
          COLORADO SPRING, CO 80905                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1079
                                                                             Is the claim subject to offset?    No  Yes




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 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $90.00
          DOUGLAS C WILLIAMS                                                  Contingent
          1835 S CREST DRIVE                                                  Unliquidated
          PEORIA, IL 61605-1114                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9330
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $179.00
          DOUGLAS RIDGE RIFLE CLUB                                            Contingent
          PO BOX 307                                                          Unliquidated
          BORING, OR 97009-0307                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5460
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.00
          DOUGLAS STORIE                                                      Contingent
          625 DECATUR STREET                                                  Unliquidated
          SAINT CHARLES, MO 63301                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6879
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DOUGLAS TALBOT                                                      Contingent
          8194 WOODLAND DR                                                    Unliquidated
          MYRTLE BEACH, SC 29588                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1973
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $98.00
          DOWNERS GROVE SPORTSMAN'S CLUB                                      Contingent
          4244 HARVEY AVE                                                     Unliquidated
          WESTERN SPRINGS, IL 60558-1246                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0045
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          DOWNTOWN TACTICAL LLC                                               Contingent
          610 E BATTLEFIELD ST STE C                                          Unliquidated
          SPRINGFIELD, MO 65807                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1212
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DUNCAN ROYAL ENTERPRISES CORP                                       Contingent
          2 CALDWELL DR                                                       Unliquidated
          BELMONT, NC 28012-2749                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0863
                                                                             Is the claim subject to offset?    No  Yes




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 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $261.00
          DUNCAN'S RAINBOW RANGE                                              Contingent
          1360 TOWER DRIVE                                                    Unliquidated
          VISTA, CA 92083-7131                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0395
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $32.00
          DURHAM PISTOL & RIFLE CLUB                                          Contingent
          6536 WILDFLOWER LN                                                  Unliquidated
          EFLAND, NC 27243-9781                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5318
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          DUSTIN C DARE                                                       Contingent
          8184 PEAKWOOD CT APT 6                                              Unliquidated
          MANASSAS, VA 20111-2155                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5805
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $23.00
          DUSTIN WINEGAR                                                      Contingent
          8548 CORK OAK DR                                                    Unliquidated
          WEST JORDAN, UT 84081-1849                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4494
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $927.56
          DVM INSURANCE AGENCY                                                Contingent
          PO BOX 2344                                                         Unliquidated
          BREA, CA 92822-2344                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8256
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          DYAL, JUSTIN                                                        Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       5016                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          DYER, HILARY JO WEAVER                                              Contingent
          2031 ARROWHEAD DRIVE                                                Unliquidated
          SYLACAUGA, AL 35150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1096
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,960.00
          DYNA TECHNOLOGY INTEGRATORS LLC                                     Contingent
          6500 ARLINGTON BLVD                                                 Unliquidated
          SUITE 206                                                           Disputed
          FALLS CHURCH, VA 22042
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0356                         Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $427.56
          E & E EXHIBITS INC                                                  Contingent
          1365 W AUTO DRIVE                                                   Unliquidated
          TEMPE, AZ 85284                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9960
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $490.70
          E GROUP INC - NON-FULFILLMENT                                       Contingent
          11790 SUNRISE VALLEY DRV                                            Unliquidated
          SUITE T-100                                                         Disputed
          RESTON, VA 20191
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4205                         Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          EARCHPHOTO                                                          Contingent
          822 DEVONPORT LN                                                    Unliquidated
          SEABROOK, TX 77586-4203                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1495
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          EAST BATH ROD AND GUN CLUB                                          Contingent
          7905 TOWNSHIP LINE ROAD                                             Unliquidated
          PO BOX 92                                                           Disputed
          CHAPMANS, PA 18014-0092
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7552                         Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $29.00
          EAST END ROD & GUN CLUB                                             Contingent
          PO BOX 388                                                          Unliquidated
          MILTON FREEWATE, OR 97862-0388                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0962
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          EAST MONONGAHELA SPORTSMEN'S                                        Contingent
          CLUB                                                                Unliquidated
          5717 ELLA HOLLOW RD                                                 Disputed
          ELIZABETH, PA 15037
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1274                         Is the claim subject to offset?    No  Yes




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 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          EAST TEXAS RIFLE AND PISTOL CL                                      Contingent
          PO BOX 2664                                                         Unliquidated
          LONGVIEW, TX 75606-2664                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3098
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          EASTERN HILLS ROD & GUN CLUB                                        Contingent
          5594 ANSTEATT RD                                                    Unliquidated
          BATAVIA, OH 45103-9602                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5529
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          EASTERN NEBRASKA GUN CLUB                                           Contingent
          PO BOX 241612                                                       Unliquidated
          OMAHA, NE 68124-5612                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3656
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $35.00
          ED SHUMATE                                                          Contingent
          6919 SW 22ND CT.                                                    Unliquidated
          HOLLYWOOD, FL 33023                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1129
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $87.00
          EDMUND TAN                                                          Contingent
          2017 LOMITA BLVD # 2090                                             Unliquidated
          LOMITA, CA 90717-1701                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3145
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          EDWARD A BOHON                                                      Contingent
          626 CHURCH ST                                                       Unliquidated
          BOONTON, NJ 07005-1606                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4240
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $22.00
          EDWARD WILSON                                                       Contingent
          605O SYCAMORE LANE NE                                               Unliquidated
          BREMERTON, WA 98311                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1224
                                                                             Is the claim subject to offset?    No  Yes




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 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          ELAINE HENDERSON                                                    Contingent
          221 RAMA LN                                                         Unliquidated
          LEXINGTON, SC 29072-2014                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6645
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          ELEMENT 27 INC                                                      Contingent
          5583 ROSSEVELT ST                                                   Unliquidated
          WHITEHALL, PA 18052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9653
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $17.00
          ELIZABETH TOWNSHIP SPORTSMEN'S                                      Contingent
          40 COLONY SQ APT F                                                  Unliquidated
          PITTSBURGH, PA 15239-2759                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2318
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $22.00
          ELIZABETH WALL                                                      Contingent
          87 SULLIVAN PLACE                                                   Unliquidated
          WALLA WALLA, WA 99362                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1260
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $73.00
          ELLWOOD WAMPUM ROD AND GUN CLU                                      Contingent
          322 MARTIN AVE                                                      Unliquidated
          ELLWOOD CITY, PA 16117-2554                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1854
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          EMBRY-RIDDLE AERONAUTICAL                                           Contingent
          UNIVERISTY INC                                                      Unliquidated
          600 S CLYDE MORRIS BLVD                                             Disputed
          DAYTONA BEACH, FL 32114-3166
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8239                         Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          EMERALD EMPIRE GUN CLUB                                             Contingent
          PO BOX 1225                                                         Unliquidated
          SPRINGFIELD, OR 97477-0149                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5973
                                                                             Is the claim subject to offset?    No  Yes




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 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $135,758.03
          ePLUS TECHNOLOGY, INC.                                              Contingent
          13595 DULLES TECHNOLOGY DR                                          Unliquidated
          HERNDON, VA                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0475
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          ERIC GOODKOWSKY                                                     Contingent
          7442 WOODMONT RD                                                    Unliquidated
          NAVARRE, FL 32566-7825                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0350
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $102.00
          ERIK HECK                                                           Contingent
          PO BOX 777                                                          Unliquidated
          NEWPORT, NC 28570-0777                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6774
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $144.00
          ERP INC                                                             Contingent
          14310 S INDIANA AVE                                                 Unliquidated
          RIVERDALE, IL 60827-2823                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9215
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          EUSTIS GUN CLUB, INC                                                Contingent
          PO BOX 1284                                                         Unliquidated
          EUSTIS, FL 32727-1284                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6828
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          EVERYTHING GUN LLC                                                  Contingent
          10601 GRANT RD STE 222                                              Unliquidated
          HOUSTON, TX 77070-4476                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5983
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,300.00
          FACTIVA                                                             Contingent
          DOW JONES & CO                                                      Unliquidated
          PO BOX 30994                                                        Disputed
          NEW YORK, NY 10087
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0120                         Is the claim subject to offset?    No  Yes




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 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          FACTORYVILLE SPORTSMEN CLUB                                         Contingent
          139 CAREY HILL RD                                                   Unliquidated
          TUNKHANNOCK, PA 18657-5639                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6254
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,885.10
          FAIRFAX WATER                                                       Contingent
          PO BOX 71076                                                        Unliquidated
          CHARLOTTE, NC 28272-1076                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5809
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          FAIRFIELD SPORTSMEN'S ASSOC.                                        Contingent
          9292 CINCINNATI COLUMBUS RD                                         Unliquidated
          CINCINNATI, OH 45241-5121                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3014
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          FALLING SKIES CORP                                                  Contingent
          8708 S CONGRESS AVE STE B250                                        Unliquidated
          AUSTIN, TX 78745-7323                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8850
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          FALLS TWP. RIFLE & PISTOL ASSN                                      Contingent
          PO BOX 11                                                           Unliquidated
          FAIRLESS HILLS, PA 19030-0011                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3074
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $124.15
          FAMILY SUPPORT REGISTRY                                             Contingent
          PO BOX 2171                                                         Unliquidated
          DENVER, CO 80201-2171                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9388
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $174.00
          FARIBAULT RIFLE & PISTOL CLUB                                       Contingent
          22447 FAIRBANKS AVE                                                 Unliquidated
          FARIBAULT, MN 55021-8381                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5867
                                                                             Is the claim subject to offset?    No  Yes




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 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          FARRELL, DANA P                                                     Contingent
          1200 HARBROOKE AVE                                                  Unliquidated
          ANN ARBOR, MI 48103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1198
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,040.17
          FEDERAL EXPRESS CORPORATION                                         Contingent
          P.O. BOX 371461                                                     Unliquidated
          PITTSBURGH, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0021
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $337.50
          FEDRIGO, PATRICIA M.                                                Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       3837                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,547.00
          FENSON, BRADLEY                                                     Contingent
          1716 55 ST NW                                                       Unliquidated
          EDMONTON ALBERTA T6L2C3                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5835
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          FICHTNER, JOHN R                                                    Contingent
          615 E 110 N                                                         Unliquidated
          LAGRANGE, IN 46761                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1283
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $123,664.19
          FIDELITY INVESTMENTS                                                Contingent
          INSTITUTIONAL OPERATIONS CO                                         Unliquidated
          PO BOX 73307                                                        Disputed
          CHICAGO, IL 60673-7307
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2080                         Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $252.00
          FIGUEROA, RICK                                                      Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1331                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $400.00
          FIKE, MARK                                                          Contingent
          8192 DAKOTA DR                                                      Unliquidated
          KING GEORGE, VA 22485                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1080
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          FIN & FEATHER CLUB OF MASON CO                                      Contingent
          6977 WEST PARTRIDGE CIR                                             Unliquidated
          LUDINGTON, MI 49431-9675                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1125
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.00
          FIREARMS UNLIMITED, LLC                                             Contingent
          560 S COUNTY TRL                                                    Unliquidated
          EXETER, RI 02822-3401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4822
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          FIRST DEFENSE FIREARMS INC                                          Contingent
          6 N MAIN ST STE 202B                                                Unliquidated
          UXBRIDGE, MA 01569-1871                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3706
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          FIRST TIME FIREARMS LLC                                             Contingent
          2 OAKDALE PL                                                        Unliquidated
          BRANFORD, CT 06405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1019
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $196.65
          FISCHER, ANDRA V                                                    Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1261                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          FITZPATRICK, BRADLEY JAMES                                          Contingent
          345 WOOD ST                                                         Unliquidated
          BATAVIA, OH 45103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9789
                                                                             Is the claim subject to offset?    No  Yes




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 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          FLAGLER SPORTS & CONSERVATION                                       Contingent
          PO BOX 351221                                                       Unliquidated
          PALM COAST, FL 32135-1221                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5165
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $124.41
          FLEEMAN, EDIE P                                                     Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1672                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $900.00
          FLYING LEAP FILMS INC                                               Contingent
          1379 NORTH BROOKHURST CIRCLE                                        Unliquidated
          CENTERVILLE, UT 84014                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0204
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $346.50
          FLYNN ENTERPRISES INC                                               Contingent
          45668 TERMINAL DR                                                   Unliquidated
          DULLES, VA 20166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8142
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $910.49
          FORD CREDIT #55888993                                               Contingent
          PO BOX 790072                                                       Unliquidated
          ST LOUIS, MO 63179-0072                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7765
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $595.07
          FORD MOTOR CREDIT                                                   Contingent
          BOX 220564                                                          Unliquidated
          PITTSBURGH, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0101
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          FOREMOST DEFENSIVE SOLUTIONS L                                      Contingent
          962 S 1630 W                                                        Unliquidated
          LEHI, UT 84043-4819                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9656
                                                                             Is the claim subject to offset?    No  Yes




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 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          FORSTER, RICHARD M                                                  Contingent
          5 NORTH WHITE TOP RD                                                Unliquidated
          PO BOX 104                                                          Disputed
          FREEBURG, PA 17827
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1280                         Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $220.00
          FORT HILL RIFLE & PISTOL CLUB                                       Contingent
          12920 GRAMLICH RD SW                                                Unliquidated
          LAVALE, MD 21502-6114                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9674
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,149.30
          FOUR STAR PRINTING                                                  Contingent
          43671 TRADE CENTER PL.,STE 154                                      Unliquidated
          DULLES, VA 20166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5101
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,462.50
          FRANK BOSTON III                                                    Contingent
          2202 CLIPPER PARK ROAD STE 108                                      Unliquidated
          BALTIMORE, MD 21211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0137
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,766.00
          FRANK MELLONI                                                       Contingent
          52 BAILEY CT                                                        Unliquidated
          MIDDLE ISLAND, NY 11953-1301                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7187
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $20.00
          FRANK MIGNEAULT                                                     Contingent
          19 PERRY ST                                                         Unliquidated
          NEWNAN, GA 30263-1918                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2036
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $61.00
          FRANKLIN REVOLVER & RIFLE ASSO                                      Contingent
          PO BOX 42                                                           Unliquidated
          FRANKLIN, NJ 07416-0042                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6377
                                                                             Is the claim subject to offset?    No  Yes




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 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.00
          FRED ALLEN                                                          Contingent
          112 BEDFORD COURT                                                   Unliquidated
          MURFREESBORO, TN 37129                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1141
                                                                             Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          FREEPORT NY RIFLE & REVOLVER "                                      Contingent
          121 CONNECTICUT AVE                                                 Unliquidated
          FREEPORT, NY 11520-1529                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7914
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $268.96
          FRIEDMAN, JOEL                                                      Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       4967                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          FRONTIERS TACTICAL TRAINING LL                                      Contingent
          1817 MCGOUGAN RD                                                    Unliquidated
          FAYETTEVILLE, NC 28303-4178                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4880
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          FULP, ALLISON A                                                     Contingent
          3021 MOORE RD                                                       Unliquidated
          ANDERSON, IN 46011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0889
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          GARY BENEFIELD                                                      Contingent
          5427 JOHNSON DR # 176                                               Unliquidated
          MISSION, KS 66205-2912                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5166
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          GARY CROCKETT                                                       Contingent
          1022 LAKEVIEW DR                                                    Unliquidated
          BOUNTIFUL, UT 84010-1507                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7658
                                                                             Is the claim subject to offset?    No  Yes




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 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          GATEHOUSE CANDLES LLC                                               Contingent
          69 W MAIN ST                                                        Unliquidated
          WAYNESBORO, PA 17268-1555                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9842
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $186.00
          GATEWAY CIVIL LIBERTIES ALLIAN                                      Contingent
          5133 CROSSWOOD DR                                                   Unliquidated
          SAINT LOUIS, MO 63129-2408                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2526
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          GENE GULSETH                                                        Contingent
          28529 APPLEWOOD LN                                                  Unliquidated
          SANTA CLARITA, CA 91384-4339                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3325
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          GENERAL ARMY SURPLUS                                                Contingent
          1256 HALLS CHAPEL RD                                                Unliquidated
          BOWLING GREEN, KY 42101                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1044
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.90
          GEORGE R. WILSON                                                    Contingent
          8563 DIAGONAL 1540 ROAD                                             Unliquidated
          STUART, OK 74570                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1297
                                                                             Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          GEORGE ROGERO                                                       Contingent
          1 INNSBRUCK RD                                                      Unliquidated
          WASHINGTONVILLE, NY 10992-1071                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1814
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          GEORGE SLATES                                                       Contingent
          127 EVA ST                                                          Unliquidated
          WEIRTON, WV 26062-2511                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2921
                                                                             Is the claim subject to offset?    No  Yes




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 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $34.00
          GERALD BARNES                                                       Contingent
          62 DESOLATION ROAD                                                  Unliquidated
          STEVENSON, WA 98648                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1241
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          GERALD KRYCESKI                                                     Contingent
          2662 SE GOWIN DR                                                    Unliquidated
          PORT ST LUCIE, FL 34952-5576                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0002
                                                                             Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          GERARD BILQUIN                                                      Contingent
          1469 SE TIDEWATER PL                                                Unliquidated
          STUART, FL 34997-5597                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8199
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $189.43
          GETREU, NANCY                                                       Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       4838                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $660.00
          GETTY IMAGES (US) INC.                                              Contingent
          P.O. BOX 953604                                                     Unliquidated
          SAINT LOUIS, MO 63195-3604                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4077
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $300.00
          GIDDINGS, CALEB N                                                   Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       6282                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $39.00
          GILBERT KEATHLEY                                                    Contingent
          3309 CALAIS CIRCLE                                                  Unliquidated
          MCKINNEY, TX 75070-4742                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9583
                                                                             Is the claim subject to offset?    No  Yes




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 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          GLENN HERMAN                                                        Contingent
          243 W END AVE APT 1208                                              Unliquidated
          NEW YORK, NY 10023-3671                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6246
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          GLOBAL BBI LLC                                                      Contingent
          1940 N TUSTIN ST STE 102                                            Unliquidated
          ORANGE, CA 92865-4642                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0083
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,121.78
          GLOBAL EXPERIENCE SPECIALISTS INC                                   Contingent
          7050 LINDEL RD                                                      Unliquidated
          LAS VEGAS, NV 89118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1483
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $520,850.20
          GLOBAL NEW BEGININGS INC.                                           Contingent
          4042 W. 82ND COURT                                                  Unliquidated
          MERRILLVILLE, IN 46410                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0656
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          GLOBAL PHOTOLOGISTS LTD                                             Contingent
          7248 15H CT NE                                                      Unliquidated
          SAINT PETERSBURG, FL 33702-4604                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4060
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          GLOBE-MIAMI GUN CLUB                                                Contingent
          PO BOX 336                                                          Unliquidated
          GLOBE, AZ 85502-0336                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3657
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,282.18
          GOETZ PRINTING COMPANY, THE                                         Contingent
          7939 ANGUS COURT                                                    Unliquidated
          SPRINGFIELD, VA 22153                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7009
                                                                             Is the claim subject to offset?    No  Yes




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 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $613.00
          GOLDEN GUN CLUB                                                     Contingent
          6097 DUNRAVEN ST                                                    Unliquidated
          GOLDEN, CO 80403-1005                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8944
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $138.00
          GOLDEN TRIANGLE GUN CLUB                                            Contingent
          PO BOX 696                                                          Unliquidated
          PORT NECHES, TX 77651-0696                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5739
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,700.00
          GOLF PRESS ASSOCIATION                                              Contingent
          5241 TURNING BRANCH WAY                                             Unliquidated
          GLEN ALLEN, VA 23059                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2829
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,671.00
          GOOD PRINTERS INC                                                   Contingent
          213 DRY RIVER ROAD                                                  Unliquidated
          BRIDGEWATER, VA 22812                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3389
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,067.81
          GOOD SPORTSMAN MARKETING, LLC                                       Contingent
          3385 ROY ORR BLVD                                                   Unliquidated
          GRAND PRAIRIE, TX 75050                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1977
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $132,016.49
          GOOGLE                                                              Contingent
          1600 AMPHITHEATRE PARKWAY                                           Unliquidated
          MOUNTAIN VIEW, CA 94043-1351                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4199
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $85.00
          GOPHER RIFLE AND REVOLVER CLUB                                      Contingent
          PO BOX 18023                                                        Unliquidated
          MINNEAPOLIS, MN 55418-0023                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0518
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          GOSCHINSKI FIN FEATHER FUR OUT                                      Contingent
          606 US HIGHWAY 250 E                                                Unliquidated
          ASHLAND, OH 44805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0432
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $855,746.40
          GOULD PAPER CORPORATION                                             Contingent
          99 PARK AVENUE                                                      Unliquidated
          10TH FLOOR                                                          Disputed
          NEW YORK, NY 10016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0394                         Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $122.35
          GRAHAM WOOD                                                         Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3695
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $254.95
          GRANITE TELECOMMUNICATIONS LLC                                      Contingent
          100 NEWPORT AVENUE EXTENSION                                        Unliquidated
          QUINCY, MA 02171                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2391
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,600.00
          GREEN HILLS MEDIA & COMMUNICATN                                     Contingent
          35 E HORIZON RIDGE                                                  Unliquidated
          SUITE 110-199                                                       Disputed
          HENDERSON, NV 89002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2422                         Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $262.00
          GREEN TOP SPORTING GOODS                                            Contingent
          10193 WASHINGTON HWY                                                Unliquidated
          GLEN ALLEN, VA 23059-1959                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5956
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          GREENE COUNTY FISH & GAME ASSO                                      Contingent
          PO BOX 64                                                           Unliquidated
          XENIA, OH 45385-0064                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4256
                                                                             Is the claim subject to offset?    No  Yes




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 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          GREG POOLE                                                          Contingent
          1603 WATERWOOD DR                                                   Unliquidated
          LUTZ, FL 33559-6966                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0322
                                                                             Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $38.00
          GREG SONNENBURG                                                     Contingent
          302 E CARLISLE RD                                                   Unliquidated
          THOUSAND OAKS, CA 91361-5303                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0629
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $300.00
          GREG STUBE LLC                                                      Contingent
          11735 E WRIGHT RD                                                   Unliquidated
          SPRINGVILLE, IN 47462                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1333
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $199.00
          GREG SUMMERS                                                        Contingent
          PO BOX 334                                                          Unliquidated
          ADAIRSVILLE, GA 30103-0334                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4658
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $163.77
          GREGORY F. POND                                                     Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4005
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $7.29
          GREGORY GANNON                                                      Contingent
          7425 NEW CARLISLE PK                                                Unliquidated
          NEW CARLISLE, OH 45344                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1301
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          GREGORY RUPP                                                        Contingent
          10709 SW TAWAKONI RD                                                Unliquidated
          AUGUSTA, KS 67010-8648                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7628
                                                                             Is the claim subject to offset?    No  Yes




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 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $29.00
          GREGORY SULLIVAN                                                    Contingent
          9470 S BULLINGTON RD                                                Unliquidated
          FREDERICKSBURG, IN 47120-8724                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9562
                                                                             Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          GROSS SECURITY                                                      Contingent
          146 MAIN ST                                                         Unliquidated
          SPENCER, WV 25276-1408                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9055
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $400.00
          GROSS, WARREN H                                                     Contingent
          6108 TOWNSHIP ROAD 88                                               Unliquidated
          FREDERICKTOWN, OH 43019                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0134
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          GROUP THERAPY FIREARMS TRAININ                                      Contingent
          244 SEAL AVE                                                        Unliquidated
          BILOXI, MS 39530-2920                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1940
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          GS CUSTOM GUNS & AMMO                                               Contingent
          11733 66TH ST UNIT 108/111-114                                      Unliquidated
          LARGO, FL 33773-5400                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9888
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $62.03
          GUERNSEY OFFICE PROD                                                Contingent
          PO BOX 10846                                                        Unliquidated
          CHANTILLY, VA 20153                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0032
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          GULF COAST SHOOTERS LLC                                             Contingent
          20 LOBLOLLY CT                                                      Unliquidated
          MANDEVILLE, LA 70448-7551                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7035
                                                                             Is the claim subject to offset?    No  Yes




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 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          GUNS-N-SUCH INC.                                                    Contingent
          5402 W FLANDERS RD                                                  Unliquidated
          MCHENRY, IL 60050-1302                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5003
                                                                             Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          HALTOM CITY RIFLE AND PISTOL C                                      Contingent
          PO BOX 14291                                                        Unliquidated
          FORT WORTH, TX 76117-0291                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9742
                                                                             Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          HAMBURG RIFLE & PISTOL CLUB                                         Contingent
          PO BOX 12                                                           Unliquidated
          HAMBURG, PA 19526-0012                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5824
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $236.00
          HAMDEN FISH & GAME PROT ASC                                         Contingent
          PO BOX 5619                                                         Unliquidated
          HAMDEN, CT 06525                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5648
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          HAMILTON & WENHAM ROD & GUN CL                                      Contingent
          PO BOX 2413                                                         Unliquidated
          SOUTH HAMILTON, MA 01982-0413                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1937
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $56.17
          HANDLON, JAMES                                                      Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       3417                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          HARLEY LIMEHOUSE, JR                                                Contingent
          PO BOX 540                                                          Unliquidated
          JOHNS ISLAND, SC 29457-0540                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2469
                                                                             Is the claim subject to offset?    No  Yes




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 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          HAROLD S BLAIR                                                      Contingent
          1114 N 24TH ST                                                      Unliquidated
          SAINT JOSEPH, MO 64506-2721                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9520
                                                                             Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          HARRISBURG HUNTERS & ANGLERS A                                      Contingent
          6611 HUNTERS RUN RD                                                 Unliquidated
          HARRISBURG, PA 17111-4828                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3530
                                                                             Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          HARRY JACOBS                                                        Contingent
          131 MAPLE PL                                                        Unliquidated
          SOUTH PLAINFIEL, NJ 07080-4528                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7969
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $73.61
          HARRY PEIFFER                                                       Contingent
          104 MARKET STREET, APT. 1                                           Unliquidated
          ENOLA, PA 17025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1299
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,205.25
          HARTMAN & WINNICKI                                                  Contingent
          74 PASSAIC STREET                                                   Unliquidated
          RIDGEWOOD, NJ 07450                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0360
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $20.00
          HAT CREEK RIFLE AND PISTOL CLU                                      Contingent
          21212 OAK KNOLL RD                                                  Unliquidated
          REDDING, CA 96003-7682                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0329
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $575.00
          HAUPTMAN HAM LLP                                                    Contingent
          1700 DIAGONAL ROAD                                                  Unliquidated
          SUITE 310                                                           Disputed
          ALEXANDRIA, VA 22314
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2351                         Is the claim subject to offset?    No  Yes




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 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $300.00
          HAVILAND, JOHN FRANCIS                                              Contingent
          5809 LONGVIEW                                                       Unliquidated
          MISSOULA, MT 59803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4098
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,750.00
          HAYES, BRIAN                                                        Contingent
          371 CALLISTO LN                                                     Unliquidated
          NIPOMO, CA 93444                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1276
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          HAZEN D. LANCASTER                                                  Contingent
          11295 LAUREL WALK DR                                                Unliquidated
          LAUREL, MD 20708-3004                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9814
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          HEAD, EDWARD M III                                                  Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       6507                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          HEATHER CRAUFORD                                                    Contingent
          6310 CLAYBOURN DR                                                   Unliquidated
          BEAUMONT, TX 77706                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1843
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          HENRY Z MOSES                                                       Contingent
          196 SPAULDING RD                                                    Unliquidated
          BROOKLYN, CT 06234-1539                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6839
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          HERNANDO SPORTSMAN CLUB INC.                                        Contingent
          P.O. BOX 10754                                                      Unliquidated
          BROOKSVILLE, FL 34601                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6006
                                                                             Is the claim subject to offset?    No  Yes




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 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.69
          HERSCHEL JACKSON                                                    Contingent
          145 MERRY WOOD DRIVE                                                Unliquidated
          ARAB, AL 35106                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1271
                                                                             Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          HI-TECH TACKLE                                                      Contingent
          14369 PARK ORCHARD ON THE LAKE                                      Unliquidated
          WATERPORT, NY 14571                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1026
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,400.00
          HIGHLAND MINT, THE                                                  Contingent
          4100 NORTH RIVERSIDE DRIVE                                          Unliquidated
          MELBOURNE, FL 32937                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3170
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $52.00
          HIGHLAND PISTOL & RIFLE CLUB                                        Contingent
          13312 BELLM RD                                                      Unliquidated
          PO BOX 2                                                            Disputed
          HIGHLAND, IL 62249-0002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3033                         Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.00
          HILDA SUTTON                                                        Contingent
          2355 WINTERGREEN ROAD                                               Unliquidated
          COVE CITY, NC 28523                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1295
                                                                             Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          HNR GUNWORKS LLC                                                    Contingent
          3238 S FLORIDA AVE                                                  Unliquidated
          INVERNESS, FL 34450-6876                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1450
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,000.00
          HODGKINS AND ASSOCIATES                                             Contingent
          4747 PINNACLE DRIVE                                                 Unliquidated
          BRADENTON, FL 34208, FL 34208                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0189
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $79.00
          HOLLYWOOD RIFLE AND PISTOL CLU                                      Contingent
          2989 STIRLING RD                                                    Unliquidated
          DAHIA BEACH, FL 33312-6528                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7441
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $161.00
          HOLMESBURG FISH & GAME PROTECT                                      Contingent
          5100 PENNYPACK ST                                                   Unliquidated
          PHILADELPHIA, PA 19136-1620                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5124
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          HOLYOKE REVOLVER CLUB INC                                           Contingent
          PO BOX 543                                                          Unliquidated
          HOLYOKE, MA 01041-0543                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8485
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $44.00
          HOOSIER HILLS RIFLE & PISTOL C                                      Contingent
          3520 VOYLES RD                                                      Unliquidated
          MARTINSVILLE, IN 46151-8412                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1650
                                                                             Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,650.00
          HORMAN, BROOK GILBERT                                               Contingent
          2511 FILMORE ST                                                     Unliquidated
          SALT LAKE CITY, UT 84106                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6340
                                                                             Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          HOWARD HARRIMAN                                                     Contingent
          9909 215TH PLACE SE                                                 Unliquidated
          SNOHOMISH, WA 98296                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1242
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          HOWARDS GROVE ROD AND GUN CLUB                                      Contingent
          519 CARDINAL LN                                                     Unliquidated
          HOWARDS GROVE, WI 53083-1406                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9460
                                                                             Is the claim subject to offset?    No  Yes




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 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $98.00
          HUDSON VALLEY SPORTSMEN'S ASSO                                      Contingent
          3 BAIN AVE                                                          Unliquidated
          POUGHKEEPSIE, NY 12601-1830                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7978
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,093.61
          HUMAN KINETICS                                                      Contingent
          1607 N. MARKET STREET                                               Unliquidated
          P.O. BOX 5076                                                       Disputed
          CHAMPAIGN, IL 61820
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4523                         Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $33.00
          HUMBOLDT RIFLE AND PISTOL CLUB                                      Contingent
          708 2ND AVE N                                                       Unliquidated
          DAKOTA CITY, IA 50529-5118                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1277
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          HURRICANE BUTTERFLY HOLDINGS I                                      Contingent
          100 ANDOVER PARK W STE 150-105                                      Unliquidated
          TUKWILA, WA 98188                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0500
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $85.00
          I156, LLC                                                           Contingent
          141 ROBERT E LEE BLVD #247                                          Unliquidated
          NEW ORLEANS, LA 70124-2534                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8490
                                                                             Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $38.00
          IAN HILL                                                            Contingent
          1334 OLD COUNTRY LN                                                 Unliquidated
          DAYTON, OH 45414-1921                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9563
                                                                             Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,150.00
          IDM PRODUCTIONS LLC                                                 Contingent
          PO BOX 5506                                                         Unliquidated
          WINTER PARK, FL 32793                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0941
                                                                             Is the claim subject to offset?    No  Yes




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 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $143,206.31
          IMAGE DIRECT                                                        Contingent
          200 MONROE AVE                                                      Unliquidated
          BUILDING 4                                                          Disputed
          FREDERICK, MD 21701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7958                         Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          INDIANA STATE RIFLE & PISTOL A                                      Contingent
          2101 EVANS AVE                                                      Unliquidated
          VALPARAISO, IN 46383-4007                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3016
                                                                             Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $836,828.27
          INFOCISION MANAGEMENT CORP                                          Contingent
          325 SPRINGSIDE DR                                                   Unliquidated
          AKRON, OH 44333                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2393
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          INGSOC DEFENSIVE LLC                                                Contingent
          PO BOX 1483                                                         Unliquidated
          MEDINA, OH 44258-1483                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0382
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          IOWA FIREARMS COALITION                                             Contingent
          CORPORATION                                                         Unliquidated
          10201 UNIVERSITY AVE # A15-244                                      Disputed
          CLIVE, IA 50325-6400
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6128                         Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $94.60
          IRON MOUNTAIN                                                       Contingent
          P.O.BOX 27128                                                       Unliquidated
          NEW YORK, NY 10087-7128                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0250
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $200.00
          IRON MOUNTAIN INTELLECTUAL
          PROPERTY MANA                                                       Contingent
          2100 NORCROSS PARKWAY                                               Unliquidated
          SUITE 150                                                           Disputed
          NORCROSS, GA 30071
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0970                         Is the claim subject to offset?    No  Yes




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 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          IRON SYKES CONSULTING LLC                                           Contingent
          12 COUNTRY ACRES DR                                                 Unliquidated
          CAPE MAYCOURT HOUSE, NJ 08210-2091                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6060
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          IZAAK WALTON LEAGUE OF AMERICA                                      Contingent
          PO BOX 118                                                          Unliquidated
          DAMASCUS, MD 20872-0118                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2559
                                                                             Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,095.00
          J JENKINS SONS CO INC                                               Contingent
          1801 WHITEHEAD RD                                                   Unliquidated
          BALTIMORE, MD 21207                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1266
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,712.60
          J&A MARKETING LLC                                                   Contingent
          200 COMPASS CIRCLE                                                  Unliquidated
          NORTH KINGSTOWN, RI 02852                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6940
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          J3 STRATEGIES LTD.                                                  Contingent
          P.O. Box 19762                                                      Unliquidated
          RENO, NV 89511                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0165
                                                                             Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.34
          JACK FLIPPO, JR.                                                    Contingent
          125 HAWK SPRINGS DRIVE                                              Unliquidated
          MCLOUD, OK 74851                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1061
                                                                             Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $80.00
          JACOB KELLNER                                                       Contingent
          325 INDUSTRIAL DR                                                   Unliquidated
          COLUMBIANA, OH 44408-1551                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0364
                                                                             Is the claim subject to offset?    No  Yes




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 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $250.00
          JACOBS, GABRIEL JOSEPH                                              Contingent
          4421 W ROCKWOOD DR                                                  Unliquidated
          TUCSON, AZ 85741                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1098
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          JAMES CHARLES MCDANIEL                                              Contingent
          1614 GRETNA HOOK LN                                                 Unliquidated
          GRAND RIDGE, FL 32442-4086                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5227
                                                                             Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JAMES E. LEWIS                                                      Contingent
          4075 LOTT CT                                                        Unliquidated
          MURRYSVILLE, PA 15668-9751                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8917
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          JAMES GORDER                                                        Contingent
          1224 CHERRY STREET                                                  Unliquidated
          WENATCHEE, WA 98801                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1243
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          JAMES REDDEN                                                        Contingent
          209 W MECHANIC ST                                                   Unliquidated
          ROCKTON, IL 61072                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3303
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JAMES V FLAIM                                                       Contingent
          2 WALNUT ST                                                         Unliquidated
          DELANO, PA 18220                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1234
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,400.00
          JAMES, GERALD L                                                     Contingent
          17556 CHASE ST                                                      Unliquidated
          NORTHRIDGE, CA 91325                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1490
                                                                             Is the claim subject to offset?    No  Yes




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 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $60.00
          JARVIS FIREARMS TRAINING LLC                                        Contingent
          3608 GOLD CREST LN                                                  Unliquidated
          ROSAMOND, CA 93560-6804                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4800
                                                                             Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JASON GRUNDY                                                        Contingent
          3111 HAGLEY CT                                                      Unliquidated
          FAYETTEVILLE, NC 28306-7817                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8717
                                                                             Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          JASON KLINNER                                                       Contingent
          205 N 27TH ST                                                       Unliquidated
          QUINCY, IL 62301-3727                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9034
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JASON MARSHALL                                                      Contingent
          241 GASHELL RUN RD                                                  Unliquidated
          TRIADELPHIA, WV 26059-1016                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3714
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $22.00
          JASON RODRIGUEZ                                                     Contingent
          331 S. ST. SE                                                       Unliquidated
          AUBURN, WA 98002                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1244
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $69.95
          JAY BROWN                                                           Contingent
          14921 EVER GREEN STREET N                                           Unliquidated
          ANDOVER, MN 55304                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1366
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JEFFREY R WHITE                                                     Contingent
          139 TULIP LN                                                        Unliquidated
          PETERSTOWN, WV 24963                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2583
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,828.46
          JENKINS, CURTIS S                                                   Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       3114                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $272.21
          JENKINS, ROBERT W.                                                  Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       2964                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,962.50
          JENNIFER L KREMPIN & ASSOCIATES LLC                                 Contingent
          500 MONTGOMERY ST                                                   Unliquidated
          SUITE 400                                                           Disputed
          ALEXANDRIA, VA 22308
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0347                         Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          JEREMY UNDERWOOD                                                    Contingent
          3410 LEAH CT. SE                                                    Unliquidated
          LACEY, WA 98503                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1245
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JESSAMY BRIGHT                                                      Contingent
          278 S 5TH AVENUE                                                    Unliquidated
          MIDDLEPORT, OH 45760-1112                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9614
                                                                             Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.55
          JOANNE DANGELO                                                      Contingent
          1473 BONNER SPRINGS DR.                                             Unliquidated
          HENDERSON, NV 89052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1306
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          JOE BOB OUTFITTERS                                                  Contingent
          4850 GENERAL HAYS RD                                                Unliquidated
          HAYS, KS 67601-6002                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0598
                                                                             Is the claim subject to offset?    No  Yes




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 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $108.00
          JOE HOLDMANN                                                        Contingent
          PO BOX 743                                                          Unliquidated
          NORTH BEND, OR 97459-0059                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6069
                                                                             Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JOHN A MONDELLI                                                     Contingent
          PO BOX 210932                                                       Unliquidated
          NASHVILLE, TN 37221-0932                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9941
                                                                             Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $115.55
          JOHN ABRANT                                                         Contingent
          3350 N. DURANGO DRIVE, APT. 1085                                    Unliquidated
          LAS VEGAS, NV 89129                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1375
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JOHN DEMMIE                                                         Contingent
          7420 DUNQUIN CT                                                     Unliquidated
          CLIFTON, VA 20124-1834                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5038
                                                                             Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JOHN DURAN                                                          Contingent
          1161 MILO CIR # 8                                                   Unliquidated
          LAFAYETTE, CO 80026-3243                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5658
                                                                             Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $58.00
          JOHN OHMAN                                                          Contingent
          110 DE MONTLUZIN AVE                                                Unliquidated
          BAY SAINT LOUIS, MS 39520-4506                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6068
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          JOHN S MAHIN                                                        Contingent
          2395 S GROUSE MEADOW DR                                             Unliquidated
          COEUR D ALENE, ID 83814-6205                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1503
                                                                             Is the claim subject to offset?    No  Yes




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 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $7.32
          JOHN STEGER                                                         Contingent
          18801 GRENADA LANE 15                                               Unliquidated
          HOUSTON, TX 77058                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1290
                                                                             Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.15
          JOHN TIVVIS                                                         Contingent
          650 STREAKER ROAD                                                   Unliquidated
          SYKESVILLE, MD 21784                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1307
                                                                             Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,035.49
          JOHN W. LUCE REVOCABLE TRUST                                        Contingent
          321 HENDERSON BLVD                                                  Unliquidated
          TAMPA, FL 33609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2500
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,830.00
          JOHNSTON, JEFF                                                      Contingent
          6898 WHITTON CIRCLE                                                 Unliquidated
          GAINESVILLE, VA 20155                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0048
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $440.00
          JOHNSTON, TJ                                                        Contingent
          1026 N TUSTIN ST                                                    Unliquidated
          ORANGE, CA 92867                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6506
                                                                             Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          JOHNSTOWN RIFLE & PISTOL CLUB                                       Contingent
          PO BOX 1148                                                         Unliquidated
          JOHNSTOWN, PA 15907-1148                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5112
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $68.00
          JON SMETANA                                                         Contingent
          22525 FAIRMOUNT BLVD                                                Unliquidated
          SHAKER HEIGHTS, OH 44118-4829                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0028
                                                                             Is the claim subject to offset?    No  Yes




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 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          JONATHAN BURSTYN                                                    Contingent
          2838 W TOUHY AVE UNIT B                                             Unliquidated
          CHICAGO, IL 60645                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0967
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          JONES, DONALD M                                                     Contingent
          GREAT GRAY IMAGERY                                                  Unliquidated
          P O BOX 753                                                         Disputed
          TROY, MT 59935
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4099                         Is the claim subject to offset?    No  Yes
 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JOSE R RAMOS PELLET                                                 Contingent
          1917 NUTHATCH RD                                                    Unliquidated
          FAYETTEVILLE, NC 28304-4766                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5526
                                                                             Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          JOSEPH FARRIS SHAHOUD                                               Contingent
          2440 AUGUSTA HWY STE A, PMB 20                                      Unliquidated
          LEXINGTON, SC 29072                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1149
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          JOSEPH M CELLUCCI                                                   Contingent
          1725 REED RD NE STE 6                                               Unliquidated
          LELAND, NC 28451                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2520
                                                                             Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JOSHUA RAY JENNINGS                                                 Contingent
          13728 MARTINSVILLE HWY                                              Unliquidated
          CASCADE, VA 24069                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1160
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,193.63
          JOURNEY, PHIL                                                       Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1303                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          JP SQUARED CONSULTING INC                                           Contingent
          6972 W 81ST AVE                                                     Unliquidated
          ARVADA, CO 80003-2015                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9103
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $800.00
          JUCHNOWSKI, SERENA MARIE                                            Contingent
          2930 FARNHAM ROAD                                                   Unliquidated
          RICHFILED, OH 44286                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8479
                                                                             Is the claim subject to offset?    No  Yes
 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          JUDSON CROSSLAND                                                    Contingent
          38 SPRUCE CT                                                        Unliquidated
          DURANGO, CO 81301-7213                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0650
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          JULIAN F. BEALE III                                                 Contingent
          51 CONY STREET                                                      Unliquidated
          AUGUSTA, ME 04330-5236                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0127
                                                                             Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          JULIO SALAZAR                                                       Contingent
          4018 LOUISE DR                                                      Unliquidated
          BEEVILLE, TX 78102-2114                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2460
                                                                             Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          JUNEAU RIFLE & PISTOL CLUB                                          Contingent
          PO BOX 32836                                                        Unliquidated
          JUNEAU, AK 99803-2836                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3063
                                                                             Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,827.99
          JURIS DAY, ATTORNEYS AT LAW                                         Contingent
          10521 JUDICIAL DRIVE                                                Unliquidated
          STE 200                                                             Disputed
          FAIRFAX, Virginia 22030-0000
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $43,620.50
          K & L GATES LLP                                                     Contingent
          599 LEXINGTON AVE                                                   Unliquidated
          NEW YORK, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5939
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          K3 TACTICAL LLC                                                     Contingent
          119 TAMIAMI TRAIL STE D                                             Unliquidated
          PORT CHARLOTTE, FL 33953-4555                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0954
                                                                             Is the claim subject to offset?    No  Yes
 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,427.61
          KANSAS DEPT OF REVENUE                                              Contingent
          915 SW HARRISON ST                                                  Unliquidated
          TOPEKA, KS 66625-5000                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4850
                                                                             Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $66.00
          KARL GREG NELSON                                                    Contingent
          1641 LAPORTE DRIVE                                                  Unliquidated
          ROSEVILLE, CA 95747-5801                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9652
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          KARL LANDER                                                         Contingent
          3395 7 1/2 MILE ROAD                                                Unliquidated
          UNION CITY, MI 49094                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1355
                                                                             Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.94
          KARL SOKOL                                                          Contingent
          572 RTE 376                                                         Unliquidated
          HOPEWELL JUNCTION, NY 12533                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1374
                                                                             Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,853.42
          KASTLE SYSTEMS, LLC                                                 Contingent
          6402 ARLINGTON BLVD.                                                Unliquidated
          FALLS CHURCH, VA 22042                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3607
                                                                             Is the claim subject to offset?    No  Yes




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 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $11.15
          KATHY MOYERS                                                        Contingent
          P.O. BOX 5                                                          Unliquidated
          JACKSONVILLE, VT 05342-0005                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9972
                                                                             Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          KBTN INC                                                            Contingent
          284 SOUTHERN RD                                                     Unliquidated
          EL CAJON, CA 92020-2743                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5385
                                                                             Is the claim subject to offset?    No  Yes
 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          KD GRAYSON LLC                                                      Contingent
          2763 FRONTIER                                                       Unliquidated
          SPRING BRANCH, TX 78070                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1287
                                                                             Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $225.29
          KEENE, DAVID                                                        Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       2888                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          KENNETH E. KRAIG                                                    Contingent
          240 E. PEALE DRIVE                                                  Unliquidated
          SHELTON, WA 98584                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1249
                                                                             Is the claim subject to offset?    No  Yes
 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          KENNETH HEIDKAMP                                                    Contingent
          553 KING ST                                                         Unliquidated
          MIDDLEBURY, CT 06762-2838                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2591
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          KENNETH KELSAY                                                      Contingent
          14 EASTGROVE CT                                                     Unliquidated
          COLUMBIA, SC 29212-2404                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5699
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          KEVIN L WIGTON                                                      Contingent
          7095 KESSLING ST                                                    Unliquidated
          DAVISON, MI 48423-2443                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1335
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $39.00
          KEYSTONE SPORTSMEN ASSOC                                            Contingent
          76 SHIPTON ST                                                       Unliquidated
          MIFFLINBURG, PA 17844-1430                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4476
                                                                             Is the claim subject to offset?    No  Yes
 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,455.30
          KINGPORT INDUSTRIES, LLC                                            Contingent
          1912 SHERMER RD.                                                    Unliquidated
          NORTHBROOK, IL 60062                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4134
                                                                             Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          KINGS FIREARMS & MORE LLC                                           Contingent
          505 N GARDEN ST                                                     Unliquidated
          COLUMBIA, TN 38401-3219                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2663
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $373,374.69
          KIRKLAND &ELLIS                                                     Contingent
          655 FIFTEENTH STREET, NW                                            Unliquidated
          WASHINGTON, DC 20005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1999
                                                                             Is the claim subject to offset?    No  Yes
 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $87.00
          KISKI TOWNSHIP SPORTSMENS ASSO                                      Contingent
          192 WILSON RD                                                       Unliquidated
          AVONMORE, PA 15618                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1287
                                                                             Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          KNUPP, JEREMIAH                                                     Contingent
          3289 RALSTON RD                                                     Unliquidated
          HARRISONBURG, VA 22802                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3449
                                                                             Is the claim subject to offset?    No  Yes




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 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $791.62
          KOJAK GRAPHIC COMMUNICATIONS                                        Contingent
          PO BOX 767                                                          Unliquidated
          WESTMINSTER, MD 21158                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1208
                                                                             Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $996.40
          KONICA MINOLTA PREMIER FINANCE                                      Contingent
          P.O. BOX 790448                                                     Unliquidated
          ST. LOUIS, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1503
                                                                             Is the claim subject to offset?    No  Yes
 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $153,796.26
          KONIK & COMPANY INC                                                 Contingent
          7535 N LINCOLN AVE                                                  Unliquidated
          SKOKIE, IL 60076                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4946
                                                                             Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $159.00
          KONOCTI ROD & GUN CLUB                                              Contingent
          PO BOX 551                                                          Unliquidated
          LAKEPORT, CA 95453-0551                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1355
                                                                             Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,350.00
          KOUNT INC                                                           Contingent
          917 S LUSK ST                                                       Unliquidated
          SUITE 300                                                           Disputed
          BOISE, ID 83706
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2849                         Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,516.32
          KRASNE'S INC.                                                       Contingent
          2222 COMMERICAL ST                                                  Unliquidated
          SAN DIEGO, CA 92113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0518
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $60.00
          KRISTEN DODD                                                        Contingent
          PO BOX 654                                                          Unliquidated
          MANDEVILLE, LA 70470-0654                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1128
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $17.00
          KRISTIN GRANGE                                                      Contingent
          1274 S 9TH ST                                                       Unliquidated
          LAS VEGAS, NV 89104-1553                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8813
                                                                             Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          KRISTINE TRUSIAK                                                    Contingent
          74 DELAWARE AVE                                                     Unliquidated
          VILLAS, NJ 08251-3064                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0455
                                                                             Is the claim subject to offset?    No  Yes
 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $116,762.00
          KRUEGER ASSOCIATES INC                                              Contingent
          105 COMMERCE DRIVE                                                  Unliquidated
          ASTON, PA 19014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7686
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,400.00
          KULECK, WALTER                                                      Contingent
          3309 BATH HEIGHTS DRIVE                                             Unliquidated
          CUYAHOGA FALLS, OH 44223-3759                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2025
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $51.00
          KURBURSKI WEB DEVELOPMENT, LLC                                      Contingent
          205 S 5TH ST STE 18                                                 Unliquidated
          LEAVENWORTH, KS 66048-2602                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7546
                                                                             Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          L & T FIREARMS TRAINING                                             Contingent
          6787 REDMAN ST                                                      Unliquidated
          WESTLAND, MI 48185-2740                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6350
                                                                             Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          LAEMLEIN,THOMAS A.                                                  Contingent
          83 LINCOLN MILLS ROAD                                               Unliquidated
          EAST ROCHESTER, NY 14445                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6021
                                                                             Is the claim subject to offset?    No  Yes




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 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $96.00
          LAFAYETTE GUN CLUB OF VA INC                                        Contingent
          PO BOX 2037                                                         Unliquidated
          YORKTOWN, VA 23692-2037                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6265
                                                                             Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          LAKE NORMAN FIREARMS TRAINING                                       Contingent
          8420 STREAMVIEW DR                                                  Unliquidated
          APT D                                                               Disputed
          HUNTERSVILLE, NC 28078
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6000                         Is the claim subject to offset?    No  Yes
 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $49,948.00
          LAN SMITH SOSOLIK PLLC                                              Contingent
          12221 MERIT DR                                                      Unliquidated
          SUITE 825                                                           Disputed
          DALLAS, TX 75251
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1308                         Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,974.00
          LANCASTER SAFETY CONSULTING INC                                     Contingent
          910 SHEARTON DR                                                     Unliquidated
          SUITE 425                                                           Disputed
          MARS, PA 16046
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0146                         Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          LANCE DASHEFSKY                                                     Contingent
          169 W 73RD ST APT 10                                                Unliquidated
          NEW YORK, NY 10023-2946                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5774
                                                                             Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $162.00
          LANFORD, JR., HERBERT A                                             Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       5772                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          LARAMIE COUNTY SHOOTING SPORTS                                      Contingent
          13802 BULLSEYE BOULEVARD                                            Unliquidated
          CHEYENNE, WY 82009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7249
                                                                             Is the claim subject to offset?    No  Yes




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 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.10
          LARRY LAMBERT                                                       Contingent
          1803 EUSTIS STREET                                                  Unliquidated
          SAINT PAUL, MN 55113                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0981
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $50.00
          LARRY QUANDAHL                                                      Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2346
                                                                             Is the claim subject to offset?    No  Yes
 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.75
          LARRY RODRIGUE                                                      Contingent
          P.O. BOX 174                                                        Unliquidated
          SEABECK, WA 98380                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1211
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          LAUREN FRIEDMAN                                                     Contingent
          237 N BRYAN ST                                                      Unliquidated
          ARLINGTON, VA 22201-1418                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0825
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          LAWRENCE HIMBURG                                                    Contingent
          334 CAMELOT CIR                                                     Unliquidated
          MALABAR, FL 32950-4403                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1041
                                                                             Is the claim subject to offset?    No  Yes
 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          LEAD CARPET FIREARMS & SAFETY                                       Contingent
          2732 SCENIC DR APT 305                                              Unliquidated
          MARQUETTE, MI 49855                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0088
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $9.00
          LEE VANDOMELEN                                                      Contingent
          4380 NW LEISY ROAD                                                  Unliquidated
          HILLSBORO, OR 97124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7444
                                                                             Is the claim subject to offset?    No  Yes




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 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $207.87
          LEE, WILLES                                                         Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       3480                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $74.00
          LEMON GROVE ROD & GUN CLUB                                          Contingent
          PO BOX 1585                                                         Unliquidated
          LEMON GROVE, CA 91946-1585                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8274
                                                                             Is the claim subject to offset?    No  Yes
 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          LET'S GO BABY, LLC                                                  Contingent
          3705 W ELM ST                                                       Unliquidated
          MCHENRY, IL 60050-4357                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0879
                                                                             Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $166.50
          LETT DIRECT INC.                                                    Contingent
          7711 HOLLES DRIVE NW                                                Unliquidated
          WILLIAMSBURG, MI 49690-9604                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9105
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $171.00
          LEVEL 1 FIREARMS SAFETY AND TR                                      Contingent
          3313 W CHERRY LANE                                                  Unliquidated
          MERIDIAN, ID 83642-1119                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9638
                                                                             Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          LEWISTOWN PISTOL CLUB INC                                           Contingent
          118 QUARTZ DR                                                       Unliquidated
          BELLEFONTE, PA 16823-7504                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3624
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $989.91
          LIBERTY MUTUAL GROUP                                                Contingent
          REMITTANCE PROCESSING CENTER                                        Unliquidated
          P O BOX 8500                                                        Disputed
          DOVER, NH 03821-8500
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       5834                         Is the claim subject to offset?    No  Yes




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 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $66.00
          LILIANA HERNANDEZ                                                   Contingent
          11930 SW 35TH ST                                                    Unliquidated
          MIAMI, FL 33175-3139                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8594
                                                                             Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          LIVINGSTON GUN CLUB                                                 Contingent
          7718 W PARKWAY ST                                                   Unliquidated
          DETROIT, MI 48239-1097                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8586
                                                                             Is the claim subject to offset?    No  Yes
 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,731.00
          LOCKTON COMPANIES                                                   Contingent
          P O BOX 802707                                                      Unliquidated
          KANSAS CITY, MO 64180-2707                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2522
                                                                             Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.00
          LONE PINE HUNTERS CLUB                                              Contingent
          146 DOW RD                                                          Unliquidated
          HOLLIS, NM 03049-6505                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5800
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          LONG ISLAND WOMEN'S FIREARM CL                                      Contingent
          543 15TH ST                                                         Unliquidated
          WEST BABYLON, NY 11704                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1960
                                                                             Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $74.00
          LORI WICEN                                                          Contingent
          3179 MOZART RD                                                      Unliquidated
          FURLONG, PA 18925-1414                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2656
                                                                             Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $20.00
          LOS LUNAS GUN CLUB                                                  Contingent
          PO BOX 1598                                                         Unliquidated
          PERALTA, NM 87042-1598                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6662
                                                                             Is the claim subject to offset?    No  Yes




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 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $51.00
          LOST CREEK CONSERVATION CLUB I                                      Contingent
          2393 N TABORTOWN ST                                                 Unliquidated
          TERRE HAUTE, IN 47803-9688                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0120
                                                                             Is the claim subject to offset?    No  Yes
 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          LOUDERBACK'S FIDDLEBACKERS                                          Contingent
          P.O. BOX 992402                                                     Unliquidated
          PMALLOY@SNOWCREST.NET                                               Disputed
          REDDING, CA 96001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0042                         Is the claim subject to offset?    No  Yes
 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          LOUISE A FIELDS                                                     Contingent
          5726 HIGHBURY CT                                                    Unliquidated
          HOUSTON, TX 77084-6480                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9684
                                                                             Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          LOUISE STEIN                                                        Contingent
          2713 W 155TH ST                                                     Unliquidated
          GARDENA, CA 90249-4501                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4230
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,570.00
          LOUISIANA DEPARTMENT OF REVENUE                                     Contingent
          PO BOX 3138                                                         Unliquidated
          BATON ROUGE, LA 70821-3138                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6735
                                                                             Is the claim subject to offset?    No  Yes
 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          LU ZHI LIU                                                          Contingent
          369 COOLIDGE AVE                                                    Unliquidated
          FORT LEE, NJ 07024-5053                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0926
                                                                             Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          LUANN MOYER                                                         Contingent
          401 JEANNE DR                                                       Unliquidated
          MELBOURNE, FL 32935-6810                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0162
                                                                             Is the claim subject to offset?    No  Yes




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 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          LUTHER HALL                                                         Contingent
          11015 71ST DR                                                       Unliquidated
          LIVE OAK, FL 32060-7188                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5811
                                                                             Is the claim subject to offset?    No  Yes
 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,526.70
          LYTLE SOULE & FELTY                                                 Contingent
          1200 ROBINSON RENAISSANCE                                           Unliquidated
          119 NORTH ROBINSON                                                  Disputed
          OKLAHOMA CITY, OK 73102
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0898                         Is the claim subject to offset?    No  Yes
 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MACCABEE GUNS LLC                                                   Contingent
          6542 4TH ST NW                                                      Unliquidated
          ALBUQUERQUE, NM 87107-5813                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9889
                                                                             Is the claim subject to offset?    No  Yes
 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $270.00
          MADE IN USA FRAMING LLC                                             Contingent
          250 CENTER CT                                                       Unliquidated
          VENICE, FL 34285                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1846
                                                                             Is the claim subject to offset?    No  Yes
 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          MAGDALENA MORDAUNT                                                  Contingent
          3037 ANDRETTI LN                                                    Unliquidated
          HENDERSON, NV 89052-4144                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6958
                                                                             Is the claim subject to offset?    No  Yes
 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,547.75
          MAILFINANCE                                                         Contingent
          478 WHEELERS FARM RD                                                Unliquidated
          MILFORD, CT 06461                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6711
                                                                             Is the claim subject to offset?    No  Yes
 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          MALENE THOMPSON                                                     Contingent
          4391 SUNSET DR                                                      Unliquidated
          RISING FAWN, GA 30738-5127                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5062
                                                                             Is the claim subject to offset?    No  Yes




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 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MALISSA ROSE                                                        Contingent
          9966 SOLANO RD                                                      Unliquidated
          VICTORVILLE, CA 92392                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1150
                                                                             Is the claim subject to offset?    No  Yes
 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          MANCHESTER HUNT CLUB INC.                                           Contingent
          404 MALONEY ROAD                                                    Unliquidated
          POUGHKEEPSIE, NY 12603                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9570
                                                                             Is the claim subject to offset?    No  Yes
 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $411.00
          MANHATTAN WILDLIFE ASSOCIATION                                      Contingent
          4040 RAVALLI ST APT 91                                              Unliquidated
          BOZEMAN, MT 59718-6307                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5546
                                                                             Is the claim subject to offset?    No  Yes
 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $77.00
          MANSFIELD FISH & GAME                                               Contingent
          PO BOX 261                                                          Unliquidated
          MANSFIELD, MA 02048-0261                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3655
                                                                             Is the claim subject to offset?    No  Yes
 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          MARK A LEE SR                                                       Contingent
          2612 SOMERSET DR                                                    Unliquidated
          NASHVILLE, TN 37217-3909                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9040
                                                                             Is the claim subject to offset?    No  Yes
 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          MARK BRADLEY MAYES                                                  Contingent
          3080 PEPPERWOOD DR                                                  Unliquidated
          LAKE HAVASU CIT, AZ 86404-3930                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9796
                                                                             Is the claim subject to offset?    No  Yes
 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          MARK KAYSER ENTERPRISES                                             Contingent
          167 KEYSTONE ROAD                                                   Unliquidated
          SHERIDAN, WY 82801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7377
                                                                             Is the claim subject to offset?    No  Yes




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 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          MARK KINDEL                                                         Contingent
          114 27TH STREET NE                                                  Unliquidated
          PUYALLUP, WA 98372                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1227
                                                                             Is the claim subject to offset?    No  Yes
 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MARK PALMISANO                                                      Contingent
          302 DOGWOOD LN                                                      Unliquidated
          FAIRVIEW HEIGHT, IL 62208-2412                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8734
                                                                             Is the claim subject to offset?    No  Yes
 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MARRIOTTSVILLE MUZZLE LOADERS                                       Contingent
          1815 NORFOLK RD                                                     Unliquidated
          GLEN BURNIE, MD 21061-4351                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3569
                                                                             Is the claim subject to offset?    No  Yes
 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          MARSHALL & POPP                                                     Contingent
          611 2ND STREET NE                                                   Unliquidated
          SUITE 1                                                             Disputed
          WASHINGTON, DC 20002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3808                         Is the claim subject to offset?    No  Yes
 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $51.00
          MARTIN COUNTY SPORTSMEN'S ASSO                                      Contingent
          PO BOX 1306                                                         Unliquidated
          STUART, FL 34995-1306                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7911
                                                                             Is the claim subject to offset?    No  Yes
 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MARTIN VAUGHN                                                       Contingent
          4184 HIGHWAY C                                                      Unliquidated
          GERALD, MO 63037-1327                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6949
                                                                             Is the claim subject to offset?    No  Yes
 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,195.00
          MARYLAND DIGITAL COPIER                                             Contingent
          9590 LYNN BUFF COURT                                                Unliquidated
          SUITE 12                                                            Disputed
          LAUREL, MD 20723
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6532                         Is the claim subject to offset?    No  Yes




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 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MARYLAND TRANSPORTATION                                             Contingent
          AUTHORITY                                                           Unliquidated
          PO BOX 17600                                                        Disputed
          BALTIMORE, MD 21297
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3159                         Is the claim subject to offset?    No  Yes
 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,267.33
          MASERGY COMMUNICATIONS, INC                                         Contingent
          2740 N DALLAS PKWY                                                  Unliquidated
          SUITE 260                                                           Disputed
          PLANO, TX 75093
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8826                         Is the claim subject to offset?    No  Yes
 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          MASS FIREARMS SCHOOL                                                Contingent
          39 GREENDALE AVE                                                    Unliquidated
          NEEDHAM, MA 02494-2128                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4336
                                                                             Is the claim subject to offset?    No  Yes
 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,500.00
          MASSARO MEDIA GROUP LLC                                             Contingent
          74 COLE LANE                                                        Unliquidated
          WEST COXSACKIE, NY 12192                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1716
                                                                             Is the claim subject to offset?    No  Yes
 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          MASSASOIT GUN CLUB INC                                              Contingent
          PO BOX 14232                                                        Unliquidated
          EAST PROVIDENCE, RI 02914-0232                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0380
                                                                             Is the claim subject to offset?    No  Yes
 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          MASSIMILIAN, ANDREW                                                 Contingent
          8 WEST STONE ST                                                     Unliquidated
          NEWBURGH, NY 12550                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9054
                                                                             Is the claim subject to offset?    No  Yes
 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $105.00
          MASTER ARMS & TACTICAL LLC                                          Contingent
          PO BOX 1215                                                         Unliquidated
          SEVERNA PARK, MD 21146                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1221
                                                                             Is the claim subject to offset?    No  Yes




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 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          MASTER TECHNOLOGY INC                                               Contingent
          353 LEWIS JONES ROAD                                                Unliquidated
          HIGH POINT, NC 27265                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7518
                                                                             Is the claim subject to offset?    No  Yes
 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $62,275.34
          MASTERPRINT                                                         Contingent
          8401 TERMINAL ROAD                                                  Unliquidated
          PO BOX 1467                                                         Disputed
          NEWINGTON, VA 22122
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3010                         Is the claim subject to offset?    No  Yes
 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MATTHEW DONOVAN                                                     Contingent
          7005 CANYON RUN DR                                                  Unliquidated
          EL PASO, TX 79912-7615                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7235
                                                                             Is the claim subject to offset?    No  Yes
 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          MATTHEW J. MALLORY                                                  Contingent
          9394 DESTINY USA DR                                                 Unliquidated
          SYRACUSE, NY 13290-7050                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9062
                                                                             Is the claim subject to offset?    No  Yes
 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.00
          MAUREEN N ROGERS                                                    Contingent
          63930 N HIGHWAY 97 UNIT 49                                          Unliquidated
          BEND, OR 97701                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1147
                                                                             Is the claim subject to offset?    No  Yes
 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,865.00
          MAXFIELD, CARL JAY                                                  Contingent
          11279 S HAMETOWN RD                                                 Unliquidated
          COPLEY, OH 44321                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1284
                                                                             Is the claim subject to offset?    No  Yes
 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $57.00
          MBI ENTERPRISES INC                                                 Contingent
          3282 SUNRISE HWY                                                    Unliquidated
          WANTAGH, NY 11793                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1066
                                                                             Is the claim subject to offset?    No  Yes




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 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $450.00
          MCCOMBIE, BRIAN D                                                   Contingent
          504 SOUTH CHERRY AVENUE                                             Unliquidated
          MARSHFIELD, WI 54449-4262                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5959
                                                                             Is the claim subject to offset?    No  Yes
 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $552.21
          MCCORMICK, STEPHEN SANDER                                           Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       4401                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $23.00
          MCDONALD SPORTSMEN'S ASSOCIATI                                      Contingent
          111 NORTH ST                                                        Unliquidated
          MC DONALD, PA 15057-1151                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2133
                                                                             Is the claim subject to offset?    No  Yes
 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,448.75
          MD COMPTROLLER OF THE TREASURY                                      Contingent
          SALES & USE TAX                                                     Unliquidated
          110 CARROLL ST                                                      Disputed
          ANNAPOLIS, MD 21411-0001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2963                         Is the claim subject to offset?    No  Yes
 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MDB EXECUTIVE SERVICES INC                                          Contingent
          1795 OSBORN AVE UNIT 62                                             Unliquidated
          RIVERHEAD, NY 11901-5234                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0558
                                                                             Is the claim subject to offset?    No  Yes
 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $540.00
          MDI IMAGING & MAIL - NON-POSTAGE                                    Contingent
          21955 CASCADES PARKWAY                                              Unliquidated
          DULLES, VA 20166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3282
                                                                             Is the claim subject to offset?    No  Yes
 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          MDL INC                                                             Contingent
          4440 47TH AVE S                                                     Unliquidated
          MINNEAPOLIS, MN 55406                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6850
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.00
          MECHANICSBURG SPORTSMEN'S CLUB                                      Contingent
          6358 BENNINGTON RD                                                  Unliquidated
          MECHANICSBURG, PA 17050-1992                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7892
                                                                             Is the claim subject to offset?    No  Yes
 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,168.75
          MEDIOTYPE LLC                                                       Contingent
          500 DISCOVERY PARKWAY                                               Unliquidated
          SUITE 325                                                           Disputed
          SUPERIOR, CO 80027
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8737                         Is the claim subject to offset?    No  Yes
 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,411.34
          MELTWATER NEWS US INC.                                              Contingent
          DEPT LA 23721                                                       Unliquidated
          PASADENA, CA 91185                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3145
                                                                             Is the claim subject to offset?    No  Yes
 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $14.93
          MELVIN E. LETTEER                                                   Contingent
          2211 MALLARD COURT                                                  Unliquidated
          SHELBYVILLE, KY 40065                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1376
                                                                             Is the claim subject to offset?    No  Yes
 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $135,000.00
          MEMBERSHIP ADVISORS FUNDRAISING
          LLC                                                                 Contingent
          11250 WAPLES MILL RD                                                Unliquidated
          SUITE 310                                                           Disputed
          FAIRFAX, VA 22030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7625                         Is the claim subject to offset?    No  Yes
 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $559,500.00
          MEMBERSHIP ADVISORS PUBLIC
          RELATIONS LLC                                                       Contingent
          11250 WAPLES MILL RD                                                Unliquidated
          SUITE 310                                                           Disputed
          FAIRFAX, VA 22030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7624                         Is the claim subject to offset?    No  Yes
 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,442,775.00
          MEMBERSHIP MARKETING PARTNERS LLC                                   Contingent
          11250 WAPLES MILL RD                                                Unliquidated
          SUITE 310                                                           Disputed
          FAIRFAX, VA 22030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7623                         Is the claim subject to offset?    No  Yes



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 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $204.00
          MEMPHIS SPORT SHOOTING ASSN, I                                      Contingent
          PO BOX 99                                                           Unliquidated
          BRUNSWICK, TN 38014-0099                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5522
                                                                             Is the claim subject to offset?    No  Yes
 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.00
          MENOMONEE FALLS ROD & GUN CLUB                                      Contingent
          20181 W LINCOLN AVE                                                 Unliquidated
          NEW BERLIN, WI 53146-1728                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5426
                                                                             Is the claim subject to offset?    No  Yes
 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $517,226.34
          MERCURY GROUP                                                       Contingent
          1601 NW EXPRESSWAY, STE 1100
          OKLAHOMA CITY, OK 73118
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number       3050                         Basis for the claim:

                                                                             Is the claim subject to offset?    No     Yes
 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $412.67
          MERIDIAN IMAGING SOLUTIONS                                          Contingent
          5775 GENERAL WASHINGTON DRIVE                                       Unliquidated
          ALEXANDRIA, VA 22312                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3750
                                                                             Is the claim subject to offset?    No  Yes
 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,584.11
          MERKLE RESPONSE                                                     Contingent
          100 JAMISON COURT                                                   Unliquidated
          HAGERSTOWN, MD 21740                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3900
                                                                             Is the claim subject to offset?    No  Yes
 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,584.11
          MERKLE RESPONSE SERVICES, INC.                                      Contingent
          100 JAMISON COURT                                                   Unliquidated
          HAGERSTOWN, MD 21740                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3900
                                                                             Is the claim subject to offset?    No  Yes
 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $134.00
          MESA SHOOTING CLUB                                                  Contingent
          2021 SANTA FE DR                                                    Unliquidated
          PUEBLO, CO 81006-2401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1587
                                                                             Is the claim subject to offset?    No  Yes




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 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MESQUITE SHOOTERS PISTOL CLUB                                       Contingent
          PO BOX 654                                                          Unliquidated
          MESQUITE, NV 89024-0654                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6946
                                                                             Is the claim subject to offset?    No  Yes
 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,560.00
          META MEDIA TRAINING INTL INC                                        Contingent
          20251 CENTURY BLVD STE 425                                          Unliquidated
          GERMANTOWN, MD 20874                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7546
                                                                             Is the claim subject to offset?    No  Yes
 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,331.00
          MEYER DARRAGH BUCKLER BEBENEK                                       Contingent
          40 NORTH PENNSYLVANIA AVENUE, SUITE                                 Unliquidated
          410                                                                 Disputed
          GREENSBURG, PA 15601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1330                         Is the claim subject to offset?    No  Yes
 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MIAMI FIREARMS TRAINING, INC                                        Contingent
          15470 SW 147TH ST                                                   Unliquidated
          MIAMI, FL 33196-4626                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5054
                                                                             Is the claim subject to offset?    No  Yes
 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MIAMI SHOOTERS CLUB, LLC                                            Contingent
          1423 SW 107TH AVE                                                   Unliquidated
          MIAMI, FL 33174-2509                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0823
                                                                             Is the claim subject to offset?    No  Yes
 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MICHAEL ANTHONY CORDISCO                                            Contingent
          1859 MASERA CT                                                      Unliquidated
          YUBA CITY, CA 95993-5164                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3380
                                                                             Is the claim subject to offset?    No  Yes
 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,416.66
          MICHAEL BENECKE                                                     Contingent
          5525 N FOSTER PLACE                                                 Unliquidated
          PRESCOTT, AZ 86314, AZ 86314                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0365
                                                                             Is the claim subject to offset?    No  Yes




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 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MICHAEL BIUS                                                        Contingent
          1290 WEST INDIAN TRAIL RD                                           Unliquidated
          APT 8                                                               Disputed
          AURORA, IL 60506
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8502                         Is the claim subject to offset?    No  Yes
 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $323.43
          MICHAEL C. WEBB                                                     Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3719
                                                                             Is the claim subject to offset?    No  Yes
 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          MICHAEL F. ROSS                                                     Contingent
          1254 MILLSTONE SQUARE                                               Unliquidated
          WESTERVILLE, OH 43081                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3081
                                                                             Is the claim subject to offset?    No  Yes
 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MICHAEL FAGAN                                                       Contingent
          2452 STATE LINE RD                                                  Unliquidated
          MARTIN, TN 38237-5938                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0181
                                                                             Is the claim subject to offset?    No  Yes
 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MICHAEL GRIMLER                                                     Contingent
          27 SEIS CORAZONES                                                   Unliquidated
          ESPANOLA, NM 87532-3180                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6452
                                                                             Is the claim subject to offset?    No  Yes
 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $112.00
          MICHAEL HAMILTON                                                    Contingent
          2654 ASH ST                                                         Unliquidated
          PHILADELPHIA, PA 19137-2146                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6910
                                                                             Is the claim subject to offset?    No  Yes
 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          MICHAEL KOVALYK                                                     Contingent
          3 WASHINGTON SQ APT 2E                                              Unliquidated
          LARCHMONT, NY 10538-2023                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6913
                                                                             Is the claim subject to offset?    No  Yes




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 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          MICHAEL MITTELMAN                                                   Contingent
          86 SLOGANEER TRL                                                    Unliquidated
          PALM COAST, FL 32164-5324                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5152
                                                                             Is the claim subject to offset?    No  Yes
 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          MICHAEL NANNIE                                                      Contingent
          10209 36TH AVENUE SW                                                Unliquidated
          SEATTLE, WA 98146                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1228
                                                                             Is the claim subject to offset?    No  Yes
 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          MICHAEL P SLEVNIK                                                   Contingent
          7834 W 95TH ST                                                      Unliquidated
          HICKORY HILLS, IL 60457-2221                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7045
                                                                             Is the claim subject to offset?    No  Yes
 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          MICHAEL PAKAY                                                       Contingent
          190 W EMERSON AVE                                                   Unliquidated
          RAHWAY, NJ 07065-3147                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5920
                                                                             Is the claim subject to offset?    No  Yes
 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          MICHAEL WILLETT                                                     Contingent
          10381 W 12TH AVE                                                    Unliquidated
          LAKEWOOD, CO 80215-4504                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8778
                                                                             Is the claim subject to offset?    No  Yes
 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $106,700.00
          MICHEL & ASSOCIATES PC                                              Contingent
          180 EAXT OCEAN BOULEVARD                                            Unliquidated
          SUITE 200
          LONG BEACH, CA 90802                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number       3950                         Is the claim subject to offset?    No  Yes
 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          MICHEL POTOP                                                        Contingent
          1734 RODMAN ST                                                      Unliquidated
          APT 1                                                               Disputed
          HOLLYWOOD, FL 33020
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4244                         Is the claim subject to offset?    No  Yes




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 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $21.00
          MICHIGAN CITY RIFLE CLUB                                            Contingent
          PO BOX 8586                                                         Unliquidated
          MICHIGAN CITY, IN 46361-8586                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5884
                                                                             Is the claim subject to offset?    No  Yes
 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          MICHIGAN GUN OWNERS                                                 Contingent
          PO BOX 153                                                          Unliquidated
          DEARBORN HEIGHT, MI 48127-0153                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4522
                                                                             Is the claim subject to offset?    No  Yes
 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $21.00
          MID CAROLINA RIFLE CLUB                                             Contingent
          PO BOX 5997                                                         Unliquidated
          COLUMBIA, SC 29250-5997                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8534
                                                                             Is the claim subject to offset?    No  Yes
 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,099.00
          MID-ATLANTIC PRINTERS LIMITED                                       Contingent
          503 THIRD STREET                                                    Unliquidated
          ALTAVISTA, VA 24517                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0823
                                                                             Is the claim subject to offset?    No  Yes
 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.69
          MIKE DEKIN                                                          Contingent
          337 S. JAMES STREET                                                 Unliquidated
          WEATHERLY, PA 18255-1518                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1270
                                                                             Is the claim subject to offset?    No  Yes
 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          MILFORD GUN CLUB                                                    Contingent
          465 BLOSSOM LANE                                                    Unliquidated
          CINCINNATI, OH 45244                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5417
                                                                             Is the claim subject to offset?    No  Yes
 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,221.23
          MILLER'S SUPPLIES AT WORK INC                                       Contingent
          PO BOX 1335                                                         Unliquidated
          NEWINGTON, VA 22122                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1537
                                                                             Is the claim subject to offset?    No  Yes




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 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $736.72
          MILLER, BILL                                                        Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       6022                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          MINTTU E SALAKKA                                                    Contingent
          17760 6TH ST                                                        Unliquidated
          FLORALA, AL 36442-4138                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5525
                                                                             Is the claim subject to offset?    No  Yes
 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          MISHA TACTICAL ARMS INC                                             Contingent
          318 W HALF DAY RD #299                                              Unliquidated
          BUFFALO GROVE, IL 60089-6547                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9657
                                                                             Is the claim subject to offset?    No  Yes
 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $101.00
          MISSISSIPPI VALLEY GUN CLUB                                         Contingent
          5181 STATE ROUTE 3                                                  Unliquidated
          ELLIS GROVE, IL 62241-1711                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0996
                                                                             Is the claim subject to offset?    No  Yes
 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MOHAWK RIFLE & PISTOL CLUB, IN                                      Contingent
          260 ZIMMERMAN BLVD                                                  Unliquidated
          KENMORE, NY 14223-1022                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1822
                                                                             Is the claim subject to offset?    No  Yes
 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          MOLALLA RIFLE CLUB                                                  Contingent
          PO BOX 696                                                          Unliquidated
          MOLALLA, OR 97038-0696                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8988
                                                                             Is the claim subject to offset?    No  Yes
 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          MONMOUTH COUNTY RIFLE & PISTOL                                      Contingent
          101 BRANDYWINE                                                      Unliquidated
          BRICK, NJ 08724                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8813
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $66.00
          MONMOUTH FISH & GAME ASSOC.                                         Contingent
          PO BOX 502                                                          Unliquidated
          MONMOUTH, ME 04259-0502                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9568
                                                                             Is the claim subject to offset?    No  Yes
 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.00
          MONROE-CHESTER SPORTSMEN'S CLU                                      Contingent
          PO BOX 72                                                           Unliquidated
          HARRIMAN, NY 10926                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5102
                                                                             Is the claim subject to offset?    No  Yes
 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,864.00
          MONTANA SILVERSMITHS INC                                            Contingent
          1 STERLING LANE                                                     Unliquidated
          COLUMBUS, MT 59019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1158
                                                                             Is the claim subject to offset?    No  Yes
 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          MONUMENTAL RIFLE & PISTOL CLUB                                      Contingent
          341 WHITFIELD RD                                                    Unliquidated
          BALTIMORE, MD 21228-1808                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6633
                                                                             Is the claim subject to offset?    No  Yes
 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,520.00
          MORTON RIFLE & PISTOL CLUB                                          Contingent
          P.O. BOX 404                                                        Unliquidated
          MORTON, WA 98356                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1204
                                                                             Is the claim subject to offset?    No  Yes
 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MOUNTAIN VALLEY SPORTSMANS CLU                                      Contingent
          41 LA GRANJA CIR                                                    Unliquidated
          HOT SPRINGS, AR 71909-2652                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1557
                                                                             Is the claim subject to offset?    No  Yes
 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          MSF ARMORY LLC                                                      Contingent
          18735 E COLONIAL DR STE 108                                         Unliquidated
          ORLANDO, FL 32820                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3046
                                                                             Is the claim subject to offset?    No  Yes




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 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.71
          MURRAY LAWRENCE                                                     Contingent
          10950 W. UNION HILLS DRIVE                                          Unliquidated
          SUN CITY, AZ 85373                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1296
                                                                             Is the claim subject to offset?    No  Yes
 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          MURRAY SCHWARTZ                                                     Contingent
          623 SW 316TH STREET                                                 Unliquidated
          FEDERAL WAY, WA 98023                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1263
                                                                             Is the claim subject to offset?    No  Yes
 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $427.18
          MY INC.                                                             Contingent
          3301 MT. VERNON AVENUE                                              Unliquidated
          ALEXANDRIA, VA 22305                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1759
                                                                             Is the claim subject to offset?    No  Yes
 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          NASHUA FISH AND GAME ASSOCIATI                                      Contingent
          353 PINE HILL RD                                                    Unliquidated
          HOLLIS, NH 03049-5949                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1637
                                                                             Is the claim subject to offset?    No  Yes
 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $357.75
          NATIONAL BUSINESS INSTITUTE                                         Contingent
          1218 MCCANN DR                                                      Unliquidated
          ALTOONA, WI 54720                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4355
                                                                             Is the claim subject to offset?    No  Yes
 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $330.99
          NATIONAL TARGET COMPANY INC                                         Contingent
          3958-D DARTMOUTH COURT                                              Unliquidated
          FREDERICK, MD 21703-7805                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0095
                                                                             Is the claim subject to offset?    No  Yes
 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,890.00
          NATIONBUILDER                                                       Contingent
          448 S HILL STREET, STE 200                                          Unliquidated
          LOS ANGELES, CA 90113                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0370
                                                                             Is the claim subject to offset?    No  Yes




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 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,000.00
          NATL FOUND FOR WOMEN LEGIS INC                                      Contingent
          910 16TH ST. NW                                                     Unliquidated
          STE. 100                                                            Disputed
          WASHINGTON, DC 20006
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3205                         Is the claim subject to offset?    No  Yes
 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,148.36
          NAVISTAR DIRECT MARKETING LLC                                       Contingent
          15325 LAWMONT ST                                                    Unliquidated
          NORTH LAWRENCE, OH 44666                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7354
                                                                             Is the claim subject to offset?    No  Yes
 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          NEBRASKA SHOOTERS LLC                                               Contingent
          3200 GAGE RD                                                        Unliquidated
          FIRTH, NE 68358-6198                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7533
                                                                             Is the claim subject to offset?    No  Yes
 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $203.54
          NEIL C. OLSON                                                       Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4737
                                                                             Is the claim subject to offset?    No  Yes
 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          NESSMUK ROD AND GUN CLUB                                            Contingent
          PO BOX 228                                                          Unliquidated
          WELLSBORO, PA 16901-0228                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9574
                                                                             Is the claim subject to offset?    No  Yes
 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $185.88
          NESTLE WATERS NORTH AMERICA                                         Contingent
          PO BOX 856192                                                       Unliquidated
          LOUISVILLE, KY 40285                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4327
                                                                             Is the claim subject to offset?    No  Yes
 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          NEVADA FIREARMS COALITION                                           Contingent
          5575 SIMMONS ST STE 1-176                                           Unliquidated
          N LAS VEGAS, NV 89031-9009                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6891
                                                                             Is the claim subject to offset?    No  Yes




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 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          NEW FRONTIER ARMORY LLC                                             Contingent
          150 E CENTENNIAL PKWY STE 110                                       Unliquidated
          N LAS VEGAS, NV 89084                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1278
                                                                             Is the claim subject to offset?    No  Yes
 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          NEW HAVEN SPORTSMAN'S CLUB                                          Contingent
          4158 DURHAM RD                                                      Unliquidated
          GUILFORD, CT 06437-1041                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1224
                                                                             Is the claim subject to offset?    No  Yes
 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $51.00
          NEW MEXICO BIG HORN GUN CLUB                                        Contingent
          PO BOX 30850                                                        Unliquidated
          ALBUQUERQUE, NM 87190-0850                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2822
                                                                             Is the claim subject to offset?    No  Yes
 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $184.62
          NEW MEXICO CHILD SUPPORT
          ENFORCEMENT DIV                                                     Contingent
          CSED/CASH PROCESSING                                                Unliquidated
          PO BOX 25109                                                        Disputed
          ALBUQUERQUE, NM 87125
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9632                         Is the claim subject to offset?    No  Yes
 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          NEWBERG RIFLE AND PISTOL CLUB                                       Contingent
          15955 NE QUARRY RD                                                  Unliquidated
          NEWBERG, OR 97132                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0200
                                                                             Is the claim subject to offset?    No  Yes
 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,545.56
          NEWPORT GROUP INC (457B)                                            Contingent
          1350 TREAT BOULEVARD, SUIT                                          Unliquidated
          WALNUT CREEK, CA 94597-7959                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6839
                                                                             Is the claim subject to offset?    No  Yes
 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $216.00
          NEWPORT RIFLE CLUB INC.                                             Contingent
          PO BOX 4366                                                         Unliquidated
          MIDDLETOWN, RI 02842-0366                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5296
                                                                             Is the claim subject to offset?    No  Yes




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 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,750.00
          NEXTOPIA SOFTWARE CORPORATION                                       Contingent
          260 KING ST EAST                                                    Unliquidated
          SUITE A200                                                          Disputed
          TORONTO, ON M5A4L5
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9194                         Is the claim subject to offset?    No  Yes
 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $97.00
          NIANTIC SPORTSMANS CLUB                                             Contingent
          PO BOX 1195                                                         Unliquidated
          WESTBROOK, CT 06498-1195                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3291
                                                                             Is the claim subject to offset?    No  Yes
 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $275.00
          NICHOLAS A MERLINO                                                  Contingent
          7339 GARMAN ST                                                      Unliquidated
          PHILADELPHIA, PA 19153-2208                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9498
                                                                             Is the claim subject to offset?    No  Yes
 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          NICOLET RIFLE CLUB INC.                                             Contingent
          468 EDWARD DR                                                       Unliquidated
          GREEN BAY, WI 54302-5120                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9120
                                                                             Is the claim subject to offset?    No  Yes
 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,860.92
          NIMBUS NOW LLC                                                      Contingent
          601 CLEVELAND ST                                                    Unliquidated
          SUITE 501                                                           Disputed
          CLEARWATER, FL 33755
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1285                         Is the claim subject to offset?    No  Yes
 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,384.80
          NINE LINE APPAREL INC                                               Contingent
          450 FORT ARGYLE RD                                                  Unliquidated
          SAVANNAH, GA 31419                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8834
                                                                             Is the claim subject to offset?    No  Yes
 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          NORFOLK COUNTY RIFLE RANGE, IN                                      Contingent
          PO BOX 6641                                                         Unliquidated
          CHESAPEAKE, VA 23323-0641                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2280
                                                                             Is the claim subject to offset?    No  Yes




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 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          NORTH ALABAMA FIREARMS TRAININ                                      Contingent
          13518 SWEET PEA ST                                                  Unliquidated
          ATHENS, AL 35613-8246                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7780
                                                                             Is the claim subject to offset?    No  Yes
 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          NORTH LAWRENCE FISH & GAME                                          Contingent
          PO BOX 41                                                           Unliquidated
          NORTH LAWRENCE, OH 44666-0041                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0738
                                                                             Is the claim subject to offset?    No  Yes
 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $108.00
          NORTHERN CHESTER COUNTY SPORTM                                      Contingent
          PO BOX 2                                                            Unliquidated
          ELVERSON, PA 19520-0002                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9542
                                                                             Is the claim subject to offset?    No  Yes
 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          NORTHERN ILLINOIS RIFLE AND PI                                      Contingent
          PO BOX 1104                                                         Unliquidated
          ROCKFORD, IL 61105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0473
                                                                             Is the claim subject to offset?    No  Yes
 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $126.00
          NORTHWESTERN GUN CLUB                                               Contingent
          PO BOX 4                                                            Unliquidated
          DULUTH, MN 55801-0004                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0682
                                                                             Is the claim subject to offset?    No  Yes
 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          NRA MEMBERS COUNCIL OF GREATER                                      Contingent
          16223 OAK SPRINGS DR                                                Unliquidated
          RAMONA, CA 92065-4220                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2986
                                                                             Is the claim subject to offset?    No  Yes
 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $14.00
          NRA MEMBERS COUNCIL OF HUNTING                                      Contingent
          5271 MEADOWLARK DR.                                                 Unliquidated
          HUNTINGTON BEAC, CA 92649-2639                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9808
                                                                             Is the claim subject to offset?    No  Yes




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 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          NRA MEMBERS COUNCIL OF INLAND                                       Contingent
          PO BOX 9644                                                         Unliquidated
          SAN BERNARDINO, CA 92427-0644                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0157
                                                                             Is the claim subject to offset?    No  Yes
 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          NRA MEMBERS' COUNCIL OF ALAMED                                      Contingent
          1208 MORGAN AVE                                                     Unliquidated
          SAN LEANDRO, CA 94577-3825                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8839
                                                                             Is the claim subject to offset?    No  Yes
 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.00
          NRA/ILA                                                             Contingent
          11250 WAPLES MILLS ROAD                                             Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9836
                                                                             Is the claim subject to offset?    No  Yes
 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $84.00
          NSA INVESTIGATIONS LLC                                              Contingent
          1202 MONROE ST                                                      Unliquidated
          ENDICOTT, NY 13760                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1104
                                                                             Is the claim subject to offset?    No  Yes
 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $376,330.88
          NUCOM, LTD                                                          Contingent
          5612 INTERNATIONAL PARKWAY                                          Unliquidated
          NEW HOPE, MN 55428-3047                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6331
                                                                             Is the claim subject to offset?    No  Yes
 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $173.00
          NUGENT, JOHNNY                                                      Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1724                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,964.00
          NXTBOOK MEDIA LLC                                                   Contingent
          480 NEW HOLLAND AVE                                                 Unliquidated
          SUITE 9000                                                          Disputed
          LANCASTER, PA 17602
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       5581                         Is the claim subject to offset?    No  Yes




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 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $240.00
          O'CONNELL, DEBORAH                                                  Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       2976                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,784.00
          O'NEIL, CANNON, HOLLMAN, DEJONG &
          LAING                                                               Contingent
          111 E WISCONSIN AVE                                                 Unliquidated
          SUITE 1400                                                          Disputed
          MILWAUKEE, WI 53202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0636                         Is the claim subject to offset?    No  Yes
 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $59.00
          OAK HILL GUN CLUB                                                   Contingent
          12364 COON HUNTER ROAD                                              Unliquidated
          BLUE GRASS, IA 52726                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0048
                                                                             Is the claim subject to offset?    No  Yes
 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          OAKDALE GUN CLUB                                                    Contingent
          10386 N 10TH ST                                                     Unliquidated
          LAKE ELMO, MN 55042                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1382
                                                                             Is the claim subject to offset?    No  Yes
 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,660.51
          OBRIEN, CLIFF                                                       Contingent
          PO BOX 37                                                           Unliquidated
          STRATTON, OH 43961                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1214
                                                                             Is the claim subject to offset?    No  Yes
 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          OCELOT18 LLC                                                        Contingent
          1035 S. FEDERAL HIGHWAY UNIT 414                                    Unliquidated
          DELRAY BEACH, FL 33483                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9928
                                                                             Is the claim subject to offset?    No  Yes
 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,700.00
          OCONNOR, KEVIN M                                                    Contingent
          2701 14 MILE RD NE                                                  Unliquidated
          SPARTA, MI 49345                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1277
                                                                             Is the claim subject to offset?    No  Yes




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 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,001.00
          OFF DUTY MANAGEMENT INC                                             Contingent
          1908 AVENUE D, A100                                                 Unliquidated
          KATY, TX 77493                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0895
                                                                             Is the claim subject to offset?    No  Yes
 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,142.58
          OHIO STATE TREASURER                                                Contingent
          PO BOX 16561                                                        Unliquidated
          COLUMBUS, OH 43266-0061                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8684
                                                                             Is the claim subject to offset?    No  Yes
 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          OHIOANS FOR CONCEAL AND CARRY                                       Contingent
          9821 FIRESTONE LN                                                   Unliquidated
          MACEDONIA, OH 44056-1544                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2962
                                                                             Is the claim subject to offset?    No  Yes
 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,020.00
          OKLAHOMA CITY GUN CLUB                                              Contingent
          PO BOX 21067                                                        Unliquidated
          OKLAHOMA CITY, OK 73156-1067                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5561
                                                                             Is the claim subject to offset?    No  Yes
 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $288.00
          OLEY VALLEY FISH & GAME ASSOC.                                      Contingent
          114 OLD STATE RD                                                    Unliquidated
          READING, PA 19606-9353                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5310
                                                                             Is the claim subject to offset?    No  Yes
 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $134.53
          OLSEN, CHRISTOPHER                                                  Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       4392                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          ORCHARD MESA GUN CLUB                                               Contingent
          18205 HIGHWAY 141                                                   Unliquidated
          WHITEWATER, CO 81527-9739                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1231
                                                                             Is the claim subject to offset?    No  Yes




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 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          OREGON STATE UNIVERSITY                                             Contingent
          PO BOX 1086                                                         Unliquidated
          CORVALLIS, OR 97339-1086                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1046
                                                                             Is the claim subject to offset?    No  Yes
 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $7.82
          ORVILLE GREATHOUSE                                                  Contingent
          4583 S. 300 E.                                                      Unliquidated
          OGDEN, UT 84405                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1060
                                                                             Is the claim subject to offset?    No  Yes
 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $707.06
          OSHINK INC                                                          Contingent
          539 OAK ST                                                          Unliquidated
          COPIAGUE, NY 11726                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0490
                                                                             Is the claim subject to offset?    No  Yes
 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,307.68
          OUTDOOR CHANNEL                                                     Contingent
          43445 BUSINESS PARK DR #103                                         Unliquidated
          TEMECULA, CA 92590                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1917
                                                                             Is the claim subject to offset?    No  Yes
 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $64.00
          OUTDOOR SHENANIGANS LLC                                             Contingent
          7939 E BAYBERRY LAND                                                Unliquidated
          FLORAL CITY, FL 34436                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4641
                                                                             Is the claim subject to offset?    No  Yes
 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          OUTDOOR SPORTSMAN CLUB OF MITC                                      Contingent
          PO BOX 144                                                          Unliquidated
          MITCHELL, IN 47446-0144                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1201
                                                                             Is the claim subject to offset?    No  Yes
 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          P.K. ARMS, INC.                                                     Contingent
          102 S WATER ST                                                      Unliquidated
          WILMINGTON, IL 60481-1372                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2398
                                                                             Is the claim subject to offset?    No  Yes




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 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          PA CONTINUING LEGAL EDUCATION
          BOARD                                                               Contingent
          601 COMMONWEALTH AVE                                                Unliquidated
          Suite 3400                                                          Disputed
          HARRISBURG, PA 17106
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6956                         Is the claim subject to offset?    No  Yes
 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          PAC OUTSOURCING LLC                                                 Contingent
          5845 RICHMOND HIGHWAY                                               Unliquidated
          STE 820                                                             Disputed
          ALEXANDRIA, VA 22303
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6144                         Is the claim subject to offset?    No  Yes
 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          PACHAUG OUTDOOR CLUB INC.                                           Contingent
          507 CANTERBURY TPKE                                                 Unliquidated
          NORWICH, CT 06360-1371                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5469
                                                                             Is the claim subject to offset?    No  Yes
 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $125.44
          PADUCAH-MCCRACKEN COUNTY                                            Contingent
          CONVENTION AND                                                      Unliquidated
          415 PARK ST                                                         Disputed
          PADUCAH, KY 42001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1309                         Is the claim subject to offset?    No  Yes
 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $53,495.91
          PALM COAST DATA INC                                                 Contingent
          11 COMMERCE BOULEVARD                                               Unliquidated
          PALM COAST, FL 32164-7961                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5876
                                                                             Is the claim subject to offset?    No  Yes
 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $22.00
          PAMELA GRAHAM                                                       Contingent
          17020 N. SUNNYVALE DR.                                              Unliquidated
          WALLA WALLA, WA 99362-6260                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1262
                                                                             Is the claim subject to offset?    No  Yes
 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PARABELLUM SPORTING GOODS LLC                                       Contingent
          1955 SWARTHMORE AVE                                                 Unliquidated
          STE 5                                                               Disputed
          LAEKWOOD, NJ 08701-4557
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3181                         Is the claim subject to offset?    No  Yes




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 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          PARADISE ROD AND GUN CLUB INC.                                      Contingent
          PO BOX 1081                                                         Unliquidated
          PARADISE, CA 95967-1081                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5380
                                                                             Is the claim subject to offset?    No  Yes
 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,000.00
          PARAMETER LLC                                                       Contingent
          223 SALT LICK ROAD, SUITE 220                                       Unliquidated
          SAINT PETERS, MO 63376                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5139
                                                                             Is the claim subject to offset?    No  Yes
 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $69,769.43
          PARTNERS CONTRACTING INC                                            Contingent
          22710 EXECUTIVE DRIVE                                               Unliquidated
          STERLING, VA 20166                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5392
                                                                             Is the claim subject to offset?    No  Yes
 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          PATRICK HENRY COLLEGE                                               Contingent
          10 PATRICK HENRY CIRCLE                                             Unliquidated
          PURCELLVILLE, VA 20132                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7022
                                                                             Is the claim subject to offset?    No  Yes
 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $31.00
          PATRIOT OUTDOORS, LLC                                               Contingent
          3842 WITCHERVILLE RD                                                Unliquidated
          GREENWOOD, AR 72936                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3204
                                                                             Is the claim subject to offset?    No  Yes
 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PATRIOT TRAINING AND CONSULTIN                                      Contingent
          PO BOX 4202                                                         Unliquidated
          JACKSONVILLE, NC 28540-0202                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7685
                                                                             Is the claim subject to offset?    No  Yes
 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PAUL CHAFFEE                                                        Contingent
          8692 MORENO MOUNTAIN AVE                                            Unliquidated
          LAS VEGAS, NV 89178-7500                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8957
                                                                             Is the claim subject to offset?    No  Yes




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 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          PAUL DIMARTINO                                                      Contingent
          6938 W HIGGINS                                                      Unliquidated
          CHICAGO, IL 60630                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9360
                                                                             Is the claim subject to offset?    No  Yes
 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PAUL MURCH, JR                                                      Contingent
          112 MCCOSH DR                                                       Unliquidated
          CHESAPEAKE, VA 23320-6050                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8014
                                                                             Is the claim subject to offset?    No  Yes
 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PAUL SMITH                                                          Contingent
          11 DAIRY HILL RD                                                    Unliquidated
          NEW MILFORD, CT 06776-3146                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2005
                                                                             Is the claim subject to offset?    No  Yes
 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          PAW PAW CONSERVATION CLUB                                           Contingent
          PO BOX 342                                                          Unliquidated
          PAW PAW, MI 49079-0342                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3438
                                                                             Is the claim subject to offset?    No  Yes
 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,166.75
          PAXTON RECORD RETENTION INC                                         Contingent
          5280 PORT ROYAL ROAD                                                Unliquidated
          SPRINGFIELD, VA 22151                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       694
                                                                             Is the claim subject to offset?    No  Yes
 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          PC TEK                                                              Contingent
          4168 ALABAMA AVE APT D                                              Unliquidated
          LOS ALAMOS, NM 87544                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4121
                                                                             Is the claim subject to offset?    No  Yes
 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $55.00
          PEARLAND SPORTSMAN'S CLUB                                           Contingent
          4109 GRIMES ST                                                      Unliquidated
          HOUSTON, TX 77087-1321                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5443
                                                                             Is the claim subject to offset?    No  Yes




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 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $810.00
          PECONIC RIVER SPORTSMAN'S CLUB                                      Contingent
          223 MAPLE AVE                                                       Unliquidated
          EAST MEADOW, NY 11554-2844                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5790
                                                                             Is the claim subject to offset?    No  Yes
 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PELCHERS SHOOTING SUPPLY INC                                        Contingent
          18149 GREENWOOD ST                                                  Unliquidated
          LANSING, IL 60438-2301                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0733
                                                                             Is the claim subject to offset?    No  Yes
 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          PELHAM FISH AND GAME CLUB, INC                                      Contingent
          PO BOX 917                                                          Unliquidated
          PELHAM, NH 03076-0917                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4609
                                                                             Is the claim subject to offset?    No  Yes
 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $11.00
          PENN HARRIS GUN CLUB                                                Contingent
          PO BOX 7557                                                         Unliquidated
          HARRISBURG, PA 17113-0557                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6471
                                                                             Is the claim subject to offset?    No  Yes
 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $48,420,214.00
          PENSION BENEFIT GUARANTY                                            Contingent
          CORPORATION                                                         Unliquidated
          PO BOX 151750
                                                                              Disputed
          ALEXANDRIA, VA 22315-1750
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,115.00
          PERFECT FIT LLC                                                     Contingent
          PO BOX 439                                                          Unliquidated
          39 STETSON RD                                                       Disputed
          CORINNA, ME 04928
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3744                         Is the claim subject to offset?    No  Yes
 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PERRY TOWNSHIP GAME ASSOCIATIO                                      Contingent
          11 TEDWAY AVE                                                       Unliquidated
          KUTZTOWN, PA 19530-9080                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3244
                                                                             Is the claim subject to offset?    No  Yes




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 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $75.00
          PERSONAL PROTECTION INSTITUTE                                       Contingent
          109 FOREST RD                                                       Unliquidated
          BANGOR, PA 18013-5352                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9216
                                                                             Is the claim subject to offset?    No  Yes
 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $200.00
          PETER MORRIS                                                        Contingent
          5834 SPRING CROWN                                                   Unliquidated
          SAN ANTONIO, TX 78247                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1358
                                                                             Is the claim subject to offset?    No  Yes
 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $200.00
          PETER S. LEWIS                                                      Contingent
          928 RANDALL ROAD                                                    Unliquidated
          GILLETT, PA 16925                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1359
                                                                             Is the claim subject to offset?    No  Yes
 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          PFI, LLC                                                            Contingent
          1614 16TH ST                                                        Unliquidated
          MILFORD, IA 51351-1800                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6163
                                                                             Is the claim subject to offset?    No  Yes
 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,475.00
          PG CALC INCORPORATED                                                Contingent
          129 MOUNT AUBURN STREET                                             Unliquidated
          CAMBRIDGE, MA 02138                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1422
                                                                             Is the claim subject to offset?    No  Yes
 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          PHASE 3 TRAINING INC                                                Contingent
          30 OAKLEY DR                                                        Unliquidated
          HUNTINGTON STAT, NY 11746-3116                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0119
                                                                             Is the claim subject to offset?    No  Yes
 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PHIL MCFALL                                                         Contingent
          528 E 5TH ST                                                        Unliquidated
          LEADVILLE, CO 80461-3108                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4420
                                                                             Is the claim subject to offset?    No  Yes




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 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          PHILIP PECK                                                         Contingent
          45 CLAUDETTE CIR                                                    Unliquidated
          FRAMINGHAM, MA 01701-3848                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9620
                                                                             Is the claim subject to offset?    No  Yes
 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PHILLIP LANDTISER                                                   Contingent
          9217 LEASIDE DR                                                     Unliquidated
          DALLAS, TX 75238-2816                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4591
                                                                             Is the claim subject to offset?    No  Yes
 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $187.00
          PHILLIP WULZ                                                        Contingent
          854 OAKLAWN DR                                                      Unliquidated
          TUTTLE, OK 73089-7496                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1960
                                                                             Is the claim subject to offset?    No  Yes
 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $975.00
          PHILLIPS, PHILLIP M                                                 Contingent
          PO BOX 786                                                          Unliquidated
          MONTROSE, CO 81402                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1228
                                                                             Is the claim subject to offset?    No  Yes
 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $733.51
          PIMA COUNTY                                                         Contingent
          33 N STONE MAIL STOP DT-BAB6-401                                    Unliquidated
          TUCSON, AZ 85701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1275
                                                                             Is the claim subject to offset?    No  Yes
 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $96.00
          PINE TREE RIFLE CLUB                                                Contingent
          257 COUNTY HIGHWAY 154                                              Unliquidated
          GLOVERSVILLE, NY 12078-6015                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3332
                                                                             Is the claim subject to offset?    No  Yes
 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          PINELLAS FIREARMS TRAINING, LL                                      Contingent
          6620 97TH AVE N                                                     Unliquidated
          PINELLAS PARK, FL 33782                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0798
                                                                             Is the claim subject to offset?    No  Yes




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 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PIONEER GUN CLUB                                                    Contingent
          PO BOX 18546                                                        Unliquidated
          RAYTOWN, MO 64133-8546                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8501
                                                                             Is the claim subject to offset?    No  Yes
 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          PISCATAQUA FISH AND GAME CLUB                                       Contingent
          PO BOX 722                                                          Unliquidated
          PORTSMOUTH, NH 03802-0722                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9467
                                                                             Is the claim subject to offset?    No  Yes
 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $385.00
          PLANTWORKS INC                                                      Contingent
          3612 EAST STREET                                                    Unliquidated
          LANDOVER, MD 20785                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2625
                                                                             Is the claim subject to offset?    No  Yes
 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          PONCA CITY RIFLE & PISTOL CLUB                                      Contingent
          PO BOX 708                                                          Unliquidated
          PONCA CITY, OK 74602-0708                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8794
                                                                             Is the claim subject to offset?    No  Yes
 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          POPLAR BLUFF GUN CLUB                                               Contingent
          PO BOX 3926                                                         Unliquidated
          POPLAR BLUFF, MO 63902-3926                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7112
                                                                             Is the claim subject to offset?    No  Yes
 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,308.00
          PORT MALABAR RIFLE & PISTOL CL                                      Contingent
          250 YELLOWSTONE AVE NE                                              Unliquidated
          PALM BAY, FL 32907-2515                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5408
                                                                             Is the claim subject to offset?    No  Yes
 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $207.10
          PORTER, JAMES W. II                                                 Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       3589                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $20.00
          PORTLAND RIFLE & PISTOL CLUB                                        Contingent
          6130 NE HASSALO ST                                                  Unliquidated
          PORTLAND, OR 97213-4346                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5638
                                                                             Is the claim subject to offset?    No  Yes
 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $348.24
          POTOMAC PURE WATER, INC.                                            Contingent
          7901-S BEECHCRAFT AVE                                               Unliquidated
          GAITHERSBURG, MD 20879                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3784
                                                                             Is the claim subject to offset?    No  Yes
 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,200.00
          POWER AISLE, INC.                                                   Contingent
          588 CLAUVERWIE RD                                                   Unliquidated
          MIDDLEBURG, NY 12122                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2965
                                                                             Is the claim subject to offset?    No  Yes
 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PRACTICAL TACTICAL FIREARMS                                         Contingent
          5560 WESTFORK RD                                                    Unliquidated
          CINCINNATI, OH 45247                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1253
                                                                             Is the claim subject to offset?    No  Yes
 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PRECISION FIREARMS TRAINING IN                                      Contingent
          1630 GRAHAM ST                                                      Unliquidated
          FRANKLIN, IN 46131-9723                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5460
                                                                             Is the claim subject to offset?    No  Yes
 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $46,295.00
          PREMIER PINS                                                        Contingent
          14110-D SULLYFIELD CIRCLE                                           Unliquidated
          CHANTILLY, VA 20151                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6971
                                                                             Is the claim subject to offset?    No  Yes
 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,390.00
          PREMIUM LAWN CARE SERVICES INC                                      Contingent
          12329 BRADDOCK RD                                                   Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0309
                                                                             Is the claim subject to offset?    No  Yes




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 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          PRESERVE RANGE MANAGEMENT LLC                                       Contingent
          87 KINGSTOWN RD                                                     Unliquidated
          WYOMING, RI 02898                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1145
                                                                             Is the claim subject to offset?    No  Yes
 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $176.56
          PRINTZ, JAY                                                         Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       0262                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $175.00
          PROFILE RESEARCH INC                                                Contingent
          PO BOX 303                                                          Unliquidated
          ROWLEY, MA 01969                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2587
                                                                             Is the claim subject to offset?    No  Yes
 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $778.00
          PROJECTILE MARKETING LLC                                            Contingent
          PO BOX 1160                                                         Unliquidated
          BIRMINGHAM, MI 48012                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0765
                                                                             Is the claim subject to offset?    No  Yes
 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $43,971.53
          PROLIST
          PROFESSIONAL DATA SERVICES                                          Contingent
          4510 BUCKEYSTOWN PIKE                                               Unliquidated
          SUITE M                                                             Disputed
          FREDERICK, MD 21703
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6016                         Is the claim subject to offset?    No  Yes
 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          PROMOTIONS PERFECTED INC                                            Contingent
          2 N MAIN ST                                                         Unliquidated
          HOLLAND, NY 14080-9509                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0358
                                                                             Is the claim subject to offset?    No  Yes
 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,059.20
          PS PRODUCTS, INC.                                                   Contingent
          3120 JOSHUA ST                                                      Unliquidated
          LITTLE ROCK, AR 72204                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1590
                                                                             Is the claim subject to offset?    No  Yes




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 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $44.00
          PUEBLO MUNICIPAL SHOOTERS, INC                                      Contingent
          PO BOX 4527                                                         Unliquidated
          PUEBLO, CO 81003-0527                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0075
                                                                             Is the claim subject to offset?    No  Yes
 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,878.56
          PYRAMEX SAFETY PRODUCTS, LLC                                        Contingent
          305 Keough Drive                                                    Unliquidated
          Piperton, TN 38017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0975
                                                                             Is the claim subject to offset?    No  Yes
 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $74.00
          QUIVERA GUN CLUB                                                    Contingent
          820 MOUNDVIEW AV                                                    Unliquidated
          SALINA, KS 67401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1109
                                                                             Is the claim subject to offset?    No  Yes
 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $63.82
          R & D STAMP & SIGN COMPANY                                          Contingent
          7200 TELEGRAPH SQUARE DR.                                           Unliquidated
          SUITE N                                                             Disputed
          LORTON, VA 22079-1500
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1501                         Is the claim subject to offset?    No  Yes
 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,986.89
          R.F.S.J. INC                                                        Contingent
          105 QUARRY STREET                                                   Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       7817                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          R.W. BEYER ENTERPRISES, INC.                                        Contingent
          494 STATE STREET                                                    Unliquidated
          SUITE 200                                                           Disputed
          SALEM, OR 97301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4571                         Is the claim subject to offset?    No  Yes
 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,404.25
          RACHEL SCREEN PRINTING                                              Contingent
          40 CLAREMONT DR                                                     Unliquidated
          PORTSMOUTH, VA 23701                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9957
                                                                             Is the claim subject to offset?    No  Yes




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 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $66.95
          RACHELLE TROUT                                                      Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4759
                                                                             Is the claim subject to offset?    No  Yes
 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          RACINE COUNTY LINE RIFLE CLUB                                       Contingent
          7504 S CRANE DR                                                     Unliquidated
          OAK CREEK, WI 53154-2446                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8767
                                                                             Is the claim subject to offset?    No  Yes
 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,765.18
          RACKSPACE, INC.                                                     Contingent
          1 FANATICAL PLACE                                                   Unliquidated
          CITY OF WINDCREST                                                   Disputed
          SAN ANTONIO, TX 78218
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0894                         Is the claim subject to offset?    No  Yes
 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          RAFAEL A TORRES                                                     Contingent
          PO BOX 191919                                                       Unliquidated
          SAN JUAN 00919-1919                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8143
                                                                             Is the claim subject to offset?    No  Yes
 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          RALPH RUSSO                                                         Contingent
          PO BOX 2613                                                         Unliquidated
          DARIEN, CT 06820-8613                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6102
                                                                             Is the claim subject to offset?    No  Yes
 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $16.00
          RAMAPOUGH SPORTSMEN ASSOC                                           Contingent
          29 FREDERICK ST                                                     Unliquidated
          GARNERVILLE, NY 10923-1007                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5300
                                                                             Is the claim subject to offset?    No  Yes
 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,200.00
          RAMWORKS INC                                                        Contingent
          3702 ROCKY BRANCH ROAD                                              Unliquidated
          PRINCETON, WV 24740                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8807
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $34.00
          RANDAL EHM                                                          Contingent
          1889 COLE LOOP SE                                                   Unliquidated
          PORT ORCHARD, WA 98366                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1265
                                                                             Is the claim subject to offset?    No  Yes
 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $886.21
          RANDOLPH COUNTY TREASURER                                           Contingent
          1 TAYLOR ST                                                         Unliquidated
          ROOM 205                                                            Disputed
          CHESTER, IL 62233
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3528                         Is the claim subject to offset?    No  Yes
 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          RANDY EUBANKS                                                       Contingent
          3537 E 43RD ST                                                      Unliquidated
          PANAMA CITY, FL 32404-9295                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8707
                                                                             Is the claim subject to offset?    No  Yes
 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $184.00
          RANGE29 LLC                                                         Contingent
          1613 NW 136TH AVE BLDG C                                            Unliquidated
          SUNRISE, FL 33323                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1420
                                                                             Is the claim subject to offset?    No  Yes
 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          RAPPAHANNOCK PISTOL &RIFLE INC                                      Contingent
          PO BOX 391                                                          Unliquidated
          WHITE STONE, VA 22578-0391                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8669
                                                                             Is the claim subject to offset?    No  Yes
 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $463.91
          RATHNER, TODD                                                       Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1055                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          RAYMOND SHASHATY                                                    Contingent
          1424 GOSWICK RIDGE RD                                               Unliquidated
          MIDLOTHIAN, VA 23114-5515                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8600
                                                                             Is the claim subject to offset?    No  Yes




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 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          REBECCA FRAME                                                       Contingent
          10617 BROOKVILLE PHILLIPSBURG                                       Unliquidated
          BROOKVILLE, OH 45309-7619                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0372
                                                                             Is the claim subject to offset?    No  Yes
 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          REBECCA RICHTER                                                     Contingent
          60484 200TH LN                                                      Unliquidated
          MANKATO, MN 56001-8455                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3047
                                                                             Is the claim subject to offset?    No  Yes
 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,650.00
          RED RIVER CANYON CONSULTANTS LLC                                    Contingent
          500 NORTH THIRD ST., SUITE 9B                                       Unliquidated
          HARRISBURG, PA 17101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8106
                                                                             Is the claim subject to offset?    No  Yes
 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $66.00
          REESE FIREARMS                                                      Contingent
          6009 WOODS EDGE LN                                                  Unliquidated
          KERNERSVILLE, NC 27284                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0462
                                                                             Is the claim subject to offset?    No  Yes
 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,474.29
          RELX INC                                                            Contingent
          PO BOX 7247-7090                                                    Unliquidated
          PHILADELPHIA, PA 19170-7090                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5825
                                                                             Is the claim subject to offset?    No  Yes
 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $34.00
          RICHARD BOGGS                                                       Contingent
          4802 126TH PLACE, NE                                                Unliquidated
          MARYSVILLE, WA 98271                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1252
                                                                             Is the claim subject to offset?    No  Yes
 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          RICHARD BUCHFINK JR.                                                Contingent
          143 ATLEE DR                                                        Unliquidated
          WEATHERFORD, TX 76087-8206                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0750
                                                                             Is the claim subject to offset?    No  Yes




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 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          RICHARD F JOHNSTON                                                  Contingent
          248 W VALLEY DR                                                     Unliquidated
          RUSSELLVILLE, KY 42276-9425                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9967
                                                                             Is the claim subject to offset?    No  Yes
 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.00
          RICHARD HALDY                                                       Contingent
          125 LUNDBERG ROAD                                                   Unliquidated
          CENTRALIA, WA 98531                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1253
                                                                             Is the claim subject to offset?    No  Yes
 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          RICHARD MCLAUGHLIN                                                  Contingent
          504 1/2 N 7TH AVENUE                                                Unliquidated
          KELSO, WA 98626                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1266
                                                                             Is the claim subject to offset?    No  Yes
 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          RICHARD MITCHELL, JR                                                Contingent
          305A UNION AVE                                                      Unliquidated
          SALISBURY, MD 21801-3659                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9004
                                                                             Is the claim subject to offset?    No  Yes
 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          RICHARD O ROCKETT                                                   Contingent
          893 LITTLE RD                                                       Unliquidated
          RAYVILLE, LA 71269-4207                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3780
                                                                             Is the claim subject to offset?    No  Yes
 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          RICKARD SITTE                                                       Contingent
          178 N WORCESTER ST                                                  Unliquidated
          NORTON, MA 02766-2031                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4839
                                                                             Is the claim subject to offset?    No  Yes
 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          RIDGE RIFLE ASSOCIATION                                             Contingent
          4352 BLUE RIDGE TPKE                                                Unliquidated
          FINCASTLE, VA 24090-4269                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3165
                                                                             Is the claim subject to offset?    No  Yes




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 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $16.00
          RIDGWAY RIFLE CLUB                                                  Contingent
          GRANT RD                                                            Unliquidated
          RIDGWAY, PA 15853                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0388
                                                                             Is the claim subject to offset?    No  Yes
 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,210.57
          RINGS MANUFACTURING                                                 Contingent
          99 E. DRIVE                                                         Unliquidated
          MELBORNE, FL 32904                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5547
                                                                             Is the claim subject to offset?    No  Yes
 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $373.00
          RIVANNA RIFLE & PISTOL CLUB                                         Contingent
          PO BOX 7883                                                         Unliquidated
          CHARLOTTESVILLE, VA 22906-7883                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7101
                                                                             Is the claim subject to offset?    No  Yes
 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $62.00
          RIVER BEND GUN CLUB                                                 Contingent
          PO BOX 178                                                          Unliquidated
          MARBLE HILL, GA 30148-0178                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3911
                                                                             Is the claim subject to offset?    No  Yes
 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $800.00
          RIVERA, JIADA                                                       Contingent
          3658 E KAIBABPL                                                     Unliquidated
          CHANDLER, AZ 85249                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1155
                                                                             Is the claim subject to offset?    No  Yes
 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          RKA ENTERPRISES LTD                                                 Contingent
          3029 ELDAMAIN RD                                                    Unliquidated
          PLANO, IL 60545-9715                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8135
                                                                             Is the claim subject to offset?    No  Yes
 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $21.00
          ROANOKE RIFLE & REVOLVER CLUB                                       Contingent
          PO BOX 12453                                                        Unliquidated
          ROANOKE, VA 24025-2453                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5669
                                                                             Is the claim subject to offset?    No  Yes




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 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          ROBERT D CONTE                                                      Contingent
          638 STONEWATER BLVD                                                 Unliquidated
          FRANKLIN, TN 37064-8666                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0274
                                                                             Is the claim subject to offset?    No  Yes
 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $40.00
          ROBERT DOUGLAS GRAYSON                                              Contingent
          1108 MACEDONIA RD                                                   Unliquidated
          PETAL, MS 39465-8345                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9969
                                                                             Is the claim subject to offset?    No  Yes
 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $40,000.00
          ROBERT F SHARPE & CO INC                                            Contingent
          6410 POPLAR AVENUE                                                  Unliquidated
          SUITE 700                                                           Disputed
          MEMPHIS, TN 38119
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4023                         Is the claim subject to offset?    No  Yes
 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          ROBERT G SHOREY                                                     Contingent
          43 SALVATORE AVE                                                    Unliquidated
          BRISTOL, CT 06010                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0163
                                                                             Is the claim subject to offset?    No  Yes
 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $53.00
          ROBERT J DULEE JR                                                   Contingent
          28 LUKENS ST                                                        Unliquidated
          TREVOSE, PA 19053                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0364
                                                                             Is the claim subject to offset?    No  Yes
 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          ROBERT LEE BARNUM JR                                                Contingent
          1969 LINCOLN HWY STE 2                                              Unliquidated
          N VERSAILLES, PA 15137                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1694
                                                                             Is the claim subject to offset?    No  Yes
 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $259.06
          ROBERT MERRILL                                                      Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3169
                                                                             Is the claim subject to offset?    No  Yes




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 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $177.59
          Robert Shaw                                                         Contingent
          55 Durham St                                                        Unliquidated
          Pompton, NJ 07442                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1288
                                                                             Is the claim subject to offset?    No  Yes
 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          ROBERT SHEWMAKE                                                     Contingent
          2655 ULMERTON RD # 273                                              Unliquidated
          CLEARWATER, FL 33762-3337                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3855
                                                                             Is the claim subject to offset?    No  Yes
 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $28.00
          ROBERT THOMSEN                                                      Contingent
          34666 MN HWY 4                                                      Unliquidated
          GROVE CITY, MN 56243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0800
                                                                             Is the claim subject to offset?    No  Yes
 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,150.90
          ROBINSON, KAYNE                                                     Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       8953                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          ROCHESTER ROD AND GUN CLUB                                          Contingent
          22289 STATE ROUTE 511                                               Unliquidated
          WELLINGTON, OH 44090-9704                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2928
                                                                             Is the claim subject to offset?    No  Yes
 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          ROCKINGHAM COUNTY GUN CLUB INC                                      Contingent
          PO BOX 811                                                          Unliquidated
          REIDSVILLE, NC 27323-0811                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5931
                                                                             Is the claim subject to offset?    No  Yes
 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          ROGER FOSZCZ                                                        Contingent
          910 W. 11TH STREET                                                  Unliquidated
          PORT ANGELES, WA 98363                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1254
                                                                             Is the claim subject to offset?    No  Yes




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 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $685.00
          ROLAND DEMERS                                                       Contingent
          3558 NW FEDERAL HIGHWAY                                             Unliquidated
          PORT ST. LUCIE, FL 34957                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1194
                                                                             Is the claim subject to offset?    No  Yes
 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $625.00
          RONALD J SALKOVICK II                                               Contingent
          18015 N LIBERTY RD                                                  Unliquidated
          FREDERICKTOWN, OH 43019-8717                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0800
                                                                             Is the claim subject to offset?    No  Yes
 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          RONALD W HARNER                                                     Contingent
          6613 CASTLEMERE DR                                                  Unliquidated
          PLANO, TX 75093-8070                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3104
                                                                             Is the claim subject to offset?    No  Yes
 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.10
          RONALD W. TAYLOR                                                    Contingent
          HC 89 BOX 485                                                       Unliquidated
          WILLOW, AK 99688                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0980
                                                                             Is the claim subject to offset?    No  Yes
 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $95,954.16
          ROSS GROUP INC, THE                                                 Contingent
          2730 INDIAN RIPPLE ROAD                                             Unliquidated
          DAYTON, OH 45440                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1066
                                                                             Is the claim subject to offset?    No  Yes
 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          ROSS L PALMER                                                       Contingent
          1394 WENDELL AVE                                                    Unliquidated
          YPSILANTI, MI 48198-3150                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3767
                                                                             Is the claim subject to offset?    No  Yes
 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $22.00
          ROY COOGLER                                                         Contingent
          1401 S RIDGEWOOD AVE                                                Unliquidated
          EDGEWATER, FL 32132-2739                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2278
                                                                             Is the claim subject to offset?    No  Yes




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 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          ROY GERO                                                            Contingent
          3 LONGVIEW DR                                                       Unliquidated
          WILBRAHAM, MA 01095-2521                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7761
                                                                             Is the claim subject to offset?    No  Yes
 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,482.76
          RR DONNELLEY                                                        Contingent
          3075 HIGHLAND PKWY STE 400                                          Unliquidated
          DOWNERS GROVE, IL 60515-1228                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4115
                                                                             Is the claim subject to offset?    No  Yes
 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $60.00
          RTBA FIREARMS LLC                                                   Contingent
          2390 DEAN DR                                                        Unliquidated
          HIGHLAND, MI 48356-1910                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7858
                                                                             Is the claim subject to offset?    No  Yes
 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          RTSP, LLC                                                           Contingent
          961 STATE ROUTE 10                                                  Unliquidated
          STE 2A                                                              Disputed
          RANDOLPH, NJ 07869-1921
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7222                         Is the claim subject to offset?    No  Yes
 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,113.00
          RUSSELL JORDAN TRUESDALE                                            Contingent
          508 RAINBOW CIR                                                     Unliquidated
          WEST COLUMBIA, SC 29170                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1317
                                                                             Is the claim subject to offset?    No  Yes
 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $108.00
          RYAN FELTON                                                         Contingent
          228 DIXIE DR APT 107                                                Unliquidated
          TALLAHASSEE, FL 32304-6002                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6414
                                                                             Is the claim subject to offset?    No  Yes
 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          S W FORUM, LLC                                                      Contingent
          PO BOX 45                                                           Unliquidated
          MAYSVILLE, GA 30558-0045                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7646
                                                                             Is the claim subject to offset?    No  Yes




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 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $329.85
          SACRAMENTO COUNTY SHERIFF'S OFFICE                                  Contingent
          3341 POWER INN ROAD                                                 Unliquidated
          #313                                                                Disputed
          SACARAMENTO, CA 95826-3889
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9671                         Is the claim subject to offset?    No  Yes
 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $298.00
          SACRAMENTO VALLEY SHOOTING CEN                                      Contingent
          PO BOX 1407                                                         Unliquidated
          SLOUGHHOUSE, CA 95683-1407                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6418
                                                                             Is the claim subject to offset?    No  Yes
 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,500.00
          SAGI, GUY                                                           Contingent
          207 CICERO BEATTY                                                   Unliquidated
          RAEFORD, NC 28376                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9478
                                                                             Is the claim subject to offset?    No  Yes
 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          SAINT CHARLES SPORTSMAN'S CLUB                                      Contingent
          4045 RENNER RD                                                      Unliquidated
          WALDORF, MD 20602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5128
                                                                             Is the claim subject to offset?    No  Yes
 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          SALEM COUNTY SPORTSMEN'S CLUB                                       Contingent
          PO BOX 130                                                          Unliquidated
          DEEPWATER, NJ 08023-0130                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8783
                                                                             Is the claim subject to offset?    No  Yes
 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $368,280.19
          SALESFORCE.COM INC                                                  Contingent
          ONE MARK ST~THE LANDMARK                                            Unliquidated
          SUITE 300                                                           Disputed
          SAN FRANCISCO, CA 94105
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7350                         Is the claim subject to offset?    No  Yes
 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $126.00
          SALOMON FIREARMS TRAINING LLC                                       Contingent
          47 BRADEEN ST                                                       Unliquidated
          ROSLINDALE, MA 02131-1814                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9691
                                                                             Is the claim subject to offset?    No  Yes




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 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          SALT FORK RESORTS SHOOTINGCLUB                                      Contingent
          74978 BROADHEAD RD                                                  Unliquidated
          KIMBOLTON, OH 43749-9747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5185
                                                                             Is the claim subject to offset?    No  Yes
 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          SAN DIEGO GUNS                                                      Contingent
          5995 MISSION GORGE RD STE C                                         Unliquidated
          SAN DIEGO, CA 92120-4028                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0514
                                                                             Is the claim subject to offset?    No  Yes
 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $102.00
          SAN JUAN WILDLIFE FEDERATION                                        Contingent
          PO BOX 1411                                                         Unliquidated
          FARMINGTON, NM 87499-1411                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2784
                                                                             Is the claim subject to offset?    No  Yes
 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.00
          SANDUSKY COUNTY SPORTSMAN CLUB                                      Contingent
          PO BOX 83                                                           Unliquidated
          GIBSONBURG, OH 43431-9721                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6629
                                                                             Is the claim subject to offset?    No  Yes
 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,200.00
          SANGIORGIO, MAUREEN                                                 Contingent
          5246 FOX MEADOW DRIVE                                               Unliquidated
          MACUNGIE, PA 18062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9510
                                                                             Is the claim subject to offset?    No  Yes
 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          SANGRE SHOOTING SPORTS CLUB                                         Contingent
          PO BOX 1554                                                         Unliquidated
          WESTCLIFFE, CO 81252-1554                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6016
                                                                             Is the claim subject to offset?    No  Yes
 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          SANTA CLARA VALLEY RIFLE CLUB                                       Contingent
          3963 HAMILTON AVE APT 3                                             Unliquidated
          SAN JOSE, CA 95130-1537                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3423
                                                                             Is the claim subject to offset?    No  Yes




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 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          SANTA LUCIA SPORTSMEN'S ASSOC                                       Contingent
          PO BOX 1077                                                         Unliquidated
          ATASCADERO, CA 93423-1077                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0596
                                                                             Is the claim subject to offset?    No  Yes
 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $716.82
          SCHMEITS, RONALD L                                                  Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1780                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $645.00
          SCHUYKILL COUNTY                                                    Contingent
          1871 OLD MAIN DRIVE                                                 Unliquidated
          SHIPPENSBURG UNIVERSITY                                             Disputed
          SHIPPENSBURG, PA 17257
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1095                         Is the claim subject to offset?    No  Yes
 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.81
          SCOTT BYRNES                                                        Contingent
          1419 CAPERTON COURT                                                 Unliquidated
          PENRYN, CA 95663                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2067
                                                                             Is the claim subject to offset?    No  Yes
 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          SCOTT MCINNES LLC                                                   Contingent
          1280 WESTERVELT PL                                                  Unliquidated
          HEWLETT, NY 11557                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0994
                                                                             Is the claim subject to offset?    No  Yes
 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $77.00
          SCOTTS VALLEY SPORTSMEN'S CLUB                                      Contingent
          PO BOX 66132                                                        Unliquidated
          SANTA CRUZ, CA 95067-6132                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8894
                                                                             Is the claim subject to offset?    No  Yes
 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $195.78
          SEARS, THOMAS L                                                     Contingent
          120 Sstoneridge Dr                                                  Unliquidated
          SYRACUSE, NY 13214                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1057
                                                                             Is the claim subject to offset?    No  Yes




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 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          SEATTLE RIFLE & PISTOL ASSOCIA                                      Contingent
          17361 TYE ST SE                                                     Unliquidated
          MONROE, WA 98272-1047                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9676
                                                                             Is the claim subject to offset?    No  Yes
 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $35.00
          SECRETARY OF STATE - KS                                             Contingent
          109 SW 9TH STREET                                                   Unliquidated
          Suite 504                                                           Disputed
          TOPEKA, KS 66612
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8885                         Is the claim subject to offset?    No  Yes
 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          SECURE YOUR WEAPON INC                                              Contingent
          6 BUXMONT LN                                                        Unliquidated
          STNY BROOK, NY 11790-2524                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3421
                                                                             Is the claim subject to offset?    No  Yes
 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          SECURITY INTELLIGENCE SPECIALI                                      Contingent
          1355 FAIRFAX AVE STE B                                              Unliquidated
          SAN FRANCISCO, CA 94124-1731                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8895
                                                                             Is the claim subject to offset?    No  Yes
 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $893.33
          SEILER EPSTEIN ZIEGLER & APPLEGATE
          LLP                                                                 Contingent
          601 MONTGOMERY STREET                                               Unliquidated
          Suite 2000                                                          Disputed
          SAN FRANCISCO, California 94111-0000
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9279                         Is the claim subject to offset?    No  Yes
 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          SHADE TREE HOLDINGS UNLIMITED                                       Contingent
          613 VENEZIA AVE                                                     Unliquidated
          VENICE, CA 90291                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1219
                                                                             Is the claim subject to offset?    No  Yes
 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          SHADE'S LANDING                                                     Contingent
          15989 GARDEN VIEW DR                                                Unliquidated
          SAINT PAUL, MN 55124-7082                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3665
                                                                             Is the claim subject to offset?    No  Yes




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 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $906.29
          SHAHIDI, VANESSA J                                                  Contingent
          EMPLOYEE                                                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       4169                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          SHEBOYGAN RIFLE & PISTOL CLUB                                       Contingent
          W2515 HWY A SOUTH                                                   Unliquidated
          OOSTBURG, WI 53070-1840                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7553
                                                                             Is the claim subject to offset?    No  Yes
 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          SHELBY COUNTY SHOOTING SPORTS                                       Contingent
          574 ELVIRA RD                                                       Unliquidated
          HELENA, AL 35080-7926                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2959
                                                                             Is the claim subject to offset?    No  Yes
 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          SHOCKEY SCOFIELD SOLUTIONS, LLC                                     Contingent
          418 C STREET NE                                                     Unliquidated
          WASHINGTON, DC 20002                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9998
                                                                             Is the claim subject to offset?    No  Yes
 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,005.00
          SHOOT STRAIGHT, INC                                                 Contingent
          1349 S ORANGE BLOSSOM TRL                                           Unliquidated
          APOPKA, FL 32703-7605                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4923
                                                                             Is the claim subject to offset?    No  Yes
 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          SHOOTING SPORTS OUTLET                                              Contingent
          11154 GLEN CANYON DR                                                Unliquidated
          PEYTON, CO 80831                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2371
                                                                             Is the claim subject to offset?    No  Yes
 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $423.00
          SHOWMASTERS INC                                                     Contingent
          4225 FORTRESS DR                                                    Unliquidated
          BLACKSBURG, VA 24060-1238                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0204
                                                                             Is the claim subject to offset?    No  Yes




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 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          SIDE BY SIDE FIREARMS                                               Contingent
          18 E MAIN ST STE 201                                                Unliquidated
          DENVILLE, NJ 07834-2155                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7084
                                                                             Is the claim subject to offset?    No  Yes
 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $141.74
          SIGLER, JOHN                                                        Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1962                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $60.00
          SIGNIX INC.                                                         Contingent
          1110 MARKET STREET, SUITE 402                                       Unliquidated
          CHATTANOOGA, TN 37402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0741
                                                                             Is the claim subject to offset?    No  Yes
 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $61.00
          SIMONEL PROPERTIES, LLC.                                            Contingent
          5410 RUSTIC PINE CT                                                 Unliquidated
          ORLANDO, FL 32819-7129                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4935
                                                                             Is the claim subject to offset?    No  Yes
 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,841.24
          SIMPSON UNLIMITED INC                                               Contingent
          11121 INDUSTRIAL ROAD                                               Unliquidated
          MANASSAS, VA 20109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1335
                                                                             Is the claim subject to offset?    No  Yes
 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,800.00
          SISSON LANDSCAPE DESIGN AND                                         Contingent
          MANAGEMENT I                                                        Unliquidated
          PO BOX 915                                                          Disputed
          GREAT FALLS, VA 22066
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8874                         Is the claim subject to offset?    No  Yes
 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          SLICKGUNS INC                                                       Contingent
          1118 CATHERINE ST                                                   Unliquidated
          KEY WEWST, FL 33040-3306                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9307
                                                                             Is the claim subject to offset?    No  Yes




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 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          SLIPPERY ROCK UNIVERSITY                                            Contingent
          104 MATLBY AVE                                                      Unliquidated
          SUITE 002                                                           Disputed
          SLIPPERY ROCK, PA 16057
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9681                         Is the claim subject to offset?    No  Yes
 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          SLOPE AREA RIFLE & PISTOL CLUB                                      Contingent
          P.O. BOX 493                                                        Unliquidated
          DICKINSON, ND 58602-0493                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3264
                                                                             Is the claim subject to offset?    No  Yes
 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,278.40
          SMISC HOLDING INC                                                   Contingent
          5239 Z-MAX BLVD                                                     Unliquidated
          HARRISBURG, NC 28075                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7584
                                                                             Is the claim subject to offset?    No  Yes
 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $69.00
          SNOQUALMIE VALLEY RIFLE CLUB                                        Contingent
          PO BOX 309                                                          Unliquidated
          14214 SE 63RD STREET                                                Disputed
          FALL CITY, WA 98024
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2955                         Is the claim subject to offset?    No  Yes
 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,585.00
          SOBRAN INC                                                          Contingent
          4401 DAYTON-XENIA RD                                                Unliquidated
          DAYTON, OH 45432                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1598
                                                                             Is the claim subject to offset?    No  Yes
 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          SOUTH BERWICK ROD & GUN ASSOC.                                      Contingent
          PO BOX 184                                                          Unliquidated
          SOUTH BERWICK, ME 03908-0184                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9483
                                                                             Is the claim subject to offset?    No  Yes
 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $84.00
          SOUTH CUYAHOGA SPORTMENS' ASSO                                      Contingent
          3173 W. 71ST STREET                                                 Unliquidated
          CLEVELAND, OH 44102-5265                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5706
                                                                             Is the claim subject to offset?    No  Yes




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 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $591.85
          SOUTH DAKOTA DEPT OF REVENUE                                        Contingent
          445 EAST CAPITOL AVE                                                Unliquidated
          PIERRE, SD 57501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4849
                                                                             Is the claim subject to offset?    No  Yes
 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $89.00
          SOUTH RIVER GUN CLUB                                                Contingent
          5205 HIGHWAY 212                                                    Unliquidated
          COVINGTON, GA 30016-4422                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8580
                                                                             Is the claim subject to offset?    No  Yes
 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          SOUTHERN CHESTER COUNTY SPORTS                                      Contingent
          4523 SHADY DR                                                       Unliquidated
          WILMINGTON, DE 19808-5607                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9308
                                                                             Is the claim subject to offset?    No  Yes
 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          SOUTHPORT GUN CLUB INC                                              Contingent
          1136 KRISTIN DRIVE                                                  Unliquidated
          LIBERTYVILLE, IL 60048-1281                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9435
                                                                             Is the claim subject to offset?    No  Yes
 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $61.00
          SOUTHWEST FLORIDA SPORTSMANS A                                      Contingent
          PO BOX 100691                                                       Unliquidated
          CAPE CORAL, FL 33910-0691                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9402
                                                                             Is the claim subject to offset?    No  Yes
 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,641.66
          SPECTER SECURITY GROUP                                              Contingent
          7371 ATLAS WALK WAY #177                                            Unliquidated
          GAINESVILLE, VA 20155                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9115
                                                                             Is the claim subject to offset?    No  Yes
 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $200,000.00
          SPEEDWAY MOTORSPORTS INC                                            Contingent
          PO BOX 600                                                          Unliquidated
          CONCORD, NC 28026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8268
                                                                             Is the claim subject to offset?    No  Yes




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 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          SPHONS CCW LLC                                                      Contingent
          314 HART AVE                                                        Unliquidated
          MINERVA, OH 44657                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1291
                                                                             Is the claim subject to offset?    No  Yes
 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $46.67
          SPRINT #435259217                                                   Contingent
          PO BOX 1769                                                         Unliquidated
          NEWARK, NJ 07101-1769                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2184
                                                                             Is the claim subject to offset?    No  Yes
 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          ST. JOSEPH COUNTY CONSERVATION                                      Contingent
          PO BOX 220                                                          Unliquidated
          STURGIS, MI 49091-0220                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0159
                                                                             Is the claim subject to offset?    No  Yes
 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          STANDARD FORCE-TRIPLET TRAININ                                      Contingent
          2658 N MERRIMAC AVE                                                 Unliquidated
          CHICAGO, IL 60639-1016                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0075
                                                                             Is the claim subject to offset?    No  Yes
 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          STANLEY JOSLIN                                                      Contingent
          2156 LOS FELIZ DR                                                   Unliquidated
          THOUSAND OAKS, CA 91362-3038                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6512
                                                                             Is the claim subject to offset?    No  Yes
 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $102.96
          STAPLES                                                             Contingent
          DEPT. 11-0001245604                                                 Unliquidated
          PO BOX 9001036                                                      Disputed
          LOUISVILLE, KY 40290
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9102                         Is the claim subject to offset?    No  Yes
 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $111.00
          STARKS TRAINING INSTITUTE                                           Contingent
          7868 REA RD STE F # 336                                             Unliquidated
          CHARLOTTE, NC 28277-6677                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1683
                                                                             Is the claim subject to offset?    No  Yes




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 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          STARLA BATZKO                                                       Contingent
          6808 LONE ELM RD                                                    Unliquidated
          BELGIUM, WI 53004                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2296
                                                                             Is the claim subject to offset?    No  Yes
 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $50.00
          STATE OF NEW HAMPSHIRE                                              Contingent
          STATE HOUSE ROOM 204                                                Unliquidated
          CONCORD, NH 03301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5557
                                                                             Is the claim subject to offset?    No  Yes
 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,619.62
          STATECRAFT DIGITAL LLC                                              Contingent
          3607 13TH ST N                                                      Unliquidated
          ARLINGTON, VA 22201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0330
                                                                             Is the claim subject to offset?    No  Yes
 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $26,550.00
          STEPHEN P. HALBROOK                                                 Contingent
          3925 CHAIN BRIDGE ROAD                                              Unliquidated
          Suite 403                                                           Disputed
          FAIRFAX, VA 22030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0022                         Is the claim subject to offset?    No  Yes
 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.00
          STEPHEN SHAFFER                                                     Contingent
          101 N MAIN ST                                                       Unliquidated
          BOONSBORO, MB 21713-1007                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9057
                                                                             Is the claim subject to offset?    No  Yes
 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $75.00
          STEVE MUNDY                                                         Contingent
          52 REECE HOLLOW ROAD                                                Unliquidated
          CARTHAGE, TN 37030                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1256
                                                                             Is the claim subject to offset?    No  Yes
 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $57.00
          STEVEN COHEN                                                        Contingent
          29334 CALLE PRIMAVERA                                               Unliquidated
          VALENCIA, CA 91354-1529                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9426
                                                                             Is the claim subject to offset?    No  Yes




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 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $198.07
          STEVEN DONAHOO                                                      Contingent
          201 SOMERSTON ROAD                                                  Unliquidated
          YORKTOWN HEIGHTS, NY 10598                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7458
                                                                             Is the claim subject to offset?    No  Yes
 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          STEVEN RICHARDSON                                                   Contingent
          7121 TURQUOISE LN                                                   Unliquidated
          ORLANDO, FL 32807-6375                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5531
                                                                             Is the claim subject to offset?    No  Yes
 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.20
          STOCKWELL, JOHN                                                     Contingent
          69 Greene St                                                        Unliquidated
          Burlington, VT 05401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0146
                                                                             Is the claim subject to offset?    No  Yes
 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          STOCKYARD STYLE                                                     Contingent
          980 PETERS MOUNTAIN ROAD                                            Unliquidated
          DAUPHIN, PA 17018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1304
                                                                             Is the claim subject to offset?    No  Yes
 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,208.70
          STONE & JOHNSON                                                     Contingent
          SUITE 1800                                                          Unliquidated
          111 WEST WASHINGTON STREET                                          Disputed
          CHICAGO, IL 60602
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9535                         Is the claim subject to offset?    No  Yes
 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $823,366.88
          STONE RIVER GEAR, LLC                                               Contingent
          75 MANOR ROAD                                                       Unliquidated
          RED HOOK, NY 12571                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0685
                                                                             Is the claim subject to offset?    No  Yes
 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          STONEBANK SPORTSMENS CLUB                                           Contingent
          PO BOX 575                                                          Unliquidated
          OCONOMOWOC, WI 53066-0575                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7137
                                                                             Is the claim subject to offset?    No  Yes




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 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          STONEY CREEK FISHING AND HUNTI                                      Contingent
          9090 FORT SMALLWOOD RD                                              Unliquidated
          PASADENA, MD 21122-3223                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3151
                                                                             Is the claim subject to offset?    No  Yes
 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          STONY D RUSHING, INC                                                Contingent
          PO BOX 1415                                                         Unliquidated
          MONROE, NC 28111-1415                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1484
                                                                             Is the claim subject to offset?    No  Yes
 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          SUE L. GUILBEAU                                                     Contingent
          P.O. BOX 1007                                                       Unliquidated
          STEINHATCHEE, FL 32359                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1136
                                                                             Is the claim subject to offset?    No  Yes
 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,656.43
          SUNDOG PRODUCTIONS                                                  Contingent
          3850 JERMANTOWN RD                                                  Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5478
                                                                             Is the claim subject to offset?    No  Yes
 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,538.64
          SUNNYLAND FARMS INC                                                 Contingent
          2314 WILLSON RD                                                     Unliquidated
          ALBANY, GA 31705                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1200
                                                                             Is the claim subject to offset?    No  Yes
 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $66,338.15
          SURESHIP, INC.                                                      Contingent
          4901 FORBES BLVD                                                    Unliquidated
          LANHAM, MD 20706                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2370
                                                                             Is the claim subject to offset?    No  Yes
 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $39.00
          SURPLUS AMMO & ARMS, LLC                                            Contingent
          12729 PACIFIC HWY SW                                                Unliquidated
          LAKEWOOD, WA 98499-1028                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6696
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,084.00
          SUSAN KAY GREEN INC                                                 Contingent
          4115 LEONARD DRIVE                                                  Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7572
                                                                             Is the claim subject to offset?    No  Yes
 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $43.00
          SWARTZ CREEK SPORTSMAN                                              Contingent
          9284 N LATSON RD                                                    Unliquidated
          HOWELL, MI 48855-8206                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2147
                                                                             Is the claim subject to offset?    No  Yes
 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.00
          SYCAMORE VALLEY GUN CLUB                                            Contingent
          613 W 12TH ST                                                       Unliquidated
          BLOOMINGTON, IN 47404-3401                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8038
                                                                             Is the claim subject to offset?    No  Yes
 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $105.00
          SYMPHONIOUS ENTERPRISES, LLC                                        Contingent
          2028 SHEPHERD RD # 220                                              Unliquidated
          MULBERRY, FL 33860-8699                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7520
                                                                             Is the claim subject to offset?    No  Yes
 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $33.00
          SYRACUSE PISTOL CLUB INC.                                           Contingent
          PO BOX 478                                                          Unliquidated
          FULTON, NY 13069-0478                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4036
                                                                             Is the claim subject to offset?    No  Yes
 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $96.00
          T4TACTICS LLC                                                       Contingent
          147 MILL RIDGE RD STE 4                                             Unliquidated
          LYNCHBURG, VA 24502-4341                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0482
                                                                             Is the claim subject to offset?    No  Yes
 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $216.00
          TAC6 MEDIA LLC                                                      Contingent
          5222 MENTMORE AVE                                                   Unliquidated
          SPRING HILL, FL 34606                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0783
                                                                             Is the claim subject to offset?    No  Yes




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 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          TACTICAL DYNAMICS FIREARMS TRA                                      Contingent
          PO BOX 1401                                                         Unliquidated
          ATTLEBORO FALLS, MA 02763-0401                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8675
                                                                             Is the claim subject to offset?    No  Yes
 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $32.00
          TAILORED DEFENSE TRAINING GROU                                      Contingent
          714 S WOLFE ST UNIT #38674                                          Unliquidated
          BALTIMORE, MD 21231                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1393
                                                                             Is the claim subject to offset?    No  Yes
 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          TAMPA CARRY LLC                                                     Contingent
          1319 BRAHMA DR                                                      Unliquidated
          VALRICO, FL 33594                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2292
                                                                             Is the claim subject to offset?    No  Yes
 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $124.00
          TARGET WORLD INC                                                    Contingent
          2300 E KEMPER RD                                                    Unliquidated
          CINCINNATI, OH 45241-6501                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0220
                                                                             Is the claim subject to offset?    No  Yes
 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $327.00
          TARGET WORLD INC.                                                   Contingent
          529 W BUTLER AVE                                                    Unliquidated
          CHALFONT, PA 18914-2218                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5489
                                                                             Is the claim subject to offset?    No  Yes
 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $33.00
          TAYLOR, JOHN M                                                      Contingent
          7819 STOVALL COURT                                                  Unliquidated
          LORTON, VA 22079-4330                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5620
                                                                             Is the claim subject to offset?    No  Yes
 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,901.61
          TBK STRATEGIES LLC                                                  Contingent
          PO BOX 239                                                          Unliquidated
          POCONO PINES, PA 18350                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0772
                                                                             Is the claim subject to offset?    No  Yes




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 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          TELCO SPORTSMEN'S CLUB INC.                                         Contingent
          P.O. BOX 494                                                        Unliquidated
          ATCO, NJ 08004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2967
                                                                             Is the claim subject to offset?    No  Yes
 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,046.00
          TELEMANAGEMENT TECHNOLOGIES                                         Contingent
          2700 YGNACIO VALLEY ROAD                                            Unliquidated
          SUITE 250                                                           Disputed
          WALNUT CREEK, CA 94598-3463
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0299                         Is the claim subject to offset?    No  Yes
 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $86,941.00
          TENNESSEE DEPT OF REVENUE                                           Contingent
          ANDREW JACKSON ST OFFICE BLDG                                       Unliquidated
          500 DEADERICK ST                                                    Disputed
          NASHVILLE, TN 37242
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4564                         Is the claim subject to offset?    No  Yes
 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.28
          TERRY LANGEL                                                        Contingent
          33646 COUNTY HIGHWAY M                                              Unliquidated
          HOLCOMBE, WI 54745                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1292
                                                                             Is the claim subject to offset?    No  Yes
 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          TEXAS A&M UNIVERSITY                                                Contingent
          DEPT. OF STUDENT FINANCE                                            Unliquidated
          P.O. BOX 30016                                                      Disputed
          COLLEGE STATION, TX 77842-3016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4514                         Is the claim subject to offset?    No  Yes
 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          TEXAS STATE RIFLE ASSOCIATION                                       Contingent
          314 E HIGHLAND MALL BLVD,                                           Unliquidated
          SUITE 300                                                           Disputed
          AUSTIN, TX 78752-3731
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7583                         Is the claim subject to offset?    No  Yes
 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,990.00
          THE ASSOCIATED PRESS                                                Contingent
          50 ROCKERFELLER PLAZA                                               Unliquidated
          NEW YORK, NY 10020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0622
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $48,000.00
          THE DAILY CALLER, INC.                                              Contingent
          1775 EYE ST. NW SUITE 1150-290                                      Unliquidated
          WASHINGTON, DC 20006                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5679
                                                                             Is the claim subject to offset?    No  Yes
 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $907.50
          THE DIGUISEPPE LAW FIRM, P.C.                                       Contingent
          PO BOX 10790                                                        Unliquidated
          SOUTHPORT, NC 28461, NC 28461                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0120
                                                                             Is the claim subject to offset?    No  Yes
 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          THE GUN PARLOR INC                                                  Contingent
          170 PRESCOTT ST                                                     Unliquidated
          WORCESTER, MA 01605-1708                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3784
                                                                             Is the claim subject to offset?    No  Yes
 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          THE MELNICK CONGLOMERATE                                            Contingent
          850 ASPEN DR                                                        Unliquidated
          BUFFALO GROVE, IL 60089                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5820
                                                                             Is the claim subject to offset?    No  Yes
 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $21.00
          THE MOUNT WASHINGTON ROD & GUN                                      Contingent
          PO BOX 586                                                          Unliquidated
          RIDERWOOD, MD 21139-0586                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7611
                                                                             Is the claim subject to offset?    No  Yes
 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          THE SURE SHOT, LLC                                                  Contingent
          1891 HIGHWAY 280                                                    Unliquidated
          ALEXANDER CITY, AL 35010-4628                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0785
                                                                             Is the claim subject to offset?    No  Yes
 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $32.00
          THE TORRINGTON GUN CLUB                                             Contingent
          68 BUNNEL STREET                                                    Unliquidated
          WINSTED, CT 06098                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8083
                                                                             Is the claim subject to offset?    No  Yes




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 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $90.00
          THE WELL ARMED WOMAN, LLC                                           Contingent
          7762 E GRAY RD STE 600                                              Unliquidated
          SCOTTSDALE, AZ 85260-6957                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8297
                                                                             Is the claim subject to offset?    No  Yes
 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $128.12
          THOMAS C. RICKWALDER                                                Contingent
          11250 WAPLES MILL ROAD                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3287
                                                                             Is the claim subject to offset?    No  Yes
 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          THOMAS HARKNESS                                                     Contingent
          602 RIVER BEND DR                                                   Unliquidated
          GEORGETOWN, TX 78628-3256                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5299
                                                                             Is the claim subject to offset?    No  Yes
 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          THOMPSON FIREARMS                                                   Contingent
          1012 10TH ST E                                                      Unliquidated
          PALMETTO, FL 34221-4132                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7247
                                                                             Is the claim subject to offset?    No  Yes
 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          THOMPSON, KALI                                                      Contingent
          10251 S 652 RD                                                      Unliquidated
          MIAMI, OK 74354                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0739
                                                                             Is the claim subject to offset?    No  Yes
 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          THREEFOLD DEFENSIVE TRAINING,                                       Contingent
          3776 S KIRK ST                                                      Unliquidated
          AURORA, CO 80013-6185                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8975
                                                                             Is the claim subject to offset?    No  Yes
 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          THUNDERHOOF HOLDINGS LTD                                            Contingent
          8134 COUNTY ROAD 75.5                                               Unliquidated
          ROGGEN, CO 80652-9429                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6262
                                                                             Is the claim subject to offset?    No  Yes




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 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,342.46
          THYSSENKRUPP ELEVATOR CORP                                          Contingent
          P O BOX 933007                                                      Unliquidated
          ATLANTA, GA 31193-3010                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1404
                                                                             Is the claim subject to offset?    No  Yes
 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $415.00
          TIER ONE MEDIA                                                      Contingent
          1048 BARREL HOLLOW SPRINGS RD                                       Unliquidated
          FRANKLIN, TN 37069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1831
                                                                             Is the claim subject to offset?    No  Yes
 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          TIM HARMSEN                                                         Contingent
          653 WOOD STREAM XING                                                Unliquidated
          VALPARAISO, IN 46385-2966                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0903
                                                                             Is the claim subject to offset?    No  Yes
 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $102.00
          TIMOTHY FINUCANE                                                    Contingent
          PO BOX 34224                                                        Unliquidated
          FORT WORTH, TX 76162-4224                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7198
                                                                             Is the claim subject to offset?    No  Yes
 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          TIMOTHY GORDON                                                      Contingent
          1185 HUDSON CAJAH MOUNTAIN RD                                       Unliquidated
          HUDSON, NC 28638-9411                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9400
                                                                             Is the claim subject to offset?    No  Yes
 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          TIMOTHY JACOBS                                                      Contingent
          407 LINCOLN ST                                                      Unliquidated
          FENTON, MI 48340-1848                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4740
                                                                             Is the claim subject to offset?    No  Yes
 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          TIMOTHY SMITH                                                       Contingent
          6012 BAYFIELD PKWY # 366                                            Unliquidated
          CONCORD, NC 28027-7597                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0277
                                                                             Is the claim subject to offset?    No  Yes




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 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          TLR SYSTEMS LLC                                                     Contingent
          1062 CANNIE BAKER ROAD
          MOUNTAIN, AR 72651
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number       2848                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $217,241.33
          TMA DIRECT, INC.                                                    Contingent
          12021 SUNSET HILLS ROAD                                             Unliquidated
          SUITE 350                                                           Disputed
          RESTON, VA 20190
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7803                         Is the claim subject to offset?    No  Yes
 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $160.00
          TO BACKFLOW LLC                                                     Contingent
          1400 N OHIO STREET                                                  Unliquidated
          ARLINGTON, VA 22205                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7726
                                                                             Is the claim subject to offset?    No  Yes
 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          TODD HOMAN                                                          Contingent
          2820 STATE ROUTE 119                                                Unliquidated
          SAINT HENRY, OH 45883-9773                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6855
                                                                             Is the claim subject to offset?    No  Yes
 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          TODDS ENTITIES INC                                                  Contingent
          10965 N 2290 RD                                                     Unliquidated
          CLINTON, OK 73601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1427
                                                                             Is the claim subject to offset?    No  Yes
 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,440.17
          TOM GIBBONS & ASSOCIATES LLC                                        Contingent
          PO BOX 574                                                          Unliquidated
          ROCHESTER, IL 62563                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7225
                                                                             Is the claim subject to offset?    No  Yes
 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          TOP CALIBER TACTICAL LLC                                            Contingent
          5475 PINEY GROVE DR                                                 Unliquidated
          CUMMING, GA 30040-9045                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6807
                                                                             Is the claim subject to offset?    No  Yes




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 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          TOP GUN SHOOTING SPORTS INC.                                        Contingent
          16725 RACHO BLVD                                                    Unliquidated
          TAYLOR, MI 48180-5259                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2381
                                                                             Is the claim subject to offset?    No  Yes
 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          TOUCHET GUN CLUB                                                    Contingent
          143 MARKHAM RD                                                      Unliquidated
          LOWDEN, WA 99360-5000                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4212
                                                                             Is the claim subject to offset?    No  Yes
 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $32.00
          TOWN AND COUNTRY GUN CLUB, INC                                      Contingent
          PO BOX 38                                                           Unliquidated
          MARYVILLE, IL 62062-0038                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6569
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          TRAFFORD SPORTSMEN'S CLUB                                           Contingent
          14000 WINCHESTER RD                                                 Unliquidated
          PO BOX 3                                                            Disputed
          TRAFFORD, PA 15085-0003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6428                         Is the claim subject to offset?    No  Yes
 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $36.00
          TRANEIL THOMAS                                                      Contingent
          658 REBECCA LN                                                      Unliquidated
          BOLING BROOK, IL 60440                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1339
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,110.00
          TRAVELER'S GUIDE                                                    Contingent
          529 MADISON AVENUE                                                  Unliquidated
          COVINGTON, KY 41012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0439
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.02
          TRAVIS CHESBRO                                                      Contingent
          26440 ASH ROAD                                                      Unliquidated
          BOYNTON, OK 74422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1300
                                                                             Is the claim subject to offset?    No  Yes




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 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          TRAVIS FILLMORE                                                     Contingent
          615 S FARMER AVE APT 4008                                           Unliquidated
          TEMPE, AZ 85281-1896                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2799
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          TRAVIS R ATCHLEY                                                    Contingent
          5605 VILLAGE GREEN DR                                               Unliquidated
          KATY, TX 77493-1270                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6366
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          TRAVIS REBELLO                                                      Contingent
          61 HUDSON ST                                                        Unliquidated
          NEW BEDFORD, MA 02744-1206                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6486
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $51.80
          TREAKLE, JOHN                                                       Contingent
          P.O. BOX 268                                                        Unliquidated
          PORT ANGELES, WA 98362                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5979
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          TRI TOWN SPORTSMAN'S ASSOC                                          Contingent
          810 W VINE STREET                                                   Unliquidated
          MT. PLEASANT, PA 15666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8801
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $177.00
          TRI-CITY GUN CLUB                                                   Contingent
          3241 DOVE CROSSING DR                                               Unliquidated
          NORMAN, OK 73072-2963                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2441
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $42.00
          TRI-COUNTY GUN CLUB                                                 Contingent
          1613 18TH AVE                                                       Unliquidated
          STERLING, IL 61081-2745                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1790
                                                                             Is the claim subject to offset?    No  Yes


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 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          TRI-COUNTY SPORTSMEN'S LEAGUE                                       Contingent
          8640 MOON RD                                                        Unliquidated
          SALINE, MI 48716-9400                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8486
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $104.00
          TRI-STATE GUN CLUB INC                                              Contingent
          PO BOX 231                                                          Unliquidated
          DALEVILLE, AL 36322-0231                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1325
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $514.18
          TRI-TOWN ROD & GUN CLUB                                             Contingent
          35 ISTHUMUS RD                                                      Unliquidated
          FOSTER, RI 02825                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1203
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          TRIAD TRAINING LLC                                                  Contingent
          2834 HAMNER AVE # 209                                               Unliquidated
          NORCO, CA 92860                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1285
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $190.00
          TRIPLE A LOGISTIC SERVICE INC                                       Contingent
          PO BOX 610                                                          Unliquidated
          ANNANDALE, VA 22003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1709
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $308.00
          TROMPETER, CARL W                                                   Contingent
          85 CUTLER RD                                                        Unliquidated
          GRENWICH, CT 06831                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8672
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $650.00
          TUFF PRODUCTS BRAND LLC                                             Contingent
          1060 COLORADO AVE STE C                                             Unliquidated
          CHULA VISTA, CA 91911                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0546
                                                                             Is the claim subject to offset?    No  Yes


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 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $181.00
          TULIP CITY ROD AND GUN CLUB, I                                      Contingent
          PO BOX 1466                                                         Unliquidated
          HOLLAND, MI 49422-1466                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5423
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $221.00
          TULSA RED CASTLE GUN CLUB                                           Contingent
          12609 E 34TH ST                                                     Unliquidated
          TULSA, OK 74146-2324                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5962
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.00
          TWIN CITIES CARRY                                                   Contingent
          8545 BECHTEL CT                                                     Unliquidated
          INVER GROVE HEI, MN 55076                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1061
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          TWIN CITY RIFLE CLUB INC.                                           Contingent
          734 JACK SWAMP RD                                                   Unliquidated
          PLEASANT HILL, NC 27866-0158                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6044
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,980.00
          TYCA CORPORATION                                                    Contingent
          470 MAIN ST.                                                        Unliquidated
          CLINTON, MA 01510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4756
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          UBER, INC.                                                          Contingent
          94 ANJOU                                                            Unliquidated
          NEWPORT COAST, CA 92657-1039                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3493
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $309.81
          ULINE INC                                                           Contingent
          2200 SOUTH LAKESIDE DRIVE                                           Unliquidated
          ACCOUNTS RECEIVABLE                                                 Disputed
          WAUKEGAN, IL 60085
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2676                         Is the claim subject to offset?    No  Yes


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 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $864.61
          ULTIMATE SOFTWARE GROUP INC, THE                                    Contingent
          2000 ULTIMATE WAY                                                   Unliquidated
          WESTON, FL 33326                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4731
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          UNAMI FISH AND GAME ASSOCIATIO                                      Contingent
          PO BOX 805                                                          Unliquidated
          EMMAUS, PA 18049-0805                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6927
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $550,000.00
          UNDER WILD SKIES                                                    Contingent
          c/o DYCIO & BIGGS
          10533 MAIN STREET
                                                                              Unliquidated
          FAIRFAX, VA 22030                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number       3760                         Is the claim subject to offset?    No     Yes
 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,673.45
          UNITED PARCEL SERVICE                                               Contingent
          SHIPPER # 295907                                                    Unliquidated
          P O BOX 4980                                                        Disputed
          HAGERSTOWN, MD 21747-4980
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4937                         Is the claim subject to offset?    No  Yes
 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $34,685.04
          UNITED PARCEL SERVICE #3YX256                                       Contingent
          PO BOX 7247-0244                                                    Unliquidated
          PHILADELPHIA, PA 19170-0001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4650
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $32,649.28
          UNITED STATE FIRE INSURANCE                                         Contingent
          COMPANY                                                             Unliquidated
          305 MADISON AVE                                                     Disputed
          MORRISTOWN, NJ 07962
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9905                         Is the claim subject to offset?    No  Yes
 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,301.88
          UNIVERSAL PROTECTIONS SERVICE LP                                    Contingent
          PO BOX 828854                                                       Unliquidated
          PHILADELPHIA, PA 19182-8854                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6735
                                                                             Is the claim subject to offset?    No  Yes

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 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          UNIVERSITY OF ARKANSAS                                              Contingent
          213 ARKANSAS UNION                                                  Unliquidated
          FAYETTEVILLE, AR 72701                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8822
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          UNIVERSITY OF HAWAII                                                Contingent
          2600 CAMPUS ROAD                                                    Unliquidated
          QLCSS#112                                                           Disputed
          HONOLULU, HI 96822
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0850                         Is the claim subject to offset?    No  Yes
 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $500.00
          UNTAMED ADVENTURES                                                  Contingent
          63 OLD PINHOOK ROAD                                                 Unliquidated
          MOUNT OLIVET, KY 41064                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1028
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $655.20
          UNUM GROUP                                                          Contingent
          ONE FOUNTAIN SQUARE                                                 Unliquidated
          CHATTANOOGA, TN 37402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0376
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,662.30
          UPS FREIGHT                                                         Contingent
          28013 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1710
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,310.11
          URBANCORP EQUIPMENT FINANCE INC.                                    Contingent
          1310 MADRID STREET, SUITE 100                                       Unliquidated
          MARSHALL, MN 56258                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6832
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          US PRECISION DEFENSE, LLC                                           Contingent
          334 W TABERNACLE ST J-3                                             Unliquidated
          SAINT GEORGE, UT 84770-3392                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8757
                                                                             Is the claim subject to offset?    No  Yes


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 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,497.60
          UWHARRIE APPAREL COMPANY, LLC                                       Contingent
          712 PALMER ROAD                                                     Unliquidated
          PO BOX 993                                                          Disputed
          ROCKWELL, NC 28138
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9701                         Is the claim subject to offset?    No  Yes
 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.69
          V.H. BLACKINTON & CO INC                                            Contingent
          221 JOHN DIETSCH BLVD                                               Unliquidated
          ATTLEBORO FALLS, MA 02763-0300                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1533
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $106,048.74
          VA DEPT OF TAXATION-SALES TAX                                       Contingent
          P O BOX 26626                                                       Unliquidated
          RICHMOND, VA 23261-6626                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5168
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $958,526.62
          VALTIM INCORPORATED                                                 Contingent
          PO BOX 114                                                          Unliquidated
          FOREST, VA 24551                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4718
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $224.00
          VAN WERT COUNTY OUTDOORSMEN AS                                      Contingent
          5101 N GRUBB RD                                                     Unliquidated
          ELIDA, OH 45807-9761                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5990
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          VANCE EWING LLC                                                     Contingent
          22940 HARLAN LN                                                     Unliquidated
          SAINT ROBERTS, MO 65584                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0228
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,787.10
          VANTAGE CUSTOM CLASSICS INC                                         Contingent
          100 VANTAGE DRIVE                                                   Unliquidated
          AVENEL, NJ 07001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7877
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,350.00
          VAQUERO CANYON SPECIALTY LLC                                        Contingent
          20714 GOLDEN RIDGE DRIVE                                            Unliquidated
          ASHBURN, VA 20147-3871                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0236
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $824.13
          VERIZON #850050598000186                                            Contingent
          P O BOX 17577                                                       Unliquidated
          BALTIMORE, MD 21297-0513                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3113
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $950.45
          VERIZON #850050610000115                                            Contingent
          PO BOX 660720                                                       Unliquidated
          DALLAS, TX 75266-0720                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4627
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $17.29
          VERIZON #905908594 51Y 703-2434680                                  Contingent
          PO BOX 660720                                                       Unliquidated
          DALLAS, TX 75266-0720                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7423
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,512.03
          VERIZON #U0211171                                                   Contingent
          PO BOX 15043                                                        Unliquidated
          ALBANY, NY 12212-5043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0459
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,929.21
          VERIZON WIRELESS                                                    Contingent
          P.O. BOX 25505                                                      Unliquidated
          LEHIGH VALLEY, PA 18002-5505                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2166
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,796.62
          VERIZON WIRELESS #418449-00033                                      Contingent
          PO BOX 25505                                                        Unliquidated
          LEHIGH VALLEY, PA 18002-5505                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2042
                                                                             Is the claim subject to offset?    No  Yes


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 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $707.19
          VERIZON WIRELESS #418449-00040                                      Contingent
          PO BOX 16810                                                        Unliquidated
          NEWARK, NJ 07101-6810                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0541
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,812.88
          VERIZONWIRELESS                                                     Contingent
          PO BOX 630062                                                       Unliquidated
          DALLAS, TX 75263                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2500
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $598.14
          VERMONT DEPT OF TAXES                                               Contingent
          133 STATE ST                                                        Unliquidated
          PO BOX 547                                                          Disputed
          MONTPELIER, VT 05601-0547
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7276                         Is the claim subject to offset?    No  Yes
 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          VERON AULD                                                          Contingent
          168 N CHERRY ST                                                     Unliquidated
          OAKDALE, IL 62268-2716                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8456
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          VICTOR J LOPEZ PADRON                                               Contingent
          PO BOX 26131                                                        Unliquidated
          TAMPA, FL 33623                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0144
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.00
          VINCENT BALDERRAMA                                                  Contingent
          2210 W. MAIN STREET, SUITE 107                                      Unliquidated
          BATTLE GROUND, WA 98604                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1258
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,528.00
          VINTAGE EDITIONS INC                                                Contingent
          88 BUFF LN.                                                         Unliquidated
          TAYLORSVILLE, NC 28681                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1161
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.00
          VIRGINIA DEPARTMENT OF HEALTH                                       Contingent
          P.O. BOX 2448                                                       Unliquidated
          ROOM 730                                                            Disputed
          RICHMOND, VA 23218
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9591                         Is the claim subject to offset?    No  Yes
 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $55.00
          W. J. DAWSON                                                        Contingent
          23150 WELLINGTON CRES., APT. 204                                    Unliquidated
          CLINTON TOWNSHIP, MI 48036                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1268
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $185.00
          WABASH VALLEY SPORTSMAN CLUB                                        Contingent
          PO BOX 1370                                                         Unliquidated
          VINCENNES, IN 47591-7370                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7396
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          WALDWICK PISTOL & RIFLE CLUB,                                       Contingent
          PO BOX 263                                                          Unliquidated
          WALDWICK, NJ 07463-0263                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8665
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $148.25
          WALKER, LINDA                                                       Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       5017                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          WARRIORS AFIELD LEGACY FOUNDATION                                   Contingent
          14276 SO VALLE VISTA DR                                             Unliquidated
          HERRIMAN, UT 84096                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9694
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $38.12
          WASHINGTON GAS #320004302750                                        Contingent
          PO BOX 37747                                                        Unliquidated
          PHILADELPHIA, PA 19101-5047                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6622
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
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 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,774.47
          WASHINGTON STATE TREASURER                                          Contingent
          PO BOX 9034                                                         Unliquidated
          OLYMPIA, WA 98507-9034                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4586
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,289.43
          WASTE MANAGEMENT OF VIRGINIA INC                                    Contingent
          PO BOX 13648                                                        Unliquidated
          PHILADELPHIA, PA 19101-3648                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3179
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $180,000.00
          WAYNE LAPIERRE EXPENSE REPORTS                                      Contingent
          RESERVE                                                             Unliquidated
          11250 WAPLES MILL ROAD                                              Disputed
          FAIRFAX, VA 22030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2042                         Is the claim subject to offset?    No  Yes
 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $50.00
          WAYNE MONSEES                                                       Contingent
          ONE WHEATSTON COURT                                                 Unliquidated
          PRINCETON JUNCTION, NJ 08550-1936                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1160
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $985.00
          WAYNE PUTMAN                                                        Contingent
          408 FACTORS WALK                                                    Unliquidated
          SUMMERVILLE, SC 29485                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1174
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          WAYNESBURG SPORTSMAN ASSOCIATI                                      Contingent
          PO BOX 214                                                          Unliquidated
          WAYNESBURG, PA 15370-0214                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3199
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,263.75
          WEB BENEFITS DESIGN                                                 Contingent
          P O BOX 1568                                                        Unliquidated
          WINDERMERE, FL 34786-1568                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7731
                                                                             Is the claim subject to offset?    No  Yes


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 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          WEEPING WATER GUN CLUB                                              Contingent
          5707 N 82ND ST                                                      Unliquidated
          OMAHA, NE 68134-1909                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0819
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $75.00
          WELD COUNTY FISH & WILDLIFE AS                                      Contingent
          PO BOX 271                                                          Unliquidated
          FORT LUPTON, CO 80621-0271                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1142
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $200.00
          WELDY, KATHY                                                        Contingent
          14691 TIFFANY CT                                                    Unliquidated
          GRANGER, IN 46530                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1281
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,089.83
          WELLS FARGO BANK, N.A.                                              Contingent
          PO BOX 63020                                                        Unliquidated
          SAN FRANCISCO, CA 94163                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5940
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,065.12
          WELLS FARGO COMMERCIAL CREDIT                                       Contingent
          CARD                                                                Unliquidated
          420 MONTGOMERY STREET                                               Disputed
          SAN FRANCISCO, CA 90051
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3240                         Is the claim subject to offset?    No  Yes
 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $105.00
          WEST END GUN CLUB                                                   Contingent
          PO BOX 541                                                          Unliquidated
          UPLAND, CA 91785-0541                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2169
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,172.36
          WEST PUBLISHING CORPORATION                                         Contingent
          P O BOX 6292                                                        Unliquidated
          CAROL STREAM, IL 60197-6292                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6110
                                                                             Is the claim subject to offset?    No  Yes


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 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $317.00
          WESTERN WAYNE CO. CONSERVATION                                      Contingent
          PO BOX 701009                                                       Unliquidated
          PLYMOUTH, MI 48170-0957                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8540
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $910.00
          WESTFALL LAW LLC                                                    Contingent
          1400 16TH ST MALL                                                   Unliquidated
          #400                                                                Disputed
          DENVER, CO 80202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0000                         Is the claim subject to offset?    No  Yes
 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,973.99
          WESTLAW/THOMSON REUTERS                                             Contingent
          PO BOX 64833                                                        Unliquidated
          ST. PAUL, MN 55164-0833                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3067
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          WESTSIDE L.A. NRA MEMBERS CNCL                                      Contingent
          PO BOX 1219                                                         Unliquidated
          CULVER CITY, CA 90232-1219                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6146
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,830.00
          WFSA                                                                Contingent
          VIALE DELL'ASTRONOMIA 39                                            Unliquidated
          C/o ANPAM                                                           Disputed
          ROME, Italy I-00144
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          WHITE OAK ROD AND GUN CLUB                                          Contingent
          1593 ARONA RD                                                       Unliquidated
          IRWIN, PA 15642-5009                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9311
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,239.30
          WHITE, JUDI                                                         Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       1350                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes


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 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $370.00
          WIGHT OX ENTERPRISES LLC                                            Contingent
          949 STREETER BROOK RD                                               Unliquidated
          LITTLE GENESEE, NY 14754                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1498
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $15.00
          WILDCAT VALLEY RIFLE AND PISTO                                      Contingent
          PO BOX 4102                                                         Unliquidated
          LAFAYETTE, IN 47903-4102                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9762
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $111.00
          WILDERNESS ROAD SHOOTING AND C                                      Contingent
          PO BOX 1017                                                         Unliquidated
          GATE CITY, VA 24251-1017                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7840
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $44.00
          WILDLIFE COMMITTEE OF WASH.                                         Contingent
          1031 228TH S.W.                                                     Unliquidated
          BOTHELL, WA 98021                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5766
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $37.00
          WILKES-BARRE RIFLE & PISTOL                                         Contingent
          222 E. MAIN STREET                                                  Unliquidated
          GLEN LYON, PA 18617                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9176
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.44
          WILLIAM COLE                                                        Contingent
          7074 SE YELLOWOOD LANE                                              Unliquidated
          STUART, FL 34997                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1310
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          WILLIAM DALPE                                                       Contingent
          40 COLONIAL WAY                                                     Unliquidated
          REHOBOTH, MA 02769-1221                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7649
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          WILLIAM DARYL LOFTIS                                                Contingent
          5916 SECRETARIAT DR                                                 Unliquidated
          GIBSONVILLE, NC 27249                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3850
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          WILLIAM FREITAS                                                     Contingent
          211 RIDGE ST                                                        Unliquidated
          MILLIS, MA 02054                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1133
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $63.00
          WILLIAM KRALL                                                       Contingent
          475 S 4TH ST                                                        Unliquidated
          MACCLENNY, FL 32063-2415                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5844
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.00
          WILLIAM M LEGG                                                      Contingent
          350 VIRGINIA LN                                                     Unliquidated
          WAVERLY, OH 45690                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0744
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,481.10
          WILLING, DENNIS L.                                                  Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       5576                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,315.00
          WILSON, JAMES TAYLOR                                                Contingent
          5024 TED STREET                                                     Unliquidated
          ALPINE, TX 79830                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3002
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          WINDSOR MARKSMEN'S ASSOC. INC                                       Contingent
          23 LAUREL AVENUE                                                    Unliquidated
          WINDSOR, CT 06095                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5599
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,662.78
          WINDSTREAM                                                          Contingent
          PO BOX 9001013                                                      Unliquidated
          LOUISVILLE, KY 40290-1013                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2566
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $27.00
          WINNEQUAH GUN CLUB                                                  Contingent
          702 5TH ST                                                          Unliquidated
          WAUNAKEE, WI 53597-1234                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2037
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $60.00
          WINNSBORO GUN CLUB INC                                              Contingent
          169 POWDER HORN LN                                                  Unliquidated
          HAWKINS, TX 75765                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1043
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $309.33
          WITHERS BERGMAN LLC                                                 Contingent
          157 CHURCH ST                                                       Unliquidated
          12TH FLR                                                            Disputed
          NEW HAVEN, CT 06510
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9087                         Is the claim subject to offset?    No  Yes
 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,050.00
          WOOD, KEITH A                                                       Contingent
          2428 OLD ST. AUGUSTINE ROAD                                         Unliquidated
          TALLAHASSEE, FL 32301                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3083
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,100.00
          WORKMAN, DAVID                                                      Contingent
          ADDRESS REDACTED                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number       8284                         Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          WORTH A SHOT, INC.                                                  Contingent
          8424 VETERANS HWY STE 5                                             Unliquidated
          MILLERSVILLE, MD 21108-2556                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7267
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,180.00
          WS LINDSAY PAINT & WALLCOVERING                                     Contingent
          SPECIALI                                                            Unliquidated
          902 E TONEWALL DRIVE                                                Disputed
          FRONT ROYAL, VA 22630
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2433                         Is the claim subject to offset?    No  Yes
 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          X RING PROTECTION, LLC                                              Contingent
          2623 HIGHWAY 957                                                    Unliquidated
          ETHEL, LA 70730-4222                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7285
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          YACKLEY, REBECCA MARIE                                              Contingent
          W7027 POLINSKE RD                                                   Unliquidated
          PORTAGE, WI 53901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2522
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $12.00
          YANKTON COUNTY SHARPSHOOTERS A                                      Contingent
          PO BOX 496                                                          Unliquidated
          YANKTON, SD 57078-0496                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5720
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.00
          YELLOWSTONE RIFLE CLUB                                              Contingent
          PO BOX 557                                                          Unliquidated
          BILLINGS, MT 59103-0557                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2261
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $6.00
          YORK RIFLE RANGE ASSOCIATION,                                       Contingent
          406 ORCHARD CT                                                      Unliquidated
          RED LION, PA 17356                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1175
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,909.52
          ZAYO GROUP HOLDINGS INC                                             Contingent
          4772 WALNUT ST                                                      Unliquidated
          SUITE 100                                                           Disputed
          BOULDER, CO 80301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       6508                         Is the claim subject to offset?    No  Yes


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 Debtor       National Rifle Association of America                                                   Case number (if known)            21-30085
              Name

 3.111
 6         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $6.00
           ZEPPELIN RIFLE CLUB, INC                                           Contingent
           197 SEIBERLING ST                                                  Unliquidated
           AKRON, OH 44306-3235                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      4537
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 7         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $48.00
           ZIA RIFLE & PISTOL CLUB OF N.M                                     Contingent
           PO BOX 9131                                                        Unliquidated
           ALBUQUERQUE, NM 87119-9131                                         Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      5754
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                    3,415,465.22
 5b. Total claims from Part 2                                                                            5b.    +   $                   62,406,768.52

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      65,822,233.74




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 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30085
                                                                                                                               
                                                                                                                               X Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                        SEE ATTACHED
                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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National Rifle Association of America
Schedule G ‐ Contracts and Unexpired Leases


            Name                                        Address1                            Address2     Address3 City                State Zip        Type                                      Service                            Term Remaining
Add         ABIS                                                                                                                                       CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                  OPEN
            ABM BUILDING SERVICES                       5701 GENERAL WASHINGTON DRVIE       STE J                 ALEXANDRIA          VA         22312 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         ABR SERVICES, INC.                                                                                                                         CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                  OPEN
Add         ACTION MAILERS INC                                                                                                                         CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
Add         ADVANCED RESPONSE SYSTEMS                                                                                                                  CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
            AFILIAS LIMITED                             2 LA TOUCHE HOUSE                   IFSC                  DUBLIN 1 IRELAND                     CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         AKA PRINTING & MAILING                                                                                                                     CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
            ALLEN COMMUNICATION LEARNING SERVICES INC   55 WEST 900 SOUTH                                         SALT LAKE CITY      UT         84101 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            ALLIANCE FOR AUDITED MEDIA                  PO BOX 5998                                               CAROL STREAM        IL    60197‐5998 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         AM DIRECT                                                                                                                                  CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                  OPEN
Add         AMERICAN LITHO INC                          175 MERCEDES DR                                           CAROL STREAM        IL    60188      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
            ANALYTICS PROS INC                          5325 BALLARD AVE NW                 STE 300               SEATTLE             WA         98107 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            AP WORLDWIDE PHOTOS                         450 WEST 33RD STREET                                      NEW YORK            NY         10001 CONTRACT                                  IMAGES AND LICENSED PLATFORMS      AUTO‐RENEWS
            ARD LAW GROUP                               P.O. BOX 11633                                            BAINBRIDGE ISLAND   WA         98110 CONTRACT                                  LEGAL                              INDEFINITE TIME
            ARMITAGE, DECHENE & ASSOCIATES              228 CHELTENHAM RD.                                        NEWARK              DE         19711 CONTRACT                                  STATE LOBBYIST (DELAWARE)          11 MONTHS
            ARONSON LLC                                 111 ROCKVILLE PIKE                  SUITE 600             ROCKVILLE           MD         20850 CONTRACT                                  AUDIT SERVICES                     11 MONTHS
Add         ASPIS                                       11244 WAPLES MILL RD                                      FAIRFAX             VA         22030 LEASE                                     OFFICE SPACE LEASE                 1 MONTH
            ASSOCIATED PRESS, THE                       50 ROCKEFELLER PLAZA                                      NEW YORK            NY         10020 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            BENEDIKT, ARAM BARSCH VON                   PO BOX 1376                                               BOULDER             UT         84716 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            BENEFIT RESOURCES INC                       P O BOX 14124                                             ATLANTA             GA         30324 CONTRACT                                  BENEFIT CONSULTANT                 11 MONTHS
            BOSS OUTDOOR PRODUCTIONS,LLC                1612 PINE LOG RD                                          AIKEN               SC         29803 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            BRADLEY ARANT BOULT                         1615 L STREET NW                    SUITE 1350            WASHINGTON          DC         20036 CONTRACT                                  LEGAL                              INDEFINITE TIME
            BURGESS, CLIFFORD T. JR.                    54 RAMBO CT                                               LINDEN              VA         22642 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         C.P. DIRECT, INC.                           4600A BOSTON WAY                                          LANHAM              MD    20706      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
Add         C.P. SERVICES INC.                                                                                                                         CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                  OPEN
            CAMPBELL, DAVID                             1313 LANE 13                                              POWELL              WY         82435 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            CARTER, AARON MICHAEL                       PO BOX 430                                                MARSHALL            VA         20116 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         CC3                                                                                                                                        CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                  OPEN
Add         CEILING & FLOOR RESTORATION                 11244 WAPLES MILL RD                                      FAIRFAX             VA         22030 LEASE                                     OFFICE SPACE LEASE                 5 MONTHS
            CENTENNIAL PROTECTION GROUP LLC             2300 YORK ROAD                      SUITE 206             TIMONIUM            MD         21093 CONTRACT                                  SECURITY SERVICES                  11 MONTHS
            CENTRAL NATIONAL GOTTESMAN                  7230 PRESTON GATEWAY DRIVE                                HANOVER             MD         21076 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            CEQUEL DATA CENTERS LP                      520 AMRYVILLE CENTRE DR             STE 300               ST LOUIS            MO         63141 CONTRACT                                  IS SUPPORT SERVICES                11 MONTHS
            CHRIS CERINO TRAINING GROUP LLC             306 HILLSDALE CIRCLE                                      WADSWORTH           OH         44281 CONTRACT                                  TRAINING SERVICES                  11 MONTHS
Add         CINGULAR                                    14003 S BELL RD                                           HOMER GLEN          IL         60491 LEASE                                     ROOF SPACE LEASE (CELL EQUIP)      2 MONTHS
            CINTAS CORPORATION                          9022 EUCLID AVE                                           MANASSAS            VA         20110 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            CISION US INC.                              12051 INDIAN CREEK COURT                                  BELTSVILLE          MD         20705 CONTRACT                                  PAC DATABASE AND ACCOUNTING        5 MONTHS
            CLAPP, WILEY                                1628 COUNTY ROAD                                          MINDEN              NV         89423 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            COASTLINE LTD                               P O BOX 1247                                              ALEXANDRIA          VA         22313 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         COLORTREE INC OF VIRGINIA                   8000 VILLA PARK DRIVE                                     RICHMOND            VA    23228      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
            COMCAST BUSINESS #8155600385492106          PO BOX 34744                                              SEATTLE             WA    98124‐1744 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            COMCAST BUSINESS #933669439                 PO BOX 37601                                              PHILADELPHIA        PA    19101‐0601 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            COMMONWEALTH GROUP PARTNERS LLC             1579 MONROE DR                      SUITE F341            ATLANTA             GA         30324 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         COMMUNICATION GRAPHICS INC.                 1765 NORTH JUNIPER                                        BROKEN ARROW        OK    74012      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
Add         COMMUNICATIONS CORP OF AMERICA              13195 FREEDOM WAY                                         BOSTON              VA    22713      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
            COOKE, CHARLES                              2622 LIGHTHOUSE BEND DRIVE                                PONTE VEDRA BEACH   FL         32082 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
Add         CORPORATE PRESS INC.                        9700 PHILADEPHIA COURT                                    LANHAM              MD    20706      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
            CORR CRONIN LLP                             101 FOURTH AVENUE                   SUITE 3900            SEATTLE             WA         98154 CONTRACT                                  LEGAL                              INDEFINITE TIME
            COSTELLO, VALENTE & GENTRY PC               51 PUTNEY ROAD                      PO BOX 483            BRATTLEBORO         VT          5301 CONTRACT                                  LEGAL                              INDEFINITE TIME
Add         CPS‐IL, LLC                                                                                                                                CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
Add         CRAIG SPRAY                                 11250 WAPLES MILL RD                                      FAIRFAX             VA         22030 CONTRACT                                  EMPLOYMENT CONTRACT                OPEN
            CREIGHTON, KEVIN JOHN                       1312 E CASSIA LANE                                        GILBERT             AZ         85298 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            DATATRAX PUBLISHING SYSTEMS INC             10 EXECUTIVE DRIVE                                        FARMINGTON          CT          6032 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            DEADLY PASSION PRODUCTIONS                  957 W 11TH ST                                             GREGORY             SD         57533 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            DECISION SOFTWARE INC.                      4640 FORBES BLVD                    SUITE 310             LANHAM              MD         20706 CONTRACT                                  SOFTWARE/SERVICES AGREEMENT        11 MONTHS
            DELLA MEDIA LTD                             15562 NORTH ROYAL DOULTON                                 CLINTON TOWNSHIP    MI         48038 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            DELTA BRIDGE INC                            1400A DUKE ST                                             ALEXANDRIA          VA         22314 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            DICKINSON WRIGHT, PLLC                      1825 EYE STREET NW, SUITE 900                             WASHINGTON          DC         20006 CONTRACT                                  OUTSIDE COUNSEL                    INDEFINITE TIME
            DIGUISEPPE LAW FIRM PC                      4320 SOUTHPORT SUPPLY ROAD          SUITE 300             SOUTHPORT           NC         28461 CONTRACT                                  LEGAL                              INDEFINITE TIME
Add         DIRECT MAIL SOLUTIONS                                                                                                                      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
Add         DIVERSIFIED MAILING SERVICES, INC.                                                                                                         CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                  OPEN
Add         EAGLE SOFTWARE                              11250 WAPLES MILL RD                                      FAIRFAX             VA         22030 LEASE                                     OFFICE SPACE LEASE                 5 MONTHS
            ECOLAB INC                                  26252 NETWORK PLACE                                       CHICAGO             IL    60673‐1262 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            ELEMENT 27 INC                              5583 ROSSEVELT ST                                         WHITEHALL           PA         18052 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            EXPENSIFY                                   88 KEARNY STREET                                          SAN FRANCISCO       CA         94108 CONTRACT                                  EMPLOYEE EXPENSE REPORT PLATFORM   1 MONTH
Add         FEDERAL DIRECT                                                                                                                             CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                  OPEN
            FENSON, BRADLEY                             1716 55 ST NW                                             EDMONTON ALBERTA              T6L2C3 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            FISCALNOTE                                  1201 PENNSYLVANIA AVENUE NW, 6TH FLOO                     WASHINGTON          DC         20004 CONTRACT                                  FEDERAL LEGIS TRACKING             5 MONTHS
Add         FISHER GROUP                                                                                                                               CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
Add         FMI DIRECT INC.                                                                                                                            CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                  OPEN
            FORD CREDIT                                 P.O. BOX 650573                                           DALLAS              TX    75265‐0573 LEASE                                     VEHICLE (1)                        9 MONTHS
            FORD CREDIT                                 P.O. BOX 650573                                           DALLAS              TX    75265‐0573 LEASE                                     VEHICLE (1)                        12 MONTHS
            FRANK D. BOSTON III                         2002 CLIPPER PARK RD #108                                 BALTIMORE           MD         21211 CONTRACT                                  STATE LOBBYIST (MARYLAND)          11 MONTHS
            FREE BEACON, LLC                            1000 WILSON BLVD                    SUITE 2600            ARILINGTON          VA         22209 CONTRACT                                  ONLINE ADVERTISING                 65 MONTHS
            GLOBAL NEW BEGINNINGS INC                   4042 W 82ND CT                                            MERRILLVILLE        IN         46410 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
            GOETZ PRINTING COMPANY, THE                 7939 ANGUS COURT                                          SPRINGFIELD         VA         22153 CONTRACT                                  BUSINESS SERVICES                  11 MONTHS
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          GRANITE TELECOMMUNICATIONS LLC                  100 NEWPORT AVENUE EXTENSION                          QUINCY            MA         2171 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
Amended   HAMMER, MARION                                  P.O. BOX 1676                                         TALLAHASSEE       FL   32302‐1676 CONTRACT                                  CONSULTING SERVICES                     84 MONTHS
          HARTMAN WINWICKI                                74 PASSAIC ST                                         RIDGEWOOD         NJ         7450 CONTRACT                                  LEGAL                                   INDEFINITE TIME
          HEAD, EDWARD M III                              2355 RESTING PL                         PO BOX 4677   CHINO VALLEY      AZ        86323 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          HODGKINS & ASSOCIATES                           4747 PINNACLE DRIVE                                   BRADENTON         FL        34208 CONTRACT                                  STATE AND FEDERAL LOBBYIST              11 MONTHS
          HORMAN, BROOK GILBERT                           2511 FILMORE ST                                       SALT LAKE CITY    UT        84106 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          IDM PRODUCTIONS LLC                             PO BOX 5506                                           WINTER PARK       FL        32793 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
Add       IMAGE DIRECT LLC                                4600 WEDGEWOOD BLVD, UNIT N                           FREDERICK         MD   21703      CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                       OPEN
          INFOCISION MANAGEMENT CORP                      325 SPRINGSIDE DR                                     AKRON             OH        44333 CONTRACT                                  TELEMARKETING/CUSTOMER SERV             29 MONTHS
          INTERNATIONAL FIREARMS CONSULTANTS              PO BOX 720                                            KINGSTON          NH         3848 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          INTRADO ENTERPRISE COLLABORATION INC            11808 MIRACLE HILLS DR                                OMAHA             NE        68154 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          IRON MOUNTAIN INTELLECTUAL PROPERTY MANAGEMENT I2100 NORCROSS PARKWAY                   SUITE 150     NORCROSS          GA        30071 CONTRACT                                  FILE MANAGEMENT                         11 MONTHS
          J JENKINS SONS CO INC                           1801 WHITEHEAD RD                                     BALTIMORE         MD        21207 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          J&A MARKETING LLC                               200 COMPASS CIRCLE                                    NORTH KINGSTOWN   RI         2852 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          J3 STRATEGIES                                   P.O. BOX 19762                                        RENO              NV        89511 CONTRACT                                  STATE LOBBYIST (NEVADA)                 11 MONTHS
Add       JACKSON CONSTRUCTION SVCS                       11244 WAPLES MILL RD                                  FAIRFAX           VA        22030 LEASE                                     OFFICE SPACE LEASE                      14 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (2)                             9 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             1 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (4)                             2 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (2)                             3 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (8)                             4 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (2)                             5 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (2)                             6 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             7 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             8 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             10 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (3)                             22 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (2)                             23 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             13 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (3)                             14 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (4)                             15 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             16 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (2)                             17 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (2)                             18 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             30 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             19 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             20 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             26 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (3)                             31 MONTHS
          JEFFERSON LEASING                               P.O. BOX 140733                                       ORLANDO           FL   32814‐0733 LEASE                                     VEHICLE (1)                             32 MONTHS
          JOHNSTON, JEFF                                  6898 WHITTON CIRCLE                                   GAINESVILLE       VA        20155 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          JURIS DAY                                       10521 JUDICIAL DRIVE                    NO. 200       FAIRFAX           VA        22030 CONTRACT                                  LEGAL                                   INDEFINITE TIME
          KASTLE SYSTEMS, LLC                             6402 ARLINGTON BLVD.                                  FALLS CHURCH      VA        22042 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          KEEL, TAMARA RYAN                               5520 WINTHROP AVE                                     INDIANAPOLIS      IN        46220 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          KEENE, DAVID                                    5899 PARENHAM WAY                                     ALEXANDRIA        VA        22310 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          KEY & ASSOCIATES                                12176 CHANCERY STATION CIRCLE                         RESTON            VA        20190 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          KIRKLAND & ELLIS LLP                            655 FIFTEENTH STREET NW                               WASHINGTON        DC        20005 CONTRACT                                  LEGAL                                   INDEFINITE TIME
          KITE, LOURDES                                   8910 EARLY ST                                         MANASSAS          VA        20110 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          KOCEVAR, SANDRA                                 69 RUNYON RD                                          HUMMELSTOWN       PA        17036 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          KOUNT INC                                       917 S LUSK ST                           SUITE 300     BOISE             ID        83706 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          LOCKE, GARY                                     2702 SOUTH FARM ROAD 227                              ROGERSVILLE       MO        65742 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          LOHMAN, EUGENE A III                            11255 RAMROD ROAD                                     WOODBRIDGE        VA        22192 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
Add       MAIL HANDLING GROUP                                                                                                                     CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                       OPEN
          MAILFINANCE                                     478 WHEELERS FARM RD                                  MILFORD           CT         6461 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          MARSHALL & POPP                                 611 2ND STREET NE STE.1                               WASHINGTON        DC        20002 CONTRACT                                  FEDERAL CONTRACT LOBBYIST               11 MONTHS
          MASSARO MEDIA GROUP LLC                         74 COLE LANE                                          WEST COXSACKIE    NY        12192 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          MASSIMILIAN, ANDREW                             8 WEST STONE ST                                       NEWBURGH          NY        12550 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
Add       MASTER GRAPHICS LLC                             1100 SOUTH MAIN ST                                    ROCHELLE          IL   61068      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                       OPEN
          MCINTOSH CO INC, THE                            4424 SOUTHERN AVE                                     DALLAS            TX        75205 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          MCKAY, HOLLIE SUSANNE                           206 W 21ST ST #C9                                     NEW YORK          NY        10011 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          MDI IMAGING & MAIL ‐ NON‐POSTAGE                21955 CASCADES PARKWAY                                DULLES            VA        20166 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          MEDIOTYPE LLC                                   500 DISCOVERY PARKWAY                   SUITE 325     SUPERIOR          CO        80027 CONTRACT                                  WEBSITE SUPPORT                         6 MONTHS
          MELTWATER                                       14005 LIVE OAK AVENUE                                 IRWINDALE         CA        91706 CONTRACT                                  E‐NEWSLETTER PLATFORM                   4 MONTHS
          MEMBERSHIP ADVISORS FUNDRAISING LLC             11250 WAPLES MILL RD                    SUITE 310     FAIRFAX           VA        22030 CONTRACT                                  DIRECT MAIL/DIGITAL SUPPORT             57 MONTHS
          MEMBERSHIP ADVISORS PUBLIC RELATIONS LLC        11250 WAPLES MILL RD                    SUITE 310     FAIRFAX           VA        22030 CONTRACT                                  DIRECT MAIL/DIGITAL SUPPORT             57 MONTHS
Add       MEMBERSHIP MARKETING PARTNERS LLC               11250 WAPLES MILL RD                    SUITE 310     FAIRFAX           VA        22030 LEASE                                     OFFICE SPACE LEASE                      57 MONTHS
          MEMBERSHIP MARKETING PARTNERS LLC               11250 WAPLES MILL RD                    SUITE 310     FAIRFAX           VA        22030 CONTRACT                                  DIRECT MAIL/DIGITAL SUPPORT             57 MONTHS
          MENLO TECHNOLOGIES                              8607 WESTWOOD CENTER DRIVE, SUITE 250                 VIENNA            VA        22182 CONTRACT                                  ACCOUNTING SOFTWARE                     11 MONTHS
          MERKLE RESPONSE SERVICES, INC.                  100 JAMISON COURT                                     HAGERSTOWN        MD        21740 CONTRACT                                  FUNDRAISING CAGING                      36 MONTHS
          META MEDIA TRAINING INTL INC                    20251 CENTURY BLVD STE 425                            GERMANTOWN        MD        20874 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
Add       METROPOLITAN TECHNOLOGIES, INC.                 5965 PEACHTREE CORNERS EAST             SUITE C2      NORCROSS          GA   30071      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                       OPEN
          MEYER, DARRAGH, BUCKL                           40 NORTH PENNSYLVANIA AVE               SUITE 410     GREENSBURG        PA        15601 CONTRACT                                  LEGAL                                   INDEFINITE TIME
          MICHAEL BENECKE/CAITLIN BENECKE                 5525 N. FOSTER PLACE                                  PRESCOTT          AZ        86314 CONTRACT                                  EVENT LOGISTICS                         11 MONTHS
          MORGAN, MARTIN                                  448 JULIA ST #403                                     NEW ORLEANS       LA        70130 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
Add       MSP                                                                                                                                     CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                       OPEN
          NADA SERVICES CORPORATION                       8400 WESTPARK DRIVE                                   MCLEAN            VA        22102 LEASE                                     OFFICE SPACE LEASE                      11 MONTHS
          NATION BUILDER                                  448 S HILL STREET, STE 200                                              CA        90013 CONTRACT                                  GRASSROOTS CMS                          11 MONTHS
          NATIONAL BUSINESS INSTITUTE                     1218 MCCANN DR                                        ALTOONA           WI        54720 CONTRACT                                  BUSINESS SERVICES                       11 MONTHS
          NATIONAL FULFILLMENT SERVICES LLC               105 COMMERCE DRIVE                                    ASHTON            PA        19014 CONTRACT                                  FULFILLMENT SERVICES/CUSTOMER SERVICE   14 MONTHS
Add       NATIONAL PRODUCTION CORPORATION                                                                                                         CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                       OPEN
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          NAVISTAR DIRECT MARKETING LLC                 15325 LAWMONT ST                                NORTH LAWRENCE   OH        44666 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          NEOPOST USA INC                               1749 OLD MEADOW RD SUITE 200                    MCLEAN           VA        22102 CONTRACT                                  POSTAGE SERVICES                           11 MONTHS
          NEXTOPIA SOFTWARE CORPORATION                 260 KING ST EAST                   SUITE A200   TORONTO          ON      M5A4L5 CONTRACT                                   SOFTWARE/SERVICES AGREEMENT                11 MONTHS
          NOVAK (DBA RED RIVER CANYON)                  500 NORTH THIRD ST., SUITE 9B                   HARRISBURG       PA        17101 CONTRACT                                  STATE LOBBYIST (PENNSYLVANIA)              11 MONTHS
Add       NRA FOUNDATION                                11250 WAPLES MILL RD                            FAIRFAX          VA        22030 CONTRACT                                  MANAGEMENT SERVICES                        1 MONTH
          NXTBOOK MEDIA LLC                             480 NEW HOLLAND AVE                SUITE 9000   LANCASTER        PA        17602 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          ONE CLICK POLITICS                            1 N WACKER DR. #3601                            CHICAGO          IL        60606 CONTRACT                                  GRASSROOTS SOFTWARE                        10.5 MONTHS
Add       OPENFIRST                                                                                                                      CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                          OPEN
Add       OPTIMUS PRINT MARKETING LLC                                                                                                    CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                          OPEN
          OUTDOOR CHANNEL                               43445 BUSINESS PARK DR #103                     TEMECULA         CA        92590 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          OUTSIDE CONNECTION, THE                       58 SONIA LANE                                   N CLARENDON      VT   05759‐9791 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          PAC OUTSOURCING, LLC                          5845 RICHMOND HIGHWAY                           ALEXANDRIA       VA        22303 CONTRACT                                  PAC COMPLIANCE SUPPORT                     1 MONTH
          PALM COAST DATA INC                           11 COMMERCE BOULEVARD                           PALM COAST       FL   32164‐7961 CONTRACT                                  MEMBERSHIP CAGING AND DATA SERVICES        7 MONTHS
          PARAMETER LLC                                 223 SALT LICK ROAD                 SUITE 220    ST PETERS        MO        63376 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          PAXTON RECORD RETENTION INC                   5280 PORT ROYAL ROAD                            SPRINGFIELD      VA        22151 CONTRACT                                  BUSINESS SERVICES                          1 MONTH
Add       PERSONALIZED MARKETING COMMUNICATIONS, INC.                                                                                    CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                          OPEN
Add       PGI COMPANIES INC.                            11354 K‐TEL DRIVE                               MINNETONKA       MN   55343      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
          PLANTWORKS INC                                3612 EAST STREET                                LANDOVER         MD        20785 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          PRAETORIAN GROUP,INC.                         200 GREEN STREET SUITE 200                      SAN FRANCISCO    CA        94111 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       PRECISION TECHNOLOGY INC (PTI)                39 SHEEP DAVIS ROAD                             PEMBROKE         NH   03275      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
          PREMIUM LAWN CARE SERVICES INC                12329 BRADDOCK RD                               FAIRFAX          VA        22030 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       PRODUCTION SERVICES ASSOCIATION               485 EAST HALF DAY RD                            BUFFALO GROVE    IL   60089      CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                          OPEN
          PROSPERO DUO LLC                              765 EAST MAIN ST                                BRANFORD         CT         6405 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          QUADGRAPHICS                                  100 DUPLAINVILLE ROAD                           THE ROCK         GA        30285 CONTRACT                                  PRINTING SERVICES                          47 MONTHS
          QUALTRICS, LLC                                2250 N. UNIVERSITY PKWY, 48‐C                   PROVO            UT        84604 CONTRACT                                  ILA R&I SOFTWARE                           9 MONTHS
Add       R.R. DONNELLEY & SONS COMPANY                 8401 CONNECTICUT AVE                            CHEVY CHASE      MD        20815 CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
          RAMWORKS INC                                  3702 ROCKY BRANCH ROAD                          PRINCETON        WV        24740 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       RAPP COLLIN WORLDWIDE                         220 EAST 42ND STREET                            NEW YORK         NY        10017 CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                          OPEN
Add       RBA ENGINEERING INT'L, PLLC                   11244 WAPLES MILL RD                            FAIRFAX          VA        22030 LEASE                                     OFFICE SPACE LEASE                         11 MONTHS
          RED COATS INC                                 4401 EAST WEST HIGHWAY                          BETHESDA         MD        20602 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          RELX INC                                      PO BOX 7247‐7090                                PHILADELPHIA     PA   19170‐7090 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          REPUBLICAN ATTORNEYS GENERAL ASSOCIATION      1747 PENNSYLVANIA AVE NW           SUITE 800    WASHINGTON       DC        20006 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          RIFLEMAN CONSULTING LLC                       PO BOX 671                                      CARTHAGE         NC        28327 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       RISING SUN, INC.                              11244 WAPLES MILL RD                            FAIRFAX          VA        22030 LEASE                                     OFFICE SPACE LEASE                         11 MONTHS
          ROBERT F SHARPE & CO INC                      6410 POPLAR AVENUE                 SUITE 700    MEMPHIS          TN        38119 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          ROBOTRONICS INC                               1610 WEST 1600 SOUTH                            SPRINGVILLE      UT   84663‐3057 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          ROSS GROUP INC, THE                           2730 INDIAN RIPPLE ROAD                         DAYTON           OH        45440 CONTRACT                                  LICENSING AGREEMENT‐ MEMBERZ PLUS SOFTWARE 6 MONTHS
          RR DONNELLEY                                  3075 HIGHLAND PKWY STE 400                      DOWNERS GROVE    IL   60515‐1228 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          RW BEYER ENTERPRISES                          494 STATE STREET, SUITE 220                     SALEM            OR        97301 CONTRACT                                  STATE LOBBYIST (OREGON)                    11 MONTHS
          SAGI, GUY                                     207 CICERO BEATTY                               RAEFORD          NC        28376 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          SALESFORCE.COM INC                            ONE MARK ST~THE LANDMARK           SUITE 300    SAN FRANCISCO    CA        94105 CONTRACT                                  SOFTWARE/SERVICES AGREEMENT                11 MONTHS
          SAP CONCUR TECHNOLOGIES                       601 108TH AVENUE NE, SUITE 1000                 BELLEVUE         WA        98004 CONTRACT                                  EXPENSE REPORTING SOFTWARE                 10.5 MONTHS
          SCHINDLER ELEVATOR CORPORATION                5800 MUIRKIRK RD                                BELTSVILLE       MD        20705 CONTRACT                                  MAINTENANCE AGREEMENT                      11 MONTHS
Add       SCHROPP, TYLER                                11250 WAPLES MILL RD                            FAIRFAX          VA        22030 CONTRACT                                  EMPLOYMENT CONTRACT                        24 MONTHS
Add       SECKMAN PRINTING, INC.                        305 ENTERPRISE DRIVE                            FOREST           VA   24551      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
          SEILER EPSTEIN LLP                            601 MONTGOMERY STREET              SUITE 2000   SAN FRANCISCO    CA        94111 CONTRACT                                  LEGAL                                      INDEFINITE TIME
          SHOCKEY SCOFIELD SOLUTIONS (S‐3 GROUP)        418 C STREET NE                                 WASHINGTON       DC        20002 CONTRACT                                  FEDERAL CONTRACT LOBBYIST                  11 MONTHS
Add       SHONNA M. POPE, INC                           11244 WAPLES MILL RD                            FAIRFAX          VA        22030 LEASE                                     OFFICE SPACE LEASE                         23 MONTHS
Add       SISK FULFILLMENT SERVICE, INC.                1900 INDUSTRIAL PARK DRIVE                      FEDERALSBURG     MD   21632      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
Add       SMS DIRECT, INC.                              8461 VIRGINIA MEADOWS DRIVE                     MANASSAS         VA   20109      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
          SOBRAN INC                                    4401 DAYTON‐XENIA RD                            DAYTON           OH        45432 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       SOSA                                          11250 WAPLES MILL RD                            FAIRFAX          VA        22030 LEASE                                     OFFICE SPACE LEASE                         35 MONTHS
          SOUTHERN TACTICAL AND OUTDOORS                1130 DAWSON RD                                  WHITE BLUFF      TN        37187 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       SOUTHWEST PUBLISHING & MAILING CORP.          4000 SE ADMAS STREE                             TOPEKA           KS        66609 CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
          SPECTER SECURITY GROUP                        7371 ATLAS WALK WAY #177                        GAINESVILLE      VA        20155 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       SPRINT                                        PO BOX 1769                                     NEWARK           NJ   07101‐1769 LEASE                                     ROOF SPACE LEASE (CELL EQUIP)              9 MONTHS
          STARBOARD STRATEGIC, INC.                     817 SLATERS LANE                                ALEXANDRIA       VA        22314 CONTRACT                                  ADVERTISING                                6 MONTHS
          STEPHEN HALBROOK ATTORNEY AT LAW              3925 CHAIN BRIDGE ROAD             SUITE 403    FAIRFAX          VA        22030 CONTRACT                                  LEGAL                                      INDEFINITE TIME
          STONE JOHNSON LIMITED                         111 WEST WASHINGTON STREET         SUITE 1800   CHICAGO          IL        60602 CONTRACT                                  LEGAL                                      INDEFINITE TIME
          SURESHIP, INC.                                4901 FORBES BLVD                                LANHAM           MD        20706 CONTRACT                                  GENERAL OPERATIONS FULLFILMENT SERVICES    11 MONTHS
          SWEENEY, PATRICK JAMES                        200 BURWOOD AVE                                 ANN ARBOR        MI        48103 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          TAURUS CONSULTING                             211 CONCORD DRIVE                               RIVER EDGE       NJ         7661 CONTRACT                                  SAGE USER SUPPORT                          2 MONTHS
          TBK STRATEGIES LLC                            PO BOX 239                                      POCONO PINES     PA        18350 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Add       TEDRICK, RICK                                 11250 WAPLES MILL RD                            FAIRFAX          VA        22030 CONTRACT                                  EMPLOYMENT CONTRACT                        88 MONTHS
Add       THE CALMARK GROUP                             6755 SOUTH SAYRE                                BEDFORD PARK     IL   60638      CONFIDENTIALITY AGREEMENT                 BUSINESS SERVICES                          OPEN
Add       THE MAIL BOX                                                                                                                   CONFIDENTIALITY AND SECURITY AGREEMENT    BUSINESS SERVICES                          OPEN
          THOMSON REUTERS ‐ LEGAL TRACKER               610 OPPERMAN DRIVE, PO BOX 64833                ST. PAUL         MN        55164 CONTRACT                                  LEGAL TRACKING SOFTWARE                    11 MONTHS
          THYSSENKRUPP ELEVATOR CORP                    P O BOX 933007                                  ATLANTA          GA   31193‐3010 CONTRACT                                  MAINTENANCE AGREEMENT                      11 MONTHS
Add       T‐MOBILE                                      PO BOX 742596                                   CINCINNATI       OH   45274‐2596 LEASE                                     ROOF SPACE LEASE (CELL EQUIP)              54 MONTHS
Add       T‐MOBILE GENERATOR SITE                       PO BOX 742596                                   CINCINNATI       OH   45274‐2596 LEASE                                     ROOF SPACE LEASE (CELL EQUIP)              54 MONTHS
          TOM KWIECIAK CONSULTING, LLC                  3408 33RD WAY, NW                               OLYMPIA          WA        98502 CONTRACT                                  STATE LOBBYISTS (WASHINGTON)               11 MONTHS
          TRIDENT CONCEPTS LLC                          PO BOX 342138                                   AUSTIN           TX        78734 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
Amended   UNIFIED SPORTSMEN OF FLORIDA                                                                                                   CONTRACT                                  STATE GRANT                                11 MONTHS
          UNIVERSAL PROTECTIONS SERVICE LP              PO BOX 828854                                   PHILADELPHIA     PA   19182‐8854 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          UNUM GROUP                                    ONE FOUNTAIN SQUARE                             CHATTANOOGA      TN        37402 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          VALTIM INCORPORATED                           PO BOX 114                                      FOREST           VA        24551 CONTRACT                                  MEMBERSHIP FULLFILMENT SERVICES            25 MONTHS
Add       VERIZON                                       P O BOX 9622                                    MISSION HILLS    CA   91346‐9622 LEASE                                     ROOF SPACE LEASE (CELL EQUIP)              52 MONTHS
          VERIZON #451872649000128                      PO BOX 15124                                    ALBANY           NY   12212‐5124 CONTRACT                                  BUSINESS SERVICES                          11 MONTHS
          WASTE MANAGEMENT OF VIRGINIA INC              PO BOX 13648                                    PHILADELPHIA     PA   19101‐3648 CONTRACT                                  WASTER REMOVAL                             11 MONTHS
Add       WAYNE LAPIERRE                                11250 WAPLES MILL RD                            FAIRFAX          VA        22030 CONTRACT                                  EMPLOYMENT CONTRACT                        8 MONTHS
                                  Case 21-30085-hdh11 Doc 286 Filed 03/04/21                   Entered 03/04/21 14:49:10   Page 235 of 236


      WEB BENEFITS DESIGN                             P O BOX 1568           WINDERMERE   FL   34786‐1568 CONTRACT          EMPLOYEE BENEFIT SERVICES   11 MONTHS
Add   WIDEPOINT CYBERSECURITY SOLUTIONS CORPORATION   11250 WAPLES MILL RD   FAIRFAX      VA        22030 LEASE             OFFICE SPACE LEASE          100 MONTHS
      WILSON, JAMES TAYLOR                            5024 TED STREET        ALPINE       TX        79830 CONTRACT          BUSINESS SERVICES           11 MONTHS
      WORKMAN, DAVID                                  48 BEAVER DR           ST LOUIS     MO        63141 CONTRACT          BUSINESS SERVICES           11 MONTHS
      YACKLEY, REBECCA MARIE                          W7027 POLINSKE RD      PORTAGE      WI        53901 CONTRACT          BUSINESS SERVICES           11 MONTHS
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 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30085
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule       Schedules A/B, E/F and G
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 4, 2021                           X /s/ David Warren
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Warren
                                                                       Printed name

                                                                       Chief Financial Officer - For Profit Entities
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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